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          Rafael Gomez-Cabrera (CA State Bar No. 229744)
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                                                                                                           en
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                                                                                                           :/;�
      6   Attorneys for Plaintiffs
          Joanne Siegel and Laura Siegel Larson                                                            i,
                                                                                                                                              �rt
      7


                                                                                                      J): .
                                                                                                                                      I
                                                                                                                                C)


      8                                UNITED STATES DISTRICT COURT
                                                                                                                                              .. J
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                                                                                                                 :-:: _.)


      9                             CENTRAL DISTRICT OF CALIFORNIA                                                 ,    \   )
                                                                                                                                (�)


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     10                                                                     1t.f 'r
                                                                             _           '      " \..,.I f:--(
          JOANNE SIEGEL, an individual; and                     Civil Case No.           ...,   ,,         I



     11   LAURA SIEGEL LARSON, an individual,

     12                                                         COMPLAINT FOJ{:
                             Plaintiffs,
                                                                [ 1 ] DE C L ARA TO RY RELIEF RE:
     13
                vs.                                                  TERMINATION, 17 U.S.C.�304(c);
     14                                                         [2J DECLARATORY RELIEF RE:
           WARNER BROS. ENTERTAINMENT                               PROFITS;
     15                                                         [3] DECLARATORY RELIEF RE :
           INC., a corporation; TIME WARNER INC.,
           a corporation; DC COMICS INC ., a                        USE OF "s" CREST;
     16
           corporation; and DOES 1 - 1 0,                       [4] ACCOUNTING FOR PROFITS;
     17                                                         [5J WASTE OF JOINTLY OWNED
                             Defendants .                            COPYRIGHTS;
     18                                                          [6] VIOLATION OF LANHAM ACT
                                                                     15 U.S.C. § 1125,
     19
                                                                 [7J VIOLATION OF CALIFORNIA
     20                                                              BUSINESS AND PROFESSIONAL
                                                                     CODE § § 17200 ET SEQ.
     21
                                                                DEMAND FOR JURY TRIAL
     22

     23

     24          PlaiIlliffs JOANNE SIEGEL and LAURA SIEGEL LARSON (hereinafter the

     25   "Plaintiffs"), by and through their attorney of record, hereby allege as follows:

     26                                     JURISDICTION AND VENUE

     27           1.     This is a civil action seeking declaratory relief, accounting for profits, remedies

     28   for violations of the Lanham Act and violations of California unfair competition laws and



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          related claims arising out of Plaintiffs' termination of prior grants of copyright in and to the

      2   original character and work known as "Supennan" and subsequent "Supennan" works

      3   pursuant to the United States Copyright Act of 1976, 17 U.s.c. § 304(c), and defendants'

      4   willful misconduct with respect thereto.

      5           2.       This Court has subject matter jurisdiction over the claims set forth in this

      6   Complaint pursuant to the 1 Jniterl States Copyrieht Ar,t (hp,rein8fter, the "Copyright Act"), 17

      7   U.S.c. § 101 et al. and 28 U.S.c. § § 13 3 1, 13 38(a) and 13 32 .

      8           3.       Thi s Court has supplemental j urisdiction over the related state claims herein in

      9   that these claims fonn part of the same case and controversy as the federal claims herein.

     10           4.       This Court has personal jurisdiction over the defendants in that defendants are

     11   regularly doi ng husiness in the Sttlte of California and in this District, and because a

     12   substantial part of the relevant acts complained of herein occurred in the State of California

     13   and thIS DIstrict .

     14           5.       Venue is proper in the United States District Court for the Central District of

     15   California pursuant to 28 U.s.c. § § 139J(b) and (c) and 1 4 00(a).

     16                                                   PARTIES

     17           6.       Plaintiff JOANNE SIEGEL (hereinafter "Joanne Siegel") is an individual and

     18   citizen of and resides in the State of California, in the County of Los Angeles, and is and at all

     19   times has been a citizen of the United States. Joanne Siegel is the widow of famed comic

     20   book creator Jerome (a.k . a. "Jerry") Siegel.

     21           7.       Plaintiff LAURA SIEGEL LARSON (hereinafter "Laura Siegel") is an

     22   individual and a citizen of and resides in the State of California, in the County of Los Angeles,

     23   and is and at all times has been a citizen of the United States. Laura Siegel is the daughter of

     24   Jerome Siegel.

     25           8.       Plaintiffs are infonned and believe and based thereon allege that defendant

     26   WARNER BROS. ENTERTAINMENT INC . (hereinafter "Warner Bros.") is a corporation

     27   organized and existing under the laws of the State of Delaware, which has its principal place

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          of business in Los Angeles County, California. Warner Bros. is a wholly owned sub si di ary of

      2   Defendant TIME WARNER INC.

      3           9.      Plaintiffs are informed and believe and based thereon allege that Defendant DC

      4   COMICS INC. (hereinafter "DC") is a corpo ration organized and existing under the laws of

      5   the State of New York, which has its principal place of business in the State of New York; and

      6   that DC regularly conducts significant business in the State of Cali fornia and in the County of

      7   Los Angeles. DC is also a wholly owned subsidiary of defendant Warner Bros .

      8           10.     Plaintiffs are informed and believe and based thereon allege that on or about

      9   September 3 0, 1946, the New York corporations, Detective Comics, Inc., Superman, Inc., All

     10   American Comics, Inc., lo1aine Publications, Inc. Wonderwoman Publi shing Inc., Hop
                                                                  ,                              ,




     II   Hanigan Enterprise, Inc., Gainlee Puhlishing Co, Inc, TR Pllhlishing Co, Inc, Worlds Best


     12   Comics, Inc. and Trafalgar Printing Co., Inc. were consolidated into the New York

     13   corporation National Comics Publications, Inc., the name of which was later changed to

     14   National Periodical Publications, Inc ., and eventually to DC Comics, Inc .; and further that DC,

     15   Warner Bros. and Time Warner, and/or each of them, are the alleged successor(s)-in-interest

     16   to National Periodical Puhlications, Inc

     17           11.     Plaintiffs are informed and believe and based thereon allege that De fendan t

     18   TIME WARNER INC. (hereinafter "Time Warner") is a corporation organiz ed and existing

     19   under the laws of the State of Delaware, which has its corporate headquarters in the State of

     20   New York, and that Time Warner regularly conducts significant ongoing business in the State

     21   of California and in the County of Los Angeles. Time Warner is the parent company of both

     22 Warner Bros. and DC. (Time Warner, Warner Bros. and DC are sometimes collectively

     23   referred to hereinafter as the "Defendants;" and each reference to Defendants shall also refer

     24   to each Defendant).

     25           12.     Plaintiffs are informed and believe and based thereon allege that Defendant DC

     26   never, or rarely, exploits "Superman," independently of its controlling parent company,

     27   Warner Bros. ; that even relatively linear functions such a s "Superman" licensing are not

     28   handled directly by DC, but are e x plo ited ex c lu sively through Warner Bros.; th at th e
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          agreements and other arrangements between Defendants Warner Bros. and DC regarding

      2   "Superman" are not "arms length" agreements, serve primarily Warner Bro s.' interests, and

      3   thus, do not reflect the appropriate market values of the copyrights to "Superman," at issue

      4   herein.

      5             1 3.   Plaintiffs are informed and believe and based thereon allege that Defendants

      6   Time Warner, Warner Bros. and DC are, and at all times material hereto were, the alter-egos

      7   of each other and there exists and has existed at all times material hereto a unity of interest and

      8   ownership among such Defendants such that any separateness has ceased to exist in that

      9   Defendants, and/or each of them, used assets of the other Defendants, and/or each of them, for

     10   its and/or their separate, individual purposes, and caused valuable assets, property, rights

    II    andlor interests to be transferred to each other without adequate consideration.

     12             14.    Plaintiffs are informed and believe and based thereon allege that the fictitiously

     13   named Defendants captioned hereinabove as Does 1 through 10, inclusive, and each ot them,

     14   were in some m anner responsible or legally liable for the actions, damages, events,

     IS   transactions and circumstances alleged herein. The true names and capacities of such

     16   fictitiously named defendants, whether individual, corporate, associate, or otherwi <;e are

     17   presently unknown to Plaintiffs, and Plaintiffs will amend this Complaint to assert the true

     18   names and capacities of such fictitiously named Defendants when the same have been

     19   ascertained. For convenience, each reference herein to a named Defendant shall also refer to

    20    the Doe Defendants and each of them.

    21              15.    Plaintiffs are informed and believe and based thereon allege that each of the

    22    Defendants was the agent, partner, servant, employee, or employer of each of the other

     23   Defendants herein, and that at all times herein mentioned, each o f the Defendants was acting

    24    within the course and scope of such employment, partnership andlor agency and that each of

    25    the Defendants is j ointly and severally responsible for the damages hereinafter alleged.


     26                        FACTS COMMON TO ALL CLAIMS FOR RELIEF

     27             16.    In 1933 Jerome Siegel conceived the original idea of a cartoon strip featuring a

     28   unique m an o f superhuman strength and powers who would perform feats of great importance
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          for the public good. Siegel conceived, in essence, the first "superhero" -- an original concept

      2   which embodied our nation' s ideals at the Worlds' darkest hour, became a cultural icon and

      3   spawned, what is today, a booming industry. Jerry Siegel entitled his character --

      4   "Superman."

      5          17.      In or about 1934, Jt:fUlIlt; Sit;gd authored twenty-fOur days (four weeks) of

      6   "Superman" comic strips intended for newspaper publication, a synopsis of comic strips for

      7   weeks two, three and four, a paragraph previewing future "Superman" exploits and a nine

      8   page synopsis covering approximately two months of daily "Superman" newspaper comic

      9   strips (at six days per week). Plaintiffs are informed and believe and based thereon allege that

     10   these works, though uriginally unpublished were thereafter included or Incorporated in the

     11   early "Superman" comic strips thereafter published from on or abo ut April 18, 1938 to April

     12   13, 1943 (co llectively, referred to hereinafter as the "Initially Unpublished Works").

     13          18 .     In or about 1934, Jerome Siegel and the artist, Joe Shuster (hereinafter

     14   collectively, "Siegel and Shuster") co-authored fifteen daily "Superman" comic strips,

     15   consisting of one week (six days) of completely inked daily "Superman" comic strips and

     16   three additional six day weeks of "Superman" comic strips in penciled form. (the " 1934

     17   Superman Comic Strip"). "Superman" was submitted by Siegel and Shuster to numero us

     18   publishers over the next few years.

     19          19.      Although "Superman" was not picked up for publication for some time, Siegel

     20   and Shuster did get other features they created into print with the Nicho lson Publishing


     21   Company including "Hemi Duval" and "Dr. Occult." In a letter dated October 4, 19 3 5 the                 ,




     22   company' s owner Malcolm Wheeler-Nicholson, wrote to Mr. Siegel expressing an interest in

     23   publishing "Superman" in comic book form hut Siegel cmd Shuster rejected his offer.

     24   Nicholson became involved with a new comic magazine company, Detective Comics, Inc.

     25   (bel eillafter, ""Detective Comics") and two Siegel and Shuster features, "Slam Bradley" and

     26   "Spy," appeared in "Detective Comics No. 1."

     27          20.      On or about December 4, 1937, Siegel and Shuster, as independent contractors,

     28   entered into an agreement with Detective Comics (the "1937 Agreement") to continue to
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          produce the comic magazine features, "Slam Bradley" and "The Spy," which agreement

      2   provided, in part, that any new and additional features which Siegel and Shuster produced for

      3   use in a comic magazine were to be first submitted to Detective Comics which reserved the

      4   right to accept or reject same within sixty days.

      5            2 1.   One of the early entities to whom Siegel had submitted "Superman" was The

      6   McClure Newspaper Syndicate. In or about early 193R, the heacl of the synclicate sought

      7   Siegel' s permission to forward Siegel and Shuster's 1934 Superman Comic Strip material to

      8   Detective Comics for potential pUblication in its contemplated new magazine, "Action

      9   Comics." By this time, "Superman" and his miraculous powers had already been completely

     10   developed by Siegel and Shuster.

     11            22.    In or about January-Febmary 1938, when Detective Comics expressed interest


     12   to Siegel and Shuster in publishing their 1934 Superman Comic Strip in a magazine, Siegel

     13   and Shuster cut and pasted their aforementioned material into more than ninety separate

     14   panels ("Revised 1934 Superman Comic Strip"), so as to render their newspaper strip more

     15   suitable for a magazine layout.

     16            23.    The "Superman" mate ri al described hereinabove, which was the independent,

     17   original creation of Siegel and Shuster, contained virtually all of the signature elements and

     18   characters of the "Superman" mythology and constituted the formula for the continuing

     19   " Superman" series to come. It depicted and narrated the origin of the " Superman" character,

     20   and contained a complete delineation o f the literary and pictorial representation o f

     21   " Superman," including without limitation, his habits, character, superhuman powers,

     22   appearance, costume, secret identity and attributes, and the sphere of public good " Superman"

     23   was to enhance.

     24            24.    By an instrument dated March 1, 1938 (hereinafter, the "1938 Grant"), which

     25   had been prepared by Detective Comics, Siegel and Shuster agreed to the publication of their

     26 Revised 1934 Superman Comic Strip by Detective Comics in consideration for the sum of

     27   $ 130.

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                 25.     Thereafter, Detective Comics published Siegel and Shuster's "Revised 1934

      2   Superman Comic Strip" in the "June, 1938" issue of "Action Comics No. I," which was

      3   issued for sale on April 18, 1938.

      4          26.     Action Comics No. 1 and the predecessor materials created solely b y Siegel

      5   and Shuster contained the essential elements of "Superman" which continue to this day,

      6   including without limitation, Superman's origin from the distant planet, his "back-story" (sent

      7   to Earth as an infant in a spaceship by his scientist father), his core physical and mental traits,

      8   his mission as a champion of the oppressed to use his great powers to benefit humankind, his

      9   secret identity as newspaper reporter, "Clark Kent," his relationship with other key characters

     10   such as the newspaper editor from whom he takes his assignments and his romantic interest in

     II   Lois, who rebuffs Clark as a coward, while romantically inclinerl t()w�rrls "Supenmm."

     12           27.     Action Comics No. 1 was followed b y further issues published at regular

     13   intervals, with each subsequent issue containing additional "Superman" material created by

     14   Siegel and Shuster.

     15           28.    Between March, 1938 and on or about September, 1938, Siegel and Shuster

     16   continued to create "Superm�n" strips, stories and continuities.

     17           29.    On or about September 22, 1938, Detective Comics, Siegel and Shuster entered

     18   into an agreement with The McClure Newspaper Syndicate (hereinafter, the "1938 McClure

     19   Agreement) regarding the newspaper syndication of a "Superman" comic strip.

     20          30 .    On or about September 22, 1938, Detective Comics and Siegel and Shuster

     21   therefore entered into an agreement (hereinafter, the "1938 Agreement") which for the first

     22   time provided that Detective Comics would thereby "employ and retain" Siegel and Shuster to

     23   do the "artwork and continuity" for five comic strips, including "Superman."

     24          31.     Prior to September 22, 1938, Siegel and Shuster solely created six comic book

     25   issues o f "Superman," published a s Action Comics Nos. 1 through 6 . Of these, Action

     26   Comics Nos. 1 through 5 had been published prior to September 22, 1938; and Action Comics

     27   No. 6 w a s published four days later on September 26, 1938.

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                  32.     Action Comics No. 1 was not a "work made for hire." Action Comics No s. 2-

      2   6, which were thereafter created by Siegel and Shuster prior to their entering into the 1 938

      3   Agreement, were also not "works made for hire."

      4           33.     On or about December 19, 1939, Detective Comics and Siegel and Shuster

      5   entered into a supplemental agreement (hereinafter, the "1939 Agreement") which raised

      6   Siegel :md Shuster's per p�ge compens�tion r�te for the inc reasingly popular " Su p em1an"


      7   comic strip.

      8           34 .    Plaintiffs are informed and believe and thereon allege that the "Superman"

      9   works created by Siegel and Shuster after they entered into the September 22, 1 938 agreement

     10   with Detective Comics were also not "works made for hire. " The 1 938 Agreement for the

     II   first time Llsed the term "emp loy and retain" with respect to Siegel and Shuster's subsequent

     12   work on "Superman," yet Siegel and Shuster were never traditional employees of Detective

     13   Comics. Without limitation, Siegel and Shuster were not paid a salary, but were consistently

     14   p aid on a "per p age" basi s, and only for materials actually delivered by them and published.

     IS   Plaintiffs are further informed and believe and thereon allege that in compensating Siegel and

     16   Shuster, Detective Comics did not withhold or deduct payroll, social security and other tuxes

     17   normally deducted from employee salaries; Detective Comics did not provide employee

     18   benefits to Siegel and Shuster; Siegel and Shuster worked from their own premises (not

     19   Detective Comic's premises); determined their own hours and days of work; supplied, used

     20   and paid for their own instrumentalities, tools and materials; and hired and paid for their own

     21   assistants.

     22           35.     In or about 1947, Siegel and Shuster filed an action in the Supreme Court of

     23   the State of New York, County of Westchester against National Comics Publications, Inc.

     24   (hereinafter, the "1947 Action") to determine the validity of the contracts between National

     25   Comics Publications, Inc. ' s predecessors-in-interest and Siegel and Shuster with respect to

     26   "Superman." Pursuant to stipulation of the p arties the action was referred for decision to an

     27   Official Referee of the New York Supreme Court. After trial of the action the Official Referee

     28   rendered an opinion dated November 1, 1947 . O n April 12, 1948, the Official Referee signed
                                                               8

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                  detailed findings of fact and conclusions of law and entered an interlocutoryjudgment

       2          upholding the contracts in some respects, to which notices of appeal were filed by all said

       3          parties. Settlement negotiations ensued, resulting in a stipulation of settlement between said

       4          parties executed on or about May 19, 1948 (hereinafter, the "1948 Stipu l ation ) , and the entry
                                                                                                           "




        5         in the New York Supreme Court of a final consent judgment dated May 21, 1948.

        6                   36 .       In or about the early 1970's, a dispute arose between Siegel and Shuster ancl

        7         National Periodical Publications, Inc. regarding the renewal copyright to "Superman ,"

       8          resulting in Siegel and Shuster' s filing of an action against National Periodical Publications,

        9         Inc. in the United States District Court for the Southern District of New York for a decl ara tion

      10          that Siegel and Shuster were entitled to the renewal copyright to Superm an.
                                                                                            "             "    The District

      11          C:ourt held in .Terome Siegel ano Joseph Shll.c;;ter v N8tion81 Periodieal Publications, Inc. et al.,

      12          364 F. Supp. l 032 ( 1973) that the initial "Superman" comic strip, published in Action Comics

      ]j          No. 1, is a "work for hire" within the meamng ofthe Copyright Act, 17 U.S.C. § 26, and that,

      14          in any event, the various agreements between the parties, prior to the action, transferred the

      15          renewal copyright in this material to Detective Comics.

      If)                   17         On 8ppe81, the United States Court of App eals for the Second Circuit held

      17          in Jerome Siegel and Joseph Shuster v. National Periodical Publications, Inc. et al., 509 F.2d

      18          909 (2'"I Cir. , 1974), that the District Court erred in finding that Superman was a "work for

      19          hire" under the Copyright Act, 17 U.S.C. § 26, and that "Superman" and his miraculous

      20          powers were created by Siegel and Shuster long before any employment relationship with

      21          Detective Comics. The Second Circuit nonetheless held that the Official Referee' s

      22          determination in the 1947 Action that Siegel and Shuster had transferred all rights in

      23          "   Superman to Detective Comics implicitly included a determination that Siegel and Shuster
                                   "




      24          had transferred the renewal copyright in "Superman" to Detective Comics; and that this

      25          determination was binding under the doctrine of res judicata.

      26                    38.        On or about December 23, 1975 , Siegel and Shuster entered into an agreement

      7""I
      -           with Warner Communications Inc. (hereinafter the "1975 Agreement") the alleged parent
             Ii
      28          company of Natio nal Periodical Pub l icat i on s , Inc., which provided for (i) the payment of
                                                                        9

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           $10,000 to Siegel and Shuster, modest annual payments plus medical benefits to Siegel and

       2   Shuster and, upon their deaths, to certain of their respective heirs; and (ii) that Siegel and

       3   Shuster would be given credit on certain "Superman" publications and derivative works as the

       4   "creators" of Superman, in exchange for Siegel and Shuster' s acknowledgement that Warner

       5   Communications, Inc, is the exclusive owner of all right, title and interest in and to

      6    "Sllp�nn;:}n" (Th� 1917 Aer�ement, the 191R Grant, the 1 915 Md-:lur� A8reem�nt, th� 1 911<

       7   Agreement, the 1 9 39 Agreement, the 1 9 48 Stipulation and the 1 9 75 Agreement described

       8   hereinabove are hereinafter sometimes referred to collectively as the "Alleged Grants",)

       9          39,     On April 3, 1 9 97, Plaintiffs, Joanne Siegel and Laura Siegel, served by first

      10   class mail, postage prepaid, notices of tennination, as permitted by the Copyright Act, 1 7

      11   U,S,c. § 304 (c) (hereinafter, the "Tennination Notices") on each of the Defendants and a

      12   number of their subsidiaries, licensees and affiliates, terminating the Alleged Grants of the

      13   renewal copyright to (i) the copyrightable "Superman" character, (ii) the 1 933 Supennan

      14   Comic Strip and the Revised 1 933 Superman Comic Strip, both published aslin Action

      15   Comics No, 1 , (iii) the material published aslin Action Comics Nos, 1 -6 (statutory copyright

     16    to Action Comics No, 6 was secured on September 26, 1938), (iv) the material published us/in

      17   Action Comics Nos, 7- 6 1 (statutory copyright to Action Comics No, 6 1 was secured on April

      18   13, 1 943), and/or (v) subsequent works involving "Superman," all as set forth in the Notices

      19   of Termination (hereinafter sometimes referred to collectively as the "Works"),

      20          40,     Plaintiffs are informed and believe and based thereon allege the Initially

      21   Unpublished Works set forth in the Termination Notices were incorporated or included in

      22   Works published thereafter, to which the Termination applies,

      23           41,    Plaintiffs are further informed and believe and based thereon allege that the

      24   copyrights to all the Works were duly renewed,

      25           42,    The Notices of Termination were drafted, served on Defendants and filed with

     26    the United States Copyright Office, all in full compliance with the Copyright Act, 1 7 U,S,c.

      27   304(c), and the regulations promulgated thereunder by the Register of Co pyrights, 37 C.F,R, §

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                                                              10

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           20 1.10 (2003). (Plaintiffs' aforesaid exercise of their termination rights under 17 U.S.c. §

       2   304(c) regarding "Superman" is sometimes hereinafter referred to as the "Termination").

       3          43.     As the origi nal co-author of each Work Jerome Siegel owned an u nd ivi d ed fifty

       4   percent (5 0%) of the copyright of each Work prior to any alleged transfer or assignment of any

       5   such Work pursuant to any Alleged Grant.

      6           44.     The Notices of Termination terrnin8teo on April 16, 1999 (hereinafter, the


       7   "Termination Date") all prior grants or purported grants of the renewal copyrights in and to

       8   each andlor all the Works for their extended renewal terms (hereinafter, sometimes referred to

       9   individually and collectively as the "Recaptured Copyrights"), including, but not limited to,

      10   the Alleged Grants.

     11           45.     On April 16, 1999, th e Termination Date, Plaintiffs re-gained ovmership to


      12   Jero me Siegel's undivided fifty perce nt (50%) cop YTi ght interest In and to each and/or all the

      13   Works for their extended renewal terms.       In accordance with 17 USC 304(c), and as set forth

      14   in the Notices of Termination, Jerome Siegel's surviving son, Michael Siegel, is also entitled

      15   to share in the proceeds from this recaptured interest.

      16           46.    Defendants have acknowledged thut the Notices of Termination arc effective.


      17   Defendants have further admitted that Plaintiffs thereby co-own the copyright(s) to at least

      18   the original "Superman" elements authored by Siegel and Shuster; and that Defendants have a

      19   duty to account to Plaintiffs for Defen d ants exploitation of such co pyright(s)
                                                          '                                       .




     20           47.     On April 1 6, 1 99 7 , in response to the service of the Notices o f Termin at io n,

     21    John A. Schulman, Executive Vice President and General Counsel o f Defendant Warner Bros.

     22    wrote a letter to Joanne Siegel, stating in relevant part:

     23                   " As to the Notices of Termination, I wasn't surprised at their

     24                   arrival . . . After the effective date of the termination, there will

     25                   still remain 14 years of copyright protection left to the joint

      26                  copyright holders of the origin al Superman elements. Those are

     27                    what we should share. "

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                    48 .   Similarly, on October 1 0, 1 997, Paul Levitz, President and Publisher of

      2    Defendant DC Comics, wrote a letter to Plaintiffs, stating in relevant part:

       3                    "The [Superman] rights involved are non-exclusive; they are

      4                    shared with DC. Since both you and DC would hav e thes e

       5                    rights, we would each have the obligati on to pay the other for

       6                    using those rights if you did not re-grant them to DC"

       7            49.    Yet, on April 1 5 , 1999, one day before the Termination Date, Defendant DC,

       8   by its attorneys (Fross Zelnick, et al) sent a letter to the Plaintiffs' attorney, Arthur J. Levine,

      9    frivolously denying the validity of the termination with respect to any "Superman" copyri ghts,

      10   stating in relevant part :

      II                    "[Y]ou are herehy put on notice th3t DC l.()mi�c: rf'jf'rt<; both

      12                    the validity and scope of the notices and will vigorously oppose

      13                    any attempt by your clients to exploit or authorize the

      14                    explo itation of any copyrights , or indeed, any rights at all, in

      15                    Superman. "

      16            50.     Defenc1;mt DCs April 1 S, 1999 letter constituted a thinly veiled threat that if

      17   Plaintiffs ever attempted to exploit any of their recaptured copyright interests in "Supem1an,"

      18   Defendants would engage in a campaign of intimidation, including, but not limited to,

      19   instituting frivolous litigation against Plaintiffs and using Defendants' enormous market

      20   power to restrict Plaintiffs' ability to exploit their Recaptured Copyright interests. Given that

     2I    Time Warner is one of the largest media companies in the world with over $38 billion in

      22   annual revenues, Defendants' threats had a devastating and chilling effect on Plaintiffs'

      23   freedom to ex ploit the copyright interests they had properly regained under the Copyright Act,

      24   1 7 U.S.C. § 3 04 (c), damaging Plaintiffs and causing them great emotional distress.

      25            51.     In the nearly 5 Y2 years since the Termination Date, none of the Defendants has

      26   ever accounted to the Plaintiffs for any proceeds or profits whatsoever from their ongoing

      27   exploitation of "Superman" and the joi ntly owned Recaptured Copyrights.

      28   / /I /

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                                                   FIRST CLAIM FOR RELIEF

       2             (Declaratory ReliefRe: Termination, 17 U.S.C. § 3 04(c) - Against All Defendants)

       3              52.        Plaintiffs re-allege and incorporate by reference paragraphs 1 through 5 1

       4     inclusive, as though fully set forth herein.

        5             53.        By reason of the foregoing facts, an actual and justiciable controvcrsy has

       fi    a r isen and now exists hetween Pl a inti ff s ami Defenrl;mts l In d er Federal copyright law, 17

       7     U.S.c. §§ 101 et seq., concerning their respective rights and interests in and to the copyright

       8     to various "Superman" works, for which Plaintiffs desires a declaration of rights.

       9              54.        Plaintiffs contend and Defendants deny that:

      lO                         a.      The Notices of Termination terminated on April 16, 1999 all prior

     11      gnmts, assignments or transfers of copyrights for the extended renewal term in and to each


     12      and/or all of the Works (as defined in paragraph 39 hereinabove) to any of the Defendants and

      13     other parti es duly served with the Not ices of Teml ination incl u di ng their predecessors-in-
                                                                                 ,




      14     interest;

      15                         b.      As of the effective Termination Date, April 16, 1999, Plaintiffs owned

      1 fi   ;mn rnntinlle to own :m undivided fifty p ercent (50%) of the Recap tured Copyrights to each

      17     and/or all the Works for their renewal terms;

      18                         c.      By reason of the foregoing, Plaintiffs are entitled to fifty percent (5 0%)

      19     of any and all proceeds, compensation, monies, profits, gains and advantages from the

     20      exploitation of, or attributable to, in whole or in part, any aspect of the Recaptured Copyrights

     21      (hereinafter, sometimes referred to as "Profits"); and

     22                          d.      By reason of the foregoing, Defendants own or control only fi fty

     23      percent (5 0%) of the Recaptured Copyrights, and thus, as of the Termination Date, had and

     24      have no authority to confer exclusivc licenses or grants with respect to any element of the

     25      "   Superman mythology protected by the Recaptured Copyrights.
                             "




     26               5 5.       A declaration of the Court is necessary pursuant to the Declaratory Judgment

     27      Act, 28 U.S.c. §§ 2201 et seq., so that the parties may know their respective rights and

      28
                                                                    13

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           obligations with respect to the Termination and the copyright interests thereby recaptured by

       2   Plaintiffs.

       3                                    SECOND CLAIM FOR RELIEF

       4        (Declaratory Relief Re: Profits from Recaptured Copyrights - Against All Defendants)

       5           56.      Plaintiffs re-allege and incorporate by reference paragraphs 1 through 5 5

       6   inclusive, as though fully set forth herein.

       7           5 7.     By reason of the foregoing facts, an actual and justiciable controversy has

       8   arisen and now exists between Plaintiffs and Defendants concerning how Profits from

       9 Recaptured Copyrights should be defined for purposes of Defendants and Plaintiffs accounting

     10    to one another asjoint owners of the Recaptured Copyrights.

      11           58.      Plaintiffs contend and D efendants deny that:


      12                    a.      Profits include Defendants' revenues from the post - April 16, 1999

      13   explOItation oft he Recaptured Copyrights in foreign territories, when such exploitation results

      14   from the predicate exercise in the United States of any right(s) under the Recaptured

      15   Copyrights by any Defendant, their licensees or assigns,;

      16                   b.       There should be no apportionment of Profits since P l ai n tiff s 'uc cJltitleLl


      17   to fifty percent (5 0%) of such Profits a S jo in t owners of the Recaptured Copyrights;

      18                    c.      Alternatively, apportionment, if any, should apply only to profits from

      19   the exploitation of the Recaptured Copyrights in derivative works created by a Defendanl, but

     20    not to profits from mere licensing of the Recaptured Works. Any such apportionment should

     21    weigh heavily in Plaintiffs favor, since the value of the "Superman" franchise exploited by

     22    the Defendants ("Superman Franchise") is largely attributable to the unique "Supennan"

     23    mythology protected by the Recaptured Copyrights. The Supennan Franchise capitalizes on

     24    the success of, and is hardly distinguishable from, the underlying Recaptured Copyrights co-

      25   owned by Plaintiffs;

     26                    d.        Profits include profits from any merchandise or other derivative works

     27    created, produced o r manufactured on o r after the Termination Date, April 16, 1999,

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           notwithstanding that the underlying licensing agreement for such exploitations may have been

       2   executed prior thereto;

       3                    e.        Profits are not limited to the Profits o f De fendant DC, Warner Bros. '

       4   wholly owned subsidiary, but include the Profits o f Defendants Warner Bros. and Time

       5   Warner, as well; and

       6                    f.        In determining Profits, deductible costs should include only re3son3hle

       7   costs directly attributable to the exploitation of the Recaptured Copyri ghts, of the type

       8   customarily deducted in arms' length agreements to exploit copyrights of comparable value,

      9    all in compliance with Generally Accepted Accounting Principles (GAAP).

      10           59.      A declaration of the Court is necessary pursuant to the Declaratory Judgment

      11   Art,?R T J S C   §§ ??01 pt sPq so th8t the pmiies may know their respective r ights and

      12   obligations with respect to Profits from the exploitation of the Re captured Copyrights after the

      13   Termination Date.

      14                                      THIRD CLAIM FOR RELIEF

     IS            (Declaratory Relief Re: Use o f the "Superman" Crest - Against All Defendants)

      16           60       Plaintiffs re-allege and incorporate by reference paragraphs 1 through 59


      17   inclusive, as though fully set forth herein.

     18            61.      By reason o f the foregoing facts, an actual and justiciable controversy has

      19   arisen and now exists between Plaintiffs and Defendants concerning whether Plaintiffs are

     20    entitled, after the Termination Date, to commercially exploit the "Supernlan" crest comprised

     21    of a large red "s" centered on a broad triangular yellow field, first appearing (as part of

     22    "Superman's" costume, centered on and highlighting Superman's "V" shaped muscular chest)

     23    in the 1934 Superman Comic Strip and the 1934 Revised Superman Comic Strip created by

     24    Siegel and Shuster and the published as Action Comics No. 1, and in only slightly revised

      2S   form in subsequent Works (hereinafter the "Superman Crest"); and whether Defendants' duty

     26    to account, as non-exclusive joint owners o f such Recaptured Copyrights, include Profits from

     27    licensing of this crest.

     28
                                                              15

                   Complamt for Declaratory Relief, Accounting, Lanham Act YlOlations Jnd UnfJlr Competition



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                   62.     Defendants allege a trademark interest in a "Supennan" shield (hereinafter the

      2    "Superman Shield" and/or "Superman Trademark") which is also comprised of a large red "S"

      3    on a broad triangular yellow field, first appearing in later Works, as part of"Supem1an's"

      4    costume, centered on and highlighting Superman's "V" shaped muscular chest, with the upper

      5    comers of the triangular crest slightly cropped.

      6           ()')    Plilintiff" cnnt�nrl ilnd Ddendants deny that:


      7                    a.      The Recaptured Copyrights include the copyright to the "Supenn an "

       8   crest comprised of a large red "s" centered on a broad triangular yellow field, first appearing

      9    as part of "Superman's" costume, centered on and highlighting Supem1an's            "   Y shaped
                                                                                                    "




     10    muscular chest, in the 193 4 Supennan Comic Strip and the Revised 1 934 Supennan Comic

     II    Strip published as Action Comics No.1, and app e ared in subsequently published V'/orks in


      12   only slightly revised fonn (hereinafter the "Supennan Crest") .

     13                    b.      Defendants' alleged Supennan Trademark design arose directly from,

      14   and is substantially identical to, Siegel and Shuster' s copyrighted Superman Crest;

     IS                    c.      Defendants receive significant proceeds and value from the utilization

      16   and copying of the Superm an Crest andlor substanti ally i dentical Superman Shield for \ovh ich


     17    Defendants must account to Plaintiffs;

     18                    d.      In tum, Plaintiffs should likewise be allowed to exercise their ri gh ts

     19    under copyright with respect to the Supennan Crest, including without limitation the right to

     20    commercially exploit the Superman Shield in merchandise;

     21                    e.      Defendants, in any event, cannot use the alleged Superman Trademark

     22    or any other purported trademark interest regarding "Superman" to prevent, hinder or restrain

     23    Plaintiffs' use, exercise o r exploitation o f their rights under the Copyright Act in any o f the

     24    jointly owned Recaptured Copyrights.

     25            64.     A declaration of the Court is necessary pursuant to the Declaratory Judgment

     26    Act, 28 U.S.c. §§ 220 1 et seq., so that the parties may know their respective rights and

     27    obligations with respect to the Superman Crest and the Superman Shield.

     28    ////
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                                            FOURTH CLAIM FOR RELIEF

       2                            (Accounting for Profits - Against All Defendants)

       3            65.    Plaintiffs re-allege and incorporate by reference paragraphs 1 through 64

      4    inclusive, as though fully set forth herein.

      5             66.    On or after the Tennination Date, April 16, 1999, De fendants andlor each of

       6   them have licensed andlor commerr,i�lly exploited and will continue to license or explo it the

      7    Recaptured Copyrights, including without limitation, via merchandising, publishing, and

      8    derivative motion picture and television programming.

       9            67.    A s result of such licensing and/or commercial exploitation of the Recaptured

      10   Copyrights on or after April 16, 1999, Defendants and/or each of them have received and will

     II    continue to receive substantial Profits, fifty percent (50%) ofvvhich is payable to Plaintiffs as


      12   the joint owner of the Recaptured Copyrights.

      13            615.   Defendant Warner Bros. has acted and continues to act in most instances as the

      14   effecti ve joint-owner and licensor (as opposed to licensee) of the Recaptured Copyrights; and,

      15   as such, Warner Bros., along with the other Defendants, owes a duty to account to Plaintiffs.

      16            69.     To date, th e Profits received by Defendants andlor each ofthcl11 frolll ::,uclJ


      17   licensing and/or commercial exploitation on or after April 16, 1999 is estimated to be $40

      18   million, however the exact sums actually received and to be received by Defendants and/or

      19   each of them, are unknown to Plaintiffs at this time, for these amounts can be properly

      20   detennined only by an accounting.

      21            70.     Plaintiffs have demanded an accounting by Defendants on a continuing basis

      22   of all amounts received by them and/or payable to them from such licensing and other

      23   commercial exploitation on or after April 16, 1999, and that Defendants pay Plaintiffs their

      24   fifty percent (5 0%) share of all such Profits.

      25            71.     In nearly 5 Y2 years since the Tennination Date, Defendants have, nonetheless,

      26   never accounted to or paid any Profits whatsoever to Plaintiffs.

      27   IIII

      28   /! / /
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                      72.    Plaintiffs at no time waived their rights to receive their share of such Profits,

      2    nor have Plaintiffs at any time consented to the use and exploitation of the Recaptured

      3    Copyrights in the United States or any foreign territories.

       4              73.    Plaintiffs are entitled to an ongoing accounting from Defendants regarding all

       5   amounts received, realized by or payable to Defendants on or after April 16, 1999 from the

      6    licensing and any other commercial exploit::ltion of the Recaptured Copyrights and "Superman

       7   Franchise," and to the payment by Defendants to Plaintiffs of fifty percent (5 0%) of all such

       8   Profits.

      9                                        FIFTH CLAIM FOR RELIEF

     10                          (Waste of Co-Owned Copyright - Against All Defendants)

      11              74_    P18intiff" re-allege and incorporate by reference paragraphs 1 through 73


      12   inclusive, as though fully set forth herein.

      13              I'),   Un or about April 16, 1999, Plaintiffs became and currently are the co-owners,

      14   as tenants in common, with Defendants of an undivided fifty percent (5 0%) of the Recaptured

     15    Copyrights.

      16              76.    The April 15, 1999 letter from Defendant DC's attorney::; alleged hereinabove


      17   baselessly denied the validity of the Tennination with respect to any and all "Superman"

      18   copyrights and threatened to take action against Plaintiffs if they attempted to exploit any of

      19   their Recaptured Copyrights.

     20               77.    I n s o threatening Plaintiffs, DC, and by extension DC's parent companies,

      21   Warner Bros. and Time Warner, asserted exclusive ownership and control of "Supennan" and

      22   effectively controlled the Recaptured Copyrights, notwithstanding the Tennination.

     23               78.    Plaintiffs are infonned and believe and thereon allege that in light of

     24    Defendants' adverse claims, resources, power and ubiquitous presence in the marketplace,

      25   virtually n o parties would dare t o license the Recaptured Copyrights from Plaintiffs.

      26              79.    Plaintiffs are infonned and believe and thereon allege that since the

      27   Termination Date, Defendants and/or each of them have caused injury to the Recaptured

      28   Copyrights b y committing waste thereon. Plaintiffs are infonned and believe and thereon
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          allege that such waste includes, without limitation, Defendants under-utilization of the

      2 Recaptured Copyrights, non "arms length" contracts between wholly owned subsidi aries

      3   and/or divisions, self-serving accounting practices and the improper allocation of revenues,

      4   costs and profits with respect to the Recaptured Copyrights, and the overall weakening of the

      5   Superman Franchise due to Defendants relatively marginal exploitation thereof in a period

      6   when market opportunities for such a sllperhero fnmchise has been and continues to be at an

      7   all time high.

      8           80.       The ongoing waste by Defendants has caused and continues to cause great

      9   irreparable inj ury to Plaintiffs as co-owners of the Recaptured Copyrights, and such dam ages

     10   are particularly acute given that the Recaptured Copyrights are of limited duration.

     11           81        By reason of the foregoi ng, Defendants h av e comm itt ed waste on the


     12   Recaptured Copyrights, and as a direct and proximate result thereof, have damaged Plaintiffs

     13   in an amount not yet ascertained, but which will be assessed at the time of trial.

     14           82.       Plaintiffs are informed and believe and thereon allege that Defendants'

     15   frivolous denial of the validity of the Termination with respect to any "Superman" copyrights;

     16   Defendan ts threats to bring suit against Plaint i ffs if they attempted to exploit any o f thcil
                        '




     17   rec aptured copyright interest; and Defendants willful failure to account and improper

     18   accounting practices, after the Termination Date, were conducted in an intentional, malicious,

     19   calculated and oppressive manner in conscious disregard for Plaintiffs' rights, health and

     20   feelings, and knowingly and intentionally inj ured and damaged Plaintiffs, which conduct

     21   constituted oppression and malice as defined by California Civil Code § 3 2 94. In accordance

     22   with California Civil Code § 3 294, Plaintiffs are entitled to puniti ve dam ages in an amount

     23   sufficient t o punish Defendants, t o be assessed at trial.

     24                                     FIFTH CLAIM FOR RELIEF

     25          (Violation o f the Lanham Act § 43 (a), 1 5 U.s.c. § 112 5 - Against All Defendants)

     26           83.       Plaintiffs re-allege and incorporate b y reference paragraphs 1 through 8 2

     27   inclusive, as though fully set forth herein.

     28   ////
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                     84.     Plainti ffs are informed and believe and thereon allege that Defendants have

      2     failed and refused to include Plaintiffs names, as co-owners of the Recaptured Copyrights, on

      3     any and all copyright notices pertaining to such Recaptured Copyrights, with a willful

      4     intention to mislead and misrepresent the nature, qualities, and origins of Defendants' goods,

      5     services or commercial activities .

      6             85.      Plaintiffs are informed anci hel i eve ,md thereon a l l ege that D e fendants DC ,

      7     Warner Bros . and Time Warner have falsely represented to third parties that Defendants are

      8     the exclusive owners of all copyrights to the Recaptured Copyrights and based upon such false

      9     claims, representations and omissions have induced others to enter into agreements with the m                      ,




     10     including but not limited to agreements to exclusively license, develop, and create new

     I I    deri vative works from the Rec aptured CopYTight s .


     12             86 .     Plaintiffs are informed and believe and thereon allege that Defendants used

     13     such false designations, attributions and omissions regarding the Recaptured Copyrights in

     14     interstate commerce in order to induce others to enter into contracts or other forms of business

     15     arrangements with Defendants for the exploitation of Recaptured Copyrights . Such actions

     1 ()   rnn stitllte the ll se of fal s e description or representat i o n in interstate c o mmerce, likely to c a u s e

     17     confusion, mistake or to deceive and is in opposition to the protection of the public interest.

     18              87 .     Defendants have passed off and continue to pass off and misrepresent the

    19      Recaptured Copyrights which are co-owned by Plaintiffs as being exclusively owned by

    20      Defendants, thus appropriating Plaint i ffs ' rights in the Recaptured Copyrights and d epr i v i ng


    21      Plaintiffs of their rights to ownership credit in, and use of, the Recaptured Copyrights and of

    22      attendant goodwill, resulting in likely confusion of and a fraud on the public .

     23              88.      Plaintiffs are informed and believe and thereon allege that in doing so

    24      Defendants were attempting to pass off the Recaptured Copyrights as Defendants sole

     25     property in a manner calculated t o deceive Plaintiffs' potential l icensors and/or customers and

     26     members of the pUblic.


    27               89 .     Defendants' passing off and false and misleading designation have proximately

     28     caused and will continue to cause P laintiffs substantial injury and damage including, without
                                                                   20
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          limitation, loss of customers, dilution of goodwill, inj ury to their business reputation, and

     2    diminution of the value of the Recaptured Copyrights. The ongoing harm this wrongful

     3    conduct will cause to Plaintiffs is both imminent and irreparable, and the amount of damage

     4    sustained by Plaintiffs will be difficult to ascertain if such wrongful conduct is allowed to

     5    continue unabated .

     6            90.     By reason o f th e fo regoing, Defendants have vio lat e d and are cont inuing to


      7   violate the Lanham Act, 1 5 U. S.c. § 1 1 2 5 .

      8           91 .     Plaintiffs are entitled to an injunction, during the pendency of this action, and

     9    permanently, restraining Defendants, their officers, agents and employees, and all persons

     10   acting in concert with them, from exclusively licensing or granting rights to any element of the

    II    Superman Franchise p rotected by the Recaptured Copyrights


    12            92.     Plaintiffs are entitled to injunctive relief during the pendency of this action and

     13   permanently, restraining Defendants, their agents, employees, and all persons acting in concert

    14    with them, from engaging in any further violations of the Lanham Act, and to require

    15    Defendants to include Plaintiffs' names on all copyright notices relating to the Recaptured

     16   Copyright s .


     17           93.      Plaintiffs have n o adequate remedy at law with respect t o these ongoing

     18   violations.

     19           94.      Plaintiffs are further entitled to recover from Defendants the damages,

    20    including attorneys' fees and costs, it sustained and will sustain, and any income, gains,

    21    profits, and advantages obtained by Defendants as a result of their acts and omissions alleged

    22    hereinabove, i n an amount which cannot yet b e fully ascertained, but which shall be assessed

    23    at the time of trial.

     24           95.      Plaintiffs are informed and believe and thereon allege that Defendants'

     25   wrongful conduct, acts and omissions were conducted in an intentional, callous, and

    26    calculated manner i n conscious disregard for Plaintiffs ' rights, health and feelings, and

     27   knowingly and intentionally injured and damaged Plaintiffs, wh ich conduct constituted

     28   oppression and malice as defined by California Civil Code § 3294. In accordance with
                                                              21

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          Cal i forni a C i v i l Code § 32 94, P l a i nti ffs are enti tled to punitiv e dam ages in an amo unt

     2    su ffi c i ent to pun i s h Defendants D C , Warner Bros . and T i m e Warn er, to b e assessed at tri a l .

     3                                                 S IXTH CLAIM FOR RELIEF

     4                    ( V i o l ation o f Cal i fo rn i a B u siness and P ro fes sions Code, § § 1 7200 et seq .

     5                                     ( U n fair Competition) - A gainst A l l D e fen dants)

     6             96 .        Plain t i ffs re-al l ege and incorporate here i n hy referen r f' t h e a l l e gat i o n s set fo rth

     7    in paragraphs I through 9 5 , i nclusi v e , as though fu l l y set fo rth here i n .

     8             97 .        In addition to the wrongfu l acts and o m i ssions a l l eged h erein above and

     9    incorporated herein, P l ai n t i ffs are i n formed and b e l i ev e that s i nc e the Termi nation D ate ,

    10    Warner B ros . ' and its p arent, Time W arner, h av e intentional l y o m i tt ed from Time Warner ' s

    I I   Annual R eport" on POnTI l O -K, Quarterl y Report s on Ponn 1 0 Q, Current Reports o n r o m, 8 -

    12    K and other pub l i c ly rep o rted docum ents any and all m ention o f the Tenn i nation, even though

    13    i t drastically reduces theIr ownership interest i n "Supenn an" - - one o f the i r most valuab l e

    14    i ntel l ectual properties. S uc h systematic p u b l i c m i srep resentations by o m i s s i o n are l i k ely to

    IS    deceive, cause confusion and m i stake and are an affront to the p u b l i c in terest .

     16            98.         D e fen dan t s ' wro n g fu l c o n d u c t , ac t s , an d o m i s s i o ns i.1. l l cgcd hcrcilld\.J u v e


    17    constitute unlawfu l , u n fair b usiness practices and unfair compet i t i o n under C al i fornia

     18   Busi ness and Pro fessions Code § § 1 7 5 00 et seq . , and under the common law.

     19            99.         As a d i rect and pro x i m ate res u l t o f D e fendants ' conduct, acts, and o m i ssions as

    20    all eged hereinabove, P l ai nt i ffs are entit l ed t o recover t h e i r share o f any i ncome, gains,

    21    compensation, pro fits and advantages obtained, received or to b e received b y D e fendants, or

    22    any o f them, ari sing from the l icensing and any other exp l o i tation o f the Recaptured

    23    Copyrights ; and are ent i t l e d to an order requiring D e fendants, j o intly and severa lly, to render

    24    an acco unting to ascertain the amount of such proceeds.

    25              100.       As a d i rect and pro x i m ate re sult o f D e fendants ' wrongfu l conduct, acts and

    26    o m i ssions p leaded herei n above, P laintiffs have b een damaged, and D e fendants have been

     27   unj ust l y enriched, i n a n amount that shal l b e assessed at trial for w h i c h dam ages and/or

     28   restitution and d i sgorgement i s app ropriate. S uch dam ages and/or resti t u t i o n and
                                                                              22

                    Complall1t for Declaratory Relief, A c c ounting, Lanham Act V i o l a t i o n s a n cl U n fa i r Competi t I o n



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          di sgorgement should inc lude a dec laration by t h i s Court that Defendants are j o intly and

     2    sev eral l y t h e constructi v e trustee for the benefit of P l ainti ffs and an o rder that Defendants

     3    convey to P l ainti ffs fi fty p ercent (5 0%) o f a l l proceeds and other comp ensation recei ved or to

     4    be recei ved by Defendants that are attri butab l e the l i censing or exploi tati on on or after the

     5    Tem1 i nation Date o f the Recapt ured Copyrights.

     6               101.      D e fen dants ' wrn ngfuI cond u c t , acts , o m i s s ions have pro x i m ate l y caused and

     7    w i l l contin ue to cause P l aintiffs substantial i nj ury and d am age i n cl ud i n g, without l i m i t at i o n ,

     8    l o ss of customers, di lution o f goodwil l , i nj ury to P laint i ffs ' reputat i o n , and d i m i nution o f the

     9    value o f P l ai n t i ffs ' j o i nt ownership i nterest i n the Recaptured Co pyri ghts. The harm thi s

    10    wro ngfu l conduct w i l l c au s e to P l ai nti ffs i s both immi n ent and i rrep arab l e , and the amount o f

    11    d a m a ge s Ll s t ained by P l ai n t i ffs w i l l be d i ffi c u l t to ascertain i f such wron g fu l c o n d u c t i s


    12    a l l owed to continue w i thout restrain t .

    13               1 02 .    P l ai n t i ffs are enti t l ed t o an i nj unction, during the pend ency o f this action, and

    14    pe rm anently, restrai n i n g D e fendants, their o ffi cers, agents and em p l oyees, and a l l pe rsons

     15   actin g i n concert w i t h them, fro m exclusively l i cens i n g or gran t i n g rights to any e l e ment o f the

    16    S upennun Franchi s e protected by the Recaptured Copyri ghts

    17               1 03 .    P l ai nt i ffs are entitled to an i nj unction, during the pendency o f this action, and

     18   p erman ently, restrain i ng D e fendants, their o fficers, agents and emp l o yees, and a l l p ersons

     19   ac ting in concert w i t h them , fro m engaging i n any such further u n l aw fu l conduct, and

    20    req u i ri n g Defendants t o include P l ai n t i ffs ' names on a l l copyright noti ces rel ati ng t o the

    21    Recaptured Copyri ghts.

    22               1 04 .    P l aintiffs have n o adequate remedy a t law w i t h respect t o s u c h ongo i n g

    23    u n l aw ful conduct.

    24               105.      P l ai n t i ffs are i n fo rmed and bel i e ve and thereo n al le ge that D e fendants '

    25    wrongfu l conduct, acts and o m i s si ons were conducted in a n i ntenti onal , m a l i c i o u s , calcu l ated

    26    and oppressive m anner in conscious d isregard fo r P l aintiffs ' rights, health and fee l ings, and

    27    knowingly and i ntentionally inj ured and damaged P l ai n t i ffs , w h i c h conduct constituted

    28    oppression and malice as d e fi ned b y Cal i fornia C i v i l Code § 3 294 . I n accord ance with
                                                                            23
                      ------�-��--���-:----:-��:--:---�--;::--:-;:: -.
                     Complaint for Declaratory Relief, Accounting, Lanham Act Violations and Unfa i r Comp e t i t ion


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          Cal i fornia C i v i l Code § 3 294, P lainti ffs are entitled to p unitive damages in an amount

     2    s u ffi c i ent to punish D e fendants, to be assessed at tri al .

     3        WHEREFORE, P l ai n t i ffs pray for rel i e f as fo l lows :

     4                                             PRAYER FOR RELIEF

     5                                     ON THE F IR S T CLAIM FOR RELIEF

     6             1 06 .   For a dec l aration as fo l l ows :

     7                      a.       That pursuant to the Copyright Act, 1 7 U . S . C . § 3 04(c), P l aintiffs validly

     8    term inated on Apri l 1 6 , 1 9 99 a l l p ri or grants, assignments o r transfers to any o f the

     9    D e fendants and any o f their predecessors-in-interest, o f the renewal copyri ghts in and to each

    10    and/or a l l of the Works;

    1 1                     b.       That , a s of the Termi nation f) ::lt�, P l ::l i nt i ffs owned and con t i n u e to own

    12    fi fty p ercent ( 5 0 %) o f the aforesaid Recap tured Copyrights ;

                            c.       That D e fendants contro l only fi ft y p ercent (5 0%) o f the Recaptured

    14    Copyrights, and thus, as o f the Termi nation Date, had/have no authority to confer exclusive

    IS    l i ce nses or grants with respect to any el em ent of the " S uperman" myt h o logy protected by the

    16    Recaptured Copyri gh ts; amI

    17                      d.       That P lainti ffs are enti t l ed to fi ft y p ercent (5 0%) of any and all Pro fi ts

    18    from the exploitati o n o f, or attributabl e to, in who l e or i n p art, any aspect o f the Recaptured

    19    Copyrights.

    20                                   ON THE S E C OND C LAIM FOR RELIEF

    21             1 07 .   F o r a declaration as follows:

    22                      a.       That as j o i n t owners o f the Recaptured Cop yrights, P l ainti ffs are

    23    ent i t l ed to an accounting for Pro fits rec eived o r p ayab l e to the D e fendants;

    24                      b.       That Profi ts include D e fendants ' revenues fro m t h e post - Apri l 1 6 ,

    2S    1999 e x p l o i tation of t h e Recaptured Copyri ghts in terri tori es outside o f t h e United S tates

    26    whenever such ex p l o i tation is b ased on the predi cate exerc i se in th e Un ited States of any

    27    right(s) i n and t o the Recap tured Copyrights b y any D e fendant, their l i censees o r as signs ;

    28
                                                                   24

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                                 c.      That there should be no apportionment o f P ro fi t s since P l ainti ffs are

      2     enti tled to fi fty p ercent (5 0%) o f such P ro fi t s as j oi nt owners o f the Recaptured Copyrights;

      3                          d.      A lternat i v ely, that apportionment s h o u l d app l y o n l y t o p ro fi ts from the

      4     explo i tation o f the Recaptured Works i n derivative works created by a Defendant, but not to

       5    pro fi t s from licensing o f the Recap tured Works ;

       6                         e.      That apportionment, i Lmy, should weigh s trongly i n Plaintiff s favor,

       7    since the value o f the S up erman Franch i se i s largely attri butab l e to the unique "Sup ernlan"

       8    ch aracter and other e l ements created by S i egel and S huster and protected by the Recaptured

      9     Copyri ghts, in a percentage that the c o u rt m ay deem j u st and proper;

     l ()                        f.      That P r o fits i nc l ude p ro fi t s from any merchan d i s e or oth er deri vat i v e

     11     works created, proctll�ect or manufactured on or after the Termination D ate, April 1 G, 1999,

     12     notwithstanding that underlying l i censing for such explo itation m ay h ave occurred prior

     IJ     thereto ;

     14                          g.       That Pro fits include the Pro fits of Defendants DC, Warner B ros. and

     15     Time Warner, their subsidiaries and d i vi sions; and

     16                          h       Th at in determ i ni ng Profits, only reasonable costs direc t l y attl i uutable

     17     to the exploitation o f the Recap tured Copyrights, o f the type customari l y d e d ucted i n arms '

     18     length agreem ents to exploit copyri ghts o f comparab l e value to the Recaptured Co pyrights,

     19     s h o u l d be deducted from gro ss reven ues, all in comp li anee w i t h Genera l l y Accepted

     20     Accounting P ri nciples (GAAP) .

     21                                        ON THE THIRD CLAIM FOR RELIEF

     22                 1 08 .   For a dec l aration as fo l lows :

     23                          a.       Th at b y the Term i n at ion, P l ainti ffs recap tured a fi fty p ercent (5 0%)

     24     i nterest in the copyri ght to the Sup erman C rest created by S i egel and S h u ster;

     25                          b.       That D e fendant s ' S up efl11an S hi e l d design aro s e d i rectly from, and i s

     26     substanti a l l y i dentical to, the copyrighted S up efl11 a n Crest created b y S i egel an d S h uster;

     27

     28
                                                                       25

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                               f.         That D e fendants m u s t acco unt to P l ai nt i ffs for fifty percent ( 5 0 % ) o f

      2    the proceeds they receive from the l i cens i n g or other exp l o it at i o n o f the S upennan Cre s t

      3    and/or S up ennan S h i e l d ;

      4                        g.         That Plaintiffs , as co-owners of the copyright in and to the S upennan

      5    Crest , l ikewise are penni tted to l i cense or otherw i s e e x p l o i t the S up erman Crest , s ubj ect to a

      6    duty to accou n t to D e fendants for any such expl oitation; and

       7                       h.         That D e fe ndants c annot use their a l l eged trad e m ark i n the S u p em1an

       8   S h i eld or any other a l l eged trademark i nterest with respect to "S upennan" to prevent, hi nder

      9    or restrai n P l a i n t i ffs ' use, ex ercise or e x p l o i tat i on o f Plain t i ffs ' rights under the Copyright A c t

     I0    in the j o intly owned Recaptu red Copyri ghts.

     1 1                                      ON THE FOURTH CLAIM FOR R E L I E F

     12              1 09.     F o r an acco unting b y t h e Defendants, j o intly and severa l ly, o f any and a l l

     IJ    proceeds trom the l i censing and any other exploi t ation o f the Recaptured Cop yrights o r

     14    S up enn an Franchise on or aft er the Tenn i nation D ate, Ap ri l 1 6 , 1 9 9 9 ;

     15              1 1 0.    For 5 0% o f any and all p roceeds from the l i cen s i n g and any other e x p l o i tat ion

     16    o f the Recaptured Works or " S up erman Franchise" on or after Apri l 1 6 , 1 9 99 p urs u an l [0 such

     17    accounting; and

     18              1 1 1.    For the i m p o s i t i o n o f a construct i ve trust for the benefit o f P l ai n t i ffs on a l l

     19    sums recei ved and to b e received b y the D e fendants, j o in t l y or severa l ly, derived from the

     20    licensing and any other e x p l o i tati o n o f the Recaptured Works or "S upenn an Franch is e" on or

     21    after Apri l 1 6 , 1 9 9 9 .

     22                                         ON T H E FIFTH C LAIM F O R RELIE F

                     1 1 2.    For compensatory and consequenti al dam ages acc ord ing to pro o f as shall be

     24    detenn i n ed at tri al ; and

     25              1 13 .    For punitive and exemplary damages as may b e awarded at trial.

     26    IIII

     27    IIII

     28    II/I
                                                                        26

                      Complaint for Declaratory Rel ief, Accounting, Lanham Act V iolations and U nfa ir Compet ition



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                                            ON THE SIXTH CLAIM FOR RELIEF

      2             1 1 4.   For a n order p reliminari l y and thereafter p ermanentl y enj oining D e fendants

      3   from exclusively l i c ensing or granting rights to any e lement o f the S uperman Franchise

      4   protected by the Recaptured Copyrights;

      5             1 15.    For an order pre l i m i n ari ly and thereafter perm anently req u i ri ng Defendants

      6   i nc l ude P l aintiffs ' names on any and all copyright noti ces rel ating to the Recaptured

      7   Copyri ghts;

      8             1 1 6.   F o r compensatory and consequential damages according to pro o f a s shall b e

      9   d etermined a t tri a l ;

     10             1 1 7.   For such other and further reli e f and rem edies avai l ab l e under the Lanham Act,

     11   1 5 U . S . c . § 1 1 2 5 , which the Court m a y deem j ust and proper; und

     12             1 1 8.    For p unitive and exemp l ary damages a s m ay b e awarded at tri a l .

     13                                   ON T H E S E V ENTH CLAIM FOR RELIEF

     14             1 1 9.   For a n accounting o f a l l Profits ;

     15             1 20 .   For the imposition o f a constructive trust on all Pro fits receiv ed and t o be

     16   received;

     17             121.      For restitution to P l aintiffs o f D e fendants ' u n l awfu l p roceeds;

     18             1 22.     For an order preliminari l y and thereafter perm anently enj o ining D e fendants

     19   from exclusively licensing or granting rights to any e l em ent o f the S uperman Franchise

     20   protected b y t h e Recap tured Copyrights;

     21             1 23 .    For an order p reliminari l y and thereafter p erman ently requ i ring D e fendants

     22   incl ude P l aintiffs ' names on any and al l copyright notices relat i n g to the Recaptured

     23   Copyri ghts;

     24             1 24 .    For compensatory and consequential damages according t o pro o f a s shal l b e

     25   determined a t tri al ;

     26             1 25 .    For such other and further reli e f and remedi es avai l ab l e u nder California

     27   B u siness and Pro fessions Code, § § 1 7200 et seq., which the C o u rt m ay deem j ust and proper;

     28   and
                                                                    27

                     Complaint fo r Declara tory Reli e f, Accounting, Lanham Act Vio lations and Unfa i r Compe tition



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                  1 2 6.    For punitive and exemplary damages as may be awarded at trial.

     2                                                 ON ALL CLAIMS FOR RELIEF

     3            1 27.     For P l ai n t i ffs ' costs o f suit;

     4            1 28.     For i nterest at the highest lawfu l rate o n a l l sums awarded Plainti ffs other than

     5   p un i t i v e damages;

     6            1 29 .    For reasonable attorneys ' fees; ,md

     7            1 30.     For such other and further relief as the Court m ay deem j ust and proper.

     8   Dated : October           g , 2 004                           LA W OFFICE OF M ARC TOB E ROFF

     9

    10

    11                                                                 Atturneys for P l aIntiffs J o an n e S i e gel and
                                                                       Laura Si egel Larson
    12

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                   Complaint fo r Decl aratory Relief, Accounting, Lanham Act V i o lations and U n fa ir Comp e t i t i o n



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                                                JURY TRIA L DEMANDED

     2            Plaintiffs h ereby request a trial by j ury on each c l aim fo r re l i e f a l l eged in the

     3    Comp l aint.

     4    D ated : October 3 , 2004                               LA W OFFICE O F MARC TOBEROFF

     5

     6

     7                                                            Attorneys for P l ainti ffs Joanne S i egel and
                                                                  Laura Siegel Larson
     8

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                  Comp laint for Declaratory Relief, Accounting, Lanham Act Vio lations and Unfair Competition




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   12   Attorneys for Defendants Warner Bros.
        Entertamment Inc., Time Warner Incr4 and
   13   Defendant and Counterclaimant DC LOmiCS
   14                        UNITED STATES DISTRICT COURT
   15
                           CENTRAL DISTRICT OF CALIFORNIA
   16
   17
        JOANNE SIEGEL, an individual; and
   18   LAURA SIEGEL LARSON, an individual,            Case No.
                                                       04-8400 (DDP) (RZx)
   19
                     Plaintiffs,
   20                                                  ANSWER AND
              vs.                                      COUNTERCLAIMS
   21   WARNER BROS. ENTERTAINMENT
        INC., a corporation; TIME WARNER
   22   INC., a corporation; DC COMICS a
        general partnership; and DOES 1 - f O.
   23
   24                Defendants.

   25
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   27
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    1   DC COMICS,

    2                 Counterclaimant,
    3
    4           vs.

    5
        JOANNE SIEGEL, an individual; and
    6   LAURA SIEGEL LARSON, an individual,
    7
    8                 Counterclaim Defen dants.

    9           Defendants Warner Bros. Entertainment Inc. ("Warner Bros."), Time
   10   Warner Inc. ("Time Warner"), and DC Comics ("DC" or "DC Comics")
   11   (collectively "Defendants"), by their attorneys, answer the Complaint, as corrected
   12   by plaintiffs' Notice of Errata Re: Plaintiffs' Complaint filed October 28, 2004:
   13           1.    Defendants admit only that plaintiffs have brought this civil action for
   14   the alleged causes of action set forth in the Complaint, but otherwise deny the
   15   allegations in paragraph 1 .
   16           2.    Defendants admit only that plaintiffs purport to assert that this Court
   17   has subject matter jurisdiction as alleged in paragraph 2 but otherwise deny the
   18   allegations contained in the Complaint.
   19           3.    Defendants admit only that plaintiffs purport to assert that this Court
   20   has supplemental jurisdiction as alleged in paragraph 3 but otherwise deny the
   21   allegations contained in the Complaint.
   22           4.    Defendants admit only that they regularly do business in the State of
   23   California and in this District but otherwise deny the allegation s in paragraph 4.
   24           5.    Admitted.
   25           6.    Defendan ts lack knowledge or information sufficient to form a belief
   26   as to the truth of the allegations contained in paragraph 6 and on that basis deny the
   27   same.
   28




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                                          472
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    1           7.     Defendants lack knowledge or information sufficient to form a belief
    2   as to the truth of the allegation s contained in paragraph 7 and on that basis deny the
    3   same.
    4           8.     Admitted.
    5           9.     Defendants deny the allegations contained in paragraph 9 except
    6   admit that DC Comics is a New York General Partnership comprised of Warner
    7   Communications, Inc. and E.C. Publication s, Inc.
    8           10.    Defendants deny the allegations in paragraph 1 0 except admit that DC
    9   Comics is the successor-in-interest to, inter alia, Detective Comics, Inc. and
   10   National Periodical Publications, Inc. and except to the extent the allegation s
   11   accurately reflect the contents of documents, and respectfully refer the Court to
   12   such documents for evidence of the contents thereof.
   13           1 1.   Defendants deny the allegations contained in paragraph 1 1 except
   14   admit that Time Warner Inc. is a Delaware corporation with its corporate
   15   headquarters in the State of New York and that certain o f its wholly owned
   16   subsidiaries regularly conduct business in the State of California and in the County
   17   o f Los Angeles. Defendants further admit that defendant Warner Bros. i s affiliated
   18   with defendan t Time Warner Inc. and that DC Comics is a New York general
   19   partnership whose general partners are entities affiliated with defendan t Time
   20   Warner Inc.
   21           1 2.   Denied.
   22           13 .   Denied.
   23           14.    Defendants lack knowledge or information sufficient to form a belief
   24   as to the truth of the allegation s contained in paragraph 1 4 and on that basis deny
   25   the same.
   26           15.    Denied.
   27           1 6.   Defen dan ts admit only that in 1 933 Siegel and Shuster co-created a
   28   character entitled Superman , which character was thereafter substantially chan ged




                                        EXHIBIT 343
                                           473
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    1   prior to its first publication in 1 938 but lack kn owledge or information sufficient to
    2   form a belief as to the truth of the remaining allegations contained in paragraph 1 6
    3   and on that basis deny the same.
    4          17.    Defendants admit only that during the 1 930s Siegel and Shuster
    5   created twenty-four days of comic strips featuring a character entitled Superman
    6   and a paragraph previewing future Superman exploits, but lack knowledge or
    7   information sufficient to form a belief as to the truth of the allegations contained in
    8   paragraph 1 7 and on that basis deny the same.
    9          1 8.   Defendants lack knowledge or information sufficient to form a belief
   10   as to the truth of the allegations contained in paragraph 1 8 and on that basis deny
   11   the same.
   12          1 9.   Defendants admit only that Siegel and Shuster's work on features
   13   entitled "Henri Duval" and "Dr. Occult" was published by the Nicholson
   14   Publishing Company during the 1 930s, that Malcolm Wheeler-Nicholson was
   15   involved with Detective Comics, Inc. and that work that Siegel and Shuster did on
   16   features entitled "Slam Bradley" and "Spy" was published in a comic magazine
   17   entitled "Detective Comics No. 1 ," but lack knowledge or information sufficient to
   18   form a belief as to the truth of the remaining allegations contained in paragraph 1 9
   19   and on that basis deny the same.
   20          20.    Defendants admit only that on or about December 4, 1 937, Jerry
   21   Siegel and Joe Shuster entered into an agreement with Detective Comics, Inc. but
   22   deny the remaining allegations in paragraph 20 except to the extent the allegations
   23   accurately refl ect the contents of documents, and respectfully refer the Court to
   24   such documents for evidence of the contents thereof.
   25          21.    Defendants deny that Superman and his "miraculous powers" had all
   26   been completely developed by early 1 93 8 and otherwise Defendants lack
   27   knowledge or information sufficient to form a belief as to the truth of the
   28   allegations contained in paragraph 21 and on that basis deny the same.




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    1         22.    Defendants admit only that in early 1 93 8 defendants' predecessor,
   2    Detective Comics, Inc., requested that Siegel and Shuster tum certain Superman
   3    comic strips they had co-created, along with additional material that Siegel and
   4    Shuster would newly create, into a 1 3-page comic book story suitable for
   5    publication in a comic magazine format, and that Siegel and Shuster thereafter
   6    delivered such a comic book story to Detective Comics, Inc. and that such story
   7    contained approximately 90 separate panels, but defendants lack knowledge or
   8    information sufficient to form a belief as to the truth of the remaining allegations
   9    contained in paragraph 22 and on that basis deny the same.
  10          23.    Defendants deny the allegations contained in paragraph 23 except
  11    admit that certain elements and characters of the Superman mythology such as his
  12    origins from a distant planet, some of his physical traits, and his secret identity as
  13    Clark Kent were contained in Action Comics No. 1 and except to the extent the
  14    allegations accurately reflect the contents of documents, and respectfully refer the
  15    Court to such documents for evidence of the contents thereof.
  16          24.    Defendants admit only that Siegel and Shuster entered into an
  17    agreement with Detective Comics, Inc. dated March 1 , 1 938 whereby Siegel and
   18   Shuster transferred to Detective Comics, Inc. "the strip entitled ' Superman' . . . all
   19   good will attached thereto and exclusive right to the use o f the characters and story,
  20    continuity and title of strip . . . " and agreed not to employ Superman and other
  21    characters in the strip "by their names contained therein," but otherwise deny the
  22    allegations contained in paragraph 24 except to the extent the allegations
  23    accurately refl ect the contents of documents, and respectfully refer the Court to
  24    such documents for evidence of the contents thereof.
  25           25.   Defendants admit that Detective Comics, Inc. published a Superman
  26    comic story in Action Comics No. 1 with a cover date of June 1 938, lack
  27    knowledge or information sufficient to form a belief as to the truth of the
  28    allegations contained in paragraph 25 relating to the "Revised 1 934 Superman




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    1   Comic Strip" and on that basis deny the same, and deny the remaining allegations
    2   in paragraph 25, except to the extent the allegations accurately refl ect the contents
    3   of documents, and respectfully refer the Court to such documents for evidence of
    4   the contents thereof.
    5         26.    Defendants deny the allegations in paragraph 26 except admit that
    6   Action Comics No. 1 contains Superman' s origin from a distant, unnamed planet,
    7   some of his physical traits, his secret identity as Clark Kent, a co-worker named
    8   "Lois," and deny the remaining allegations in paragraph 26 except to the extent the
    9   allegations accurately reflect the contents of documents, and respectfully refer the
   10   Court to such documents for evidence of the contents thereof.
   11         27.    Defendants admit only that following Action Comics No. 1 , at the
   12   instance and expense of Detective Comics, Inc., and subject to its right of control,
   13   Siegel and Shuster jointly created some additional Superman episodes that
   14   appeared in subsequent issues of Action Comics but deny the remaining allegation
   15   in paragraph 27, except to the extent the allegations accurately reflect the contents
   16   of documents, and respectfully refer the Court to such documents for evidence of
   17   the contents thereof.
   18         28.    Defendants admit only that between March 1 93 8 and September 1 938,
   19   Siegel and Shuster jointly created Superman strips, stories and continuities at the
   20   instance and expense of Detective Comics, Inc. and subject to its right of control,
   21   but deny the remaining allegations in paragraph 28, except to the extent the
   22   allegations accurately reflect the contents of documents, and respectfully refer the
   23   Court to such documents for evidence of the contents thereof.
   24          29.   Defendants admit only that on September 22, 1 93 8 Detective Comics,
   25   Inc., Siegel, Shuster, and The McClure Newspaper Syndicate entered into an
   26   agreement but deny the remaining allegations in paragraph 29, except to the extent
   27   the allegations accurately reflect the contents of documents, and respectfully refer
   28   the Court to such documents for evidence of the contents thereof.



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    1           30.   Defendants admit only that on September 22, 1 93 8 Detective Comics,
    2   Inc., Siegel, and Shuster entered into an agreement but otherwise deny the
    3   allegations in paragraph 3 0 except to the extent the allegations accurately reflect
    4   the contents of documents, and respectfully refer the Court to such documents for
    5   evidence of the contents thereof.
    6           31.   Defendants admit only that between March 1 93 8 and September 1 938,
    7   Siegel and Shuster provided certain of the contents for Action Comics Nos. 1 -6
    8   and that Action Comics Nos. 2-6 were created at the instance and expense of
    9   Detective Comics, Inc. and subject to its right of control, and that Action Comics
   10   Nos. 1 -5 were published prior to September 22, 1 93 8; lack knowledge or
   11   information sufficient to form a belief as to the truth of the allegations contained in
   12   paragraph 25 relating to the publication date of Action Comics No. 6 and on that
   13   basis deny the same; and deny the remaining allegations in paragraph 3 1 , except to
   14   the extent the allegations accurately reflect the contents of documents, and
   15   respectfully refer the Court to such documents for evidence of the contents thereof.
   16           32.   Denied.
   17           33.   Defendants only admit that Siegel and Shuster entered into an
   18   agreement with Detective Comics, Inc. on December 1 9, 1 939 but otherwise deny
   19   the allegations in paragraph 3 3 , except to the extent the allegations accurately
   20   reflect the contents of documents, and respectfully refer the Court to such
   21   documents for evidence of the contents thereof.
   22           34.   Defendants deny the allegations contained in the first three sentences
   23   of paragraph 34, except that with respect to the allegations in the third sentence of
   24   paragraph 34, to the extent they accurately reflect the contents of documents,
   25   respectfully refer the Court to such documents for evidence of the contents thereof.
   26   Defendants otherwise lack knowledge or information sufficient to form a belief as
   27   to the truth of the allegations contained in paragraph 34 and on that basis deny the
   28   same.




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    1         35.    Defendants admit the allegations of paragraph 3 5 except that
    2   defendants deny that the Official Referee's opinion in the 1 947 Action was dated
    3   November 1 , 1 947, deny that the Official Referee only "up [held] the contracts in
    4   some respects," and lack knowledge or information sufficient to form a belief as to
    5   whether the Official Referee "signed" detailed findings of fact on April 12, 1 948
    6   and on that basis deny the same.
    7         36.    Defendants admit the allegations contained in the first sentence of
    8   paragraph 36 except as to the date on which the dispute arose, but otherwise deny
    9   the allegations in paragraph 36 except to the extent the allegations accurately
   10   reflect the contents of documents, and respectfully refer the Court to such
   11   documents for evidence of the contents thereof.
   12         37.    Defendants deny the allegations in paragraph 3 7 except to the extent
   13   the allegations accurately reflect the contents of documents, and respectfully refer
   14   the Court to such documents for evidence o f the contents thereof.
   15         38.    Defendants admit only that on December 23, 1 975 Siegel and Shuster
   16   entered into an agreement with Warner Communications, Inc., but deny the
   17   remaining allegations in paragraph 3 8 except to the extent the allegations
   18   accurately reflect the contents of documents, and respectfully refer the Court to
   19   such documents for evidence of the contents thereof.
   20          39.   Defendants admit only that plaintiffs purport to have mailed notices 0
   21   termination dated April 3 , 1 997 to defendants and various other entities, but deny
   22   the remaining allegations in paragraph 39 except to the extent the allegations
   23   accurately reflect the contents of documents, and respectfully refer the Court to
   24   such documents for evidence of the contents thereof.
   25          40.   Defendants lack knowledge or information sufficient to form a belief
   26   as to the truth of the allegations contained in paragraph 40 and on that basis deny
   27   the same.
   28          41.   Admitted.



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    1         42.    Denied.
    2         43 .   Denied.
    3         44.    Denied.
    4         45.    Denied.
    5         46.    Denied.
    6         47.    Defendants deny the allegations in paragraph 47 except to the extent
    7   the allegations accurately reflect the contents of documents, and respectfully refer
    8   the Court to such documents and all other documents related thereto for evidence
    9   of the contents thereof.
   10         48.    Defendants deny the allegations in paragraph 48 except to the extent
   11   the allegations accurately reflect the contents of documents, and respectfully refer
   12   the Court to such documents and all other documents related thereto for evidence
   13   of the contents thereof.
   14         49.    Defendants admit only that on April 1 5 , 1 999, plaintiffs received a
   15   letter from DC Comics' attorneys that, inter alia, rej ected the termination notices
   16   and the validity thereof, and stated that DC Comics continued to claim sole
   17   copyright ownership in Superman as of that date. Defendants deny the remaining
   18   allegations in paragraph 49 except to the extent the allegations accurately reflect
   19   the contents of documents, and respectfully refer the Court to such documents and
   20   any documents related thereto for evidence of the contents thereof.
   21          50.    Defendants deny the allegations in paragraph 5 0 except to the extent
   22   the allegations accurately reflect the contents of documents, and respectfully refer
   23   the Court to such documents for evidence of the contents thereof.
   24          51.    Defendants deny that plaintiffs own any copyright rights to Superman,
   25   or that any such rights have been "recaptured," but otherwise admit the allegations
   26   in paragraph 5 1 .
   27
   28



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    1                                FIRST CLAIM FOR RELIEF

    2          52.     Defendants re-allege and incorporate by reference paragraphs 1
    3   through 5 1 inclusive, as though fully set forth herein.
    4          53.     Defendants deny the allegations contained in paragraph 53 except
    5   admit that an actual and justiciable controversy has arisen and now exists between
    6   the parties.
    7          54.     Defendants admit that plaintiffs contend and that defendants deny all
    8   of the assertions contained in paragraph 54, including but not limited to,
    9   subparagraphs (a) - (d).
   10          55.     Defendants deny the allegations contained in paragraph 5 5 except
   11   admit that a declaration of the Court is necessary.
   12                              SECOND CLAIM FOR RELIEF

   13          56.     Defendants re-allege and incorporate by reference paragraphs 1
   14   through 55 inclusive, as though fully set forth herein.
   15          57.     Defendants deny the allegations in paragraph 5 7 except admit only
   16   that an actual and justiciable controversy has arisen and now exists between
   17   plaintiffs and defendants.
   18          58.     Defendants admit that plaintiffs contend and that defendants deny all
   19   of the assertions contained in paragraph 5 8 , including but not limited to,
   20   subparagraphs (a) - (t).
   21          59.     Defendants deny the allegations contained in paragraph 55 except
   22   admit that a declaration of the Court is necessary.
   23                                THIRD CLAIM FOR RELIEF

   24          60.     Defendants re-allege and incorporate by reference paragraphs 1
   25   through 59 inclusive, as though fully set forth herein.
   26          61.     Defendants deny that plaintiffs are entitled to exploit the Superman
   27   crest and that plaintiffs are entitled to any accounting of any profits from any
   28   exploitation thereof and otherwise deny the allegations of paragraph 6 1 .



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       1         62.    Defendants admit that they own and possess the exclusive right to use
       2   a trademark interest in the Superman "S in Shield" device, but otherwise deny the
       3   allegations in paragraph 62 except to the extent the allegations accurately refl ect
       4   the contents of documents, and respectfully refer the Court to such documents for
       5   evidence of the contents thereof.
       6         63 .   Defendants admit that plaintiffs contend and that defendants deny all
       7   of the assertions contained in paragraph 63, including but not limited to,
       8   subparagraphs (a) - (e).
       9         64.    Defendants deny the allegations contained in paragraph 55 except
   10      admit that a declaration of the Court is necessary.
   11                                 FOURTH CLAIM FOR RELIEF

   12            65 .   Defendants re-allege and incorporate by reference paragraphs 1
   13      through 64 inclusive, as though fully set forth herein.
   1             66.    Defendants admit that defendant DC Comics has, continuously on an
   15      exclusive basis licensed and commercially exploited and intends to continue to
   16      license and exploit its copyright rights in Superman. Defendants further admit that
   17      defendant Warner Bros. Entertainment Inc. has made use of the Superman
   18      copyrights under license from defendant DC Comics. Defendants deny the
   19      remaining allegations in paragraph 66.
   20            67.    Defendants admit that defendant DC Comics has earned profits from
   21      its exploitation of the Superman copyrights, and that defendant Warner Bros.
   22      Entertainment Inc. has earned profits from its licensed use of the Superman
   23      copyrights, but deny the remaining allegations in paragraph 67.
   24            68.    Denied.
   25             69.   Denied.
   26             70.   Defendants admit that plaintiffs have demanded an accounting but
   27      otherwise deny the allegations in paragraph 70.
   28             71.   Admitted.



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       1            72.       Denied.
       2            73.       Denied.
       3                                         FIFTH CLAIM FOR RELIEF

       4            74.       Defendants re-allege and incorporate by reference paragraphs 1
       5   through 73 inclusive, as though fully set forth herein.
       6            75.       Denied.
       7            76.       Denied except to the extent the allegations accurately reflect the
       8   contents of documents, and respectfully refer the Court to such documents for
       9   evidence of the contents thereof.
   10               77.       Defendants admit that defendant DC Comics has continuously and
   11      consistently asserted to plaintiffs exclusive ownership and control of all rights in
   12      Superman but deny the remaining allegations in paragraph 77.
   13               78.       Defendants lack knowledge or information sufficient to form a belief
   1       as to the truth of the allegations contained in paragraph 78 and on that basis deny
   15      the same.
   16               79.       Denied.
   17               80.       Denied.
   18               8l .      Denied.
   19               82.       Denied.
   20                                           SIXTH CLAIM FOR RELIEF!

   21               83 .      Defendants re-allege and incorporate by reference paragraphs 1
   22      through 82 inclusive, as though fully set forth herein.
   23               84.       Defendants admit that they have not listed plaintiffs' names on any
   24      copyright notices, but otherwise deny the allegations in paragraph 84.
   25
   26
   27
   28      1 This claim i s erroneously referred t o a s "Fifth Claim For Relief' i n plaintiffs'   complaint.




                                                                         12
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       1           85 .      Defendants admit that DC Comics has continuously held itself out as
       2   the sole owner of copyright and all other rights in Superman but deny the
       3   remaining allegations in paragraph 85 .
       4           86.       Defendants admit that DC Comics has continuously held itself out as
       5   the sole owner of copyright and all other rights in Superman but deny the
       6   remaining allegations in paragraph 86.
       7           87.       Defendants admit that DC Comics has continuously held itself out as
       8   the sole owner of copyright and all other rights in Superman but deny the
       9   remaining allegations in paragraph 87.
   10               88.      Defendants admit that DC Comics has continuously held itself out as
   11      the sole owner of copyright and all other rights in Superman but deny the
   12      remaining allegations in paragraph 88.
   13              89.       Denied.
   1               90.       Denied.
   15              91.       Denied.
   16               92.      Denied.
   17               93.      Denied.
   18               94.      Denied.
   19               95.      Denied.
   20                                       SEVENTH CLAIM FOR RELIEF2

   21               96.      Defendants re-allege and incorporate by reference paragraphs 1
   22      through 95 inclusive, as though fully set forth herein.
   23               97.      Defendants admit that defendant Time Warner has made no mention
   24      of plaintiffs' ineffective termination notices in publicly reported documents, but
   25      otherwise deny the allegations in paragraph 97.
   26               98.      Denied.
   27               99.      Denied.
   28
           2 This claim is erroneously referred to as "Sixth Claim For Relief' in plaintiffs'   complaint.




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   1          1 00. Denied.
   2          1 0 1 . Denied.
   3          1 02. Denied.
   4          1 03 . Denied.
   5          1 04. Denied.
   6          1 05 . Denied.
   7                             FIRST AFFIRMATIVE DEFNSE

   8          1 06. Plaintiffs' complaint fails to state a claim upon which relief may be
   9    granted.
  10                            SECOND AFFIRMATIVE DEFENSE

  11          1 07. Plaintiffs' claims are barred by the doctrines of laches, waiver,
  12    acquiescence, and/or estoppel.
  13                             THIRD AFFIRMATIVE DEFENSE

  14          1 08 . Plaintiffs' claims are barred because plaintiffs have not sent a Notice
  15    of Termination with respect to a separate and complete grant of rights in Superman
   16   by Siegel and Shuster.
   17                           FOURTH AFFIRMATIVE DEFENSE

   18         1 09. Plaintiffs' claims are barred because plaintiffs have continued to
   19   accept the benefits of one of the grants of rights in Superman they allege to have
  20    terminated, even after the purported effective date of such termination.
  21                             FIFTH AFFIRMATIVE DEFENSE

  22          1 1 0. The "Unpublished Superman" works are not eligible for termination
  23    under the Copyright Act or, if they are, any such termination is premature.
  24                             SIXTH AFFIRMATIVE DEFENSE

  25           1 1 1 . Plaintiffs' claims are barred by the statute of limitations, including but
  26    not limited to, 1 7 U.S.C. § 507 (b).
   27
   28



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   1                          SEVENTH AFFIRMATIVE DEFENSE

   2          112.    Plaintiffs' claims are barred because the notices of termination sent by
   3    plaintiffs were not timely served.
   4                           EIGHTH AFFIRMATIVE DEFENSE

   5           113.   Plaintiffs' claims are barred on the basis of settlement.
   6                           NINTH AFFIRMATIVE DEFENSE

   7          114.    Because the various paragraphs of plaintiffs' Complaint do not
   8    comply with Fed. R. Civ. P. 8(a) and (e), defendants are not required to separately
   9    admit or deny each averment contained therein.
  10           FOR TH ESE REASONS, defendants pray that the Court dismiss all of
  11    plaintiffs' claims and find for defendants on all counts, that defendants be awarded
  12    costs, including reasonable attorneys' fees under Section 505 of the United States
  13    Copyright Act, and pray for such other and further relief as this Court deems just
  14    and proper.
  15                                    COUNTERCLAIMS

  16                                          PARTIES

   17          1.     Defendant/Counterclaimant DC Comics ("DC" or "DC Comics") is a
   18   New York General Partnership engaged in the business of, inter alia, creating,
  19    exploiting, and licensing comic book stories and characters. DC is the successor in
  20    interest to all rights under copyright and other rights, including trademark rights
  21    and the good will in and to the first Superman story and all other works and
  22    products relating to the Superman character.
  23           2.     Upon information and belief, Plaintiff/Counterclaim Defendant
  24    Joanne Siegel is an individual and citizen of the State of California, in the County
  25    of Los Angeles. Upon further information and belief, Joanne Siegel is the widow
  26    of Jerome Siegel, the individual credited as a co-creator of the first Superman
  27    stories.
  28



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    1         3.      Upon information and belief, Plaintiff/Counterclaim Defendant Laura
    2   Siegel Larson is an individual and citizen of the State of California, in the County
    3   of Los Angeles. Upon further information and belief, Laura Siegel Larson is a
    4   daughter of Jerome Siegel. Plaintiff/Counterclaim Defendants Joanne Siegel and
    5   Laura Siegel Larson are referred to herein as "the Siegels."
    6                               JURISDICTION AND VENUE

    7          4.     This Court has jurisdiction of the subject matter hereof under the
    8   provisions of the U.S . Copyright Act, 1 7 U.S.C. § 1 0 1 et seq., relating to copyright
    9   ownership, under sections 39 and 43 (a) and (c) of the U.S . Trademark Act, also
   10   known as the Lanham Act, 1 5 U.S.C. § § 1 1 2 1 and 1 1 25 (a) and (c), and sections
   11   1 33 1 , 1 332, 1 33 8 (a) and 1 33 8 (b) of the Judicial Code, 28 U.S.C. § § 1 33 1 , 1 3 32,
   12   1 33 8 (a) and 1 3 3 8 (b), as well as under principles of supplemental jurisdiction, 1 8
   13   U.S.C. § 1 367.
   14          5.     V enue i s proper under 2 8 U.S.C. § 1 39 1 (b) in that, upon information
   15   and belief, a substantial part of the events giving rise to DC' s claims occurred or a
   16   substantial part of the properties that are the subject of these counterclaims are
   17   situated in this District and/or the Plaintiffs/Counterclaim Defendants may be
   18   found in this District.
   19                     FACTS COMMON TO ALL COUNTERCLAIMS

   20                                   Background And History

   21          6.     Upon information and belief, in or about 1 93 3 , Jerome Siegel
   22   ("Siegel") and his friend and co-creator, Joseph Shuster ("Shuster") collaborated
   23   on creating a number of stories, including a story entitled "The Reign of the
   24   Superman," which was published in a magazine put out by Siegel and Shuster
   25   themselves entitled "Science Fiction." Upon further information and belief, other
   26   than the same name, the "Superman" character in this story shared very little, if
   27   any, similarity with the character that would later become known as Superman.
   28



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       1           7.     Upon information and belief, in early 1 93 3 , Siegel and Shuster began
       2   collaborating on "comic strips," initially for syndication and eventually for
       3   publication in "comic books," a new and growing medium. Among their work
       4   together were a number of comic strips featuring a character they named
       5   Superman. This Superman character bore virtually no resemblance to the characte
       6   of the same name that had previously appeared in the "Science Fiction" magazine.
       7   Upon further information and belief, those works, which were never published,
       8   included: (a) twenty four (24) days of Superman comic strips intended for
       9   newspapers; (b) a seven page synopsis of the last eighteen days (weeks 2-4) of
   10      such strips; (c) a paragraph previewing Superman exploits; (d) a nine-page
   11      synopsis covering an additional two months of daily comic strips; and (e) fifteen
   12      daily comic strips (collectively the "Unpublished Superman Works").
   13              8.     Upon information and belief, between 1 93 3 and 1 937 Siegel and
   1       Shuster submitted the Unpublished Superman Works to a number of prospective
   15      publishers and newspaper syndicates, but the work was rej ected by them all.
   16              9.     Meanwhile, between 1 935 and 1 937, Siegel and Shuster created a
   17      number of comics strips that were published, including such titles as "Dr. Occult,"
   18      "Henri Duval," and "Spy."
   19              10.    On December 4 , 1 937, Siegel and Shuster entered into an "Agreement
   20      of Employment" (the "December 4, 1 93 7 Agreement") with Detective Comics,
   21      Inc. ("DCI"), a predecessor in interest to DC. Under the Agreement, Siegel and
   22      Shuster agreed to "give their exclusive services" in producing comic features
   23      entitled "Slam Bradley" and "The Spy" for a period of two years. Under the
   24      Agreement, Siegel and Shuster were required to submit any new comics to DCI
   25      first, which reserved the right to accept or reject the work for a period of sixty (60)
   26      days.
   27              1 1.   Early in 1 938, DCI was looking for materials for a new comic book it
   28      was intending to publish under the name "Action Comics." In that connection,



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    1   upon information and belief, DCI was provided with the twenty four (24) days of
   2    Superman comic strips from the Unpublished Superman Works for review. At the
    3   instance and expense of DCI and subject to its right to control, Siegel and Shuster
   4    cut and pasted the comic strips, and added certain additional material, to create a
    5   thirteen page comic book story which was accepted for publication by DCI .
    6          1 2.   In an agreement with DCI dated March 1 , 1 93 8 (the "M arch 1 , 1 93 8
    7   Agreement"), Siegel and Shuster, among other things, transferred to DCI "the strip
    8   entitled ' Superman' . . . all good will attached thereto and exclusive right to the use
    9   of the characters and story, continuity and title of strip . . . " and agreed not to
   10   employ Superman and other characters in the strip "by their names contained
   11   therein."
   12          13.    DCI advertised the publication of the new comic story Superman and
   13   the new title "Action Comics No. 1 " in others of its publications, including but not
   14   limited to, "More Fun Comics No. 3 1 ," "Detective Comics No. 1 5," and "New
   15   Adventure Comics No. 26," all of which are cover dated M ay 1 93 8 and, upon
   16   information and belief, were distributed in copies to the public on or before April
   17   1 , 1 93 8 . These advertisements (the "Superman Ads"), which depict the Superman
   18   character in his costume, exhibiting super-strength, show almost the entirety of
   19   what would become the cover of "Action Comics No. 1 ."
   20          14.    Upon information and belief, sometime prior to April 1 6, 1 938, but
   21   after the Superman Ads, DCI published the thirteen page Superman comic book
   22   comprising the first Superman story in "Action Comics No. 1 ," bearing the "cover"
   23   date June 1 93 8 (hereinafter "Action Comics No. I"). However, Action Comics
   24   No. 1 was not comprised entirely of the pre-existing Unpublished Superman
   25   Works. Rather, upon information and belief, in response to DCI ' s instruction that
   26   the Unpublished Superman Works be presented as a thirteen page comic book and
   27   subj ect to DCI 's right to control, Siegel and Shuster created additional materials to
   28   complete Action Comics No. 1 (the "Additional Action Comics No. 1 Materials").



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    1             15.    After the publication of Action Comics No. 1 , upon information and
    2   belief, Siegel and Shuster supplied further original Superman stories at DCI 's
    3   instance and expense and subject to its right to control. On September 22, 1 938,
    4   Siegel and Shuster entered into another employment agreement (the "DCI
    5   September 22, 1 93 8 Agreement"), confirming that Siegel and Shuster had "been
    6   doing the art work and continuity for said comics [including Superman comics] for
    7   us. We wish you to continue to do said work and hereby employ and retain you fo
    8   said purposes . . . . " The DCI September 22, 1 93 8 Agreement also contained an
    9   acknowledgement that DCI was the "exclusive" owner of Superman.
   1°             1 6.   Also on September 22, 1 938, Siegel and Shuster entered into an
   11   agreement with DCI and with the McClure Newspaper Syndicate (the "McClure
   12   September 22, 1 93 8 Agreement") concerning the use of Superman in newspaper
   13   strips.
   14             1 7.   All of Siegel and Shuster' s contributions to Superman comic books
   15   and comic strips published subsequent to Action Comics No. 1 as well as the
   16   Additional Action Comics No. 1 Materials, were made either under the DCI March
   17   1 , 1 93 8 Agreement, the DCI September 22, 1 93 8 Agreement, the McClure
   18   September 22, 1 93 8 Agreement, or contemporaneous oral agreements confirmed
   19   by one or more of these Agreements, or certain subsequent agreements affirming
   20   those agreements, as employees of DCI or its successors or at DCI ' s instance and
   21   expense and subject to DCI ' s right of control, with the result that the copyrights to
   22   all Superman materials created by them after preparation of materials included in
   23   Action Comics No. 1 and to the Additional Action Comics No. 1 Materials are
   24   owned exclusively by DC Comics as works made for hire under the then applicabl
   25   1 909 Copyright Act.
   26             1 8.   On November 3 0, 1 93 8, Siegel wrote to DCI (the "November 1938
   27   Letter") suggesting that it do a comic book named Superboy, "which would relate
   28   to the adventures of Superman as a youth." The November 30, 1 93 8 Letter does



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   1   not contain any discussion of plot, dialogue, appearance, or any other
   2   copyrightable material relating to Superboy. DCI decided not to publish a
   3   "Superboy" comic at that time.
   4          1 9.   In 1 93 9, among the Superman comics prepared by Siegel and Shuster
   5   at the instance and expense of DCI and subj ect to its right of control, was
   6   Superman No. 1 , with a cover date of Summer 1 93 9 . In Superman No. 1 , Clark
   7   Kent was depicted as a youth with super powers.
   8         20.     On December 1 9, 1 939, Siegel and Shuster entered into a new
   9   agreement with DCI (the "December 1 9, 1 93 9 Agreement"), which agreement
  10   modified the DCI September 22, 1 93 8 Agreement by, inter alia, doubling Siegel
  11   and Shuster's compensation for Superman comic books and newspaper strips. In
  12   addition, the December 1 9, 1 939 Agreement provided for payment for Siegel and
  13   Shuster for uses of Superman beyond comic books and newspaper strips, such as
  14   radio, motion pictures, and toys. Under the December 1 9, 1 93 9 Agreement, Siegel
  15   and Shuster again acknowledged DCI ' s sole ownership of Superman.
  16         21.     Upon information and belief, in approximately December 1940,
  17   Siegel, on behalf of himself and Joe Shuster, submitted to DCI a thirteen-page
  18   script of continuity for Superboy (the "Unpublished 1 940 Superboy Script"),
  19   renewing his suggestion to DCI that it publish a comic book about Superman as a
  20   youth. The December 1 940 Superboy Script, which sets forth a credit line of "By
  21   Jerry Siegel and Joe Shuster," states, in part, "[s]o many faithful followers of
  22   today's leading adventure comic strip, SUPERMAN, wrote in demanding the
  23   adventures of Clark Kent as a youth . . . And so here he is at last . . . the answer to
  24   your requests . . . America's outstanding boy hero: SUPERBOY!" The Unpublished
  25   1 940 Superboy Script goes on to say about Superboy that " [i]n later years he was
  26   to become the might [ sic] figure known as SUPERMAN!" Again, DCI decided
  27   not to publish a "Superboy" comic at that time.
  28



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       1         22.    Upon information and belief, on a date prior to November 1 8, 1 944,
       2   DCI published its first comic book containing the adventures of Superboy, who
       3   was Superman as a youth, in "More Fun Comics No. 1 0 1 " with a "cover" date of
       4   January-February 1 945 (hereinafter "More Fun Comics No. 1 0 1"). Upon
       5   information and belief, DCI employed Shuster or an artist from Shuster' s art studio
       6   (with Shuster's knowledge and under his supervision) to create the artwork and
       7   writer Don Cameron to write the Superboy story contained in "More Fun Comics
       8   No. 1 0 1 ." The Superboy story in "More Fun Comics No. 1 0 1 " bears little if any
       9   resemblance to anything contained in the Unpublished 1 940 Superboy Script, and
   10      such similarities as may exist are common to earlier Superman related material
   11      owned by DCI .
   12            23 .   In 1 947, Siegel and Shuster brought suit against, inter alia, DCI' s
   13      successor in interest, National Comics Publications, Inc. ("National") in the New
   1       York Supreme Court in Westchester County (the "Westchester Action"). The
   15      Westchester Action was, in part, the culmination of a dispute between Siegel and
   16      Shuster and National over what Siegel and Shuster claimed was DCI 's
   17      unauthorized publication of Superboy. In the Westchester Action, in addition to
   18      seeking redress in connection with Superboy, Siegel and Shuster sought to
   19      invalidate the March 1 , 1 938 Agreement, argued that the DCI September 22, 1 938
   20      Agreement was obtained by duress, and sought to recapture all rights in Superman.
   21            24.    On November 2 1 , 1 947, the Court in the Westchester Action issued a
   22      opinion (the "Westchester Opinion") after trial in which it found that the March 1 ,
   23      1 93 8 Agreement transferred to DCI all rights in Superman and that the DCI
   24      September 22, 1 93 8 Agreement was valid and not obtained under duress. The
   25      Court also held that in publishing Superboy, DCI had acted "illegally."
   26            25.    At the Court's request, the parties to the Westchester Action
   27      submitted proposed fact findings and conclusions of law. On April 1 2, 1 948, the
   28      Court adopted fact findings and conclusions of law and issued an interlocutory




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    1   judgment (collectively the "Westchester Action Interlocutory Judgment"). The
    2   defendants in the Westchester Action filed a notice of appeal, and the Westchester
    3   Action Interlocutory Judgment was stayed pending appeal.
    4         26.    Shortly thereafter, the parties to the Westchester Action entered into
    5   two separate agreements: (a) a stipulation dated May 1 9, 1 948 (the "May 1 9, 1 948
    6   Stipulation") and (b) a consent judgment dated May 2 1 , 1 948 (the "May 2 1 , 1 948
    7   Consent Agreement"). Under both documents, inter alia, Siegel and Shuster: (a)
    8   agreed to vacate the Westchester Action Interlocutory Judgment; (b) acknowledge
    9   that, pursuant to the March 1 , 1 93 8 Agreement, they transferred to DCI all rights in
   10   and to Superman, including "the title, names, characters, concept and formula" as
   11   set forth in Action Comics No. 1 ; (c) acknowledged National was sole and
   12   exclusive owner of Superman, the conception, idea, continuity, pictorial
   13   representation and formula thereof in all media; (d) agreed that they were enjoined
   14   from creating, publishing or distributing any Superman work or any imitation
   15   thereof, and from using the title Superman or title that contained the word "Super";
   16   (e) acknowledged that National was the sole owner of and owned exclusive rights
   17   in Superboy; (f) agreed that they were enjoined from creating, publishing or
   18   distributing Superboy or any imitation thereof; (g) agreed they were prohibited
   19   from representing their past connection with Superman and Superboy in such a
   20   way to confuse the public that such connection still existed; and (h) agreed they
   21   were prohibited from using any coloring, lettering or printing in referring to
   22   Superman or Superboy that was imitative of that used by National.
   23         27.    In the 1 960s, Siegel and Shuster again brought suit against National,
   24   this time in the United States District Court for the Southern District of New York
   25   for a declaration that they (and not National) owned the copyright in the renewal
   26   copyright term for Action Comics No. 1 . In a decision published in Siegel v.
   27   National Periodical Publications, Inc., 364 F. Supp. 1 032 (S.D.N.Y. 1 973), the
   28   district court held, inter alia, that the agreements between Siegel and Shuster on



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    1   the one hand and DCI (and later National) on the other, intended to assign all rights
    2   in Superman to DCI and National, including renewal copyright rights.
    3          28.    In a decision published in Siegel v. National Periodical Publications,
    4   Inc., 508 F.2d 909 (2d Cir. 1 974), the Court of Appeals affirmed that portion of the
    5   lower court' s ruling relating to National' s ownership of all rights in Superman.
    6   Siegel and Shuster did not further appeal the ruling.
    7          29.    On December 23, 1 975, Siegel and Shuster entered into an agreement
    8   with Warner Communications, Inc., then National' s parent company (the
    9   "December 23 , 1 975 Agreement"). Under this agreement, Siegel and Shuster
   10   again acknowledged that Warner Communications, Inc. was the sole and exclusive
   11   owner of "all right, title and interest in and to the ' Superman' concept, idea,
   12   continuity, pictorial representation, formula, characters, cartoons and comic strips,
   13   title, logo, copyrights and trademarks, including any and all renewals and
   14   extensions of such rights, in the United States and throughout the world, in any and
   15   all forms of publication, reproduction and presentation, whether now in existence
   16   or hereafter devised . . . ."
   17          30.    Under the December 23, 1 975 Agreement, Siegel and Shuster each
   18   were to and did receive throughout their lives annual payments as well as medical
   19   insurance coverage. Upon Siegel' s death, annual payments were to be made to
   20   Plaintiff/Counterclaim Defendant Joanne Siegel for the remainder of her life. The
   21   amount o f the annual payment pursuant to the December 23 , 1 975 Agreement was
   22   increased over the years. Since Siegel' s passing in 1 996, Joanne Siegel has
   23   continuously received and accepted annual payments and health insurance under
   24   that agreement.
   25                         DC Comics' Development And Licensing

   26                            Of Superman Works And Products

   27          31.    The initial graphic representations of the Superman character in 1 938,
   28   now stylistically dated, presented his adventures with a limited number of




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    1   characters in settings that had the look and feel of that particular period. From the
    2   portrayal of the Superman character in "Action Comics No. 1 ," we only know that
    3   he is an upright hero who was sent as an infant to Earth aboard a space ship from
    4   an unn amed distant planet destroyed by old age. Superman is also depicted as
    5   secretly possessed of extraordinary physical abilities, including superhuman
    6   strength and the ability to leap 1I8th of a mile, hurdle a twenty-story building and
    7   run faster than an express train. In his ordinary life, the character is depicted as a
    8   mild-mannered newspaper reporter for The Daily Star known as Clark Kent, and in
    9   his alter ego, Superman is a costumed heroic figure using his extraordinary
   10   physical abilities to fight against crime.
   11         32.    Since the publication of "Action Comics No. 1 ," DC Comics has
   12   authored, published and distributed several thousand other comic books containing
   13   the adventures of Superman throughout the United States and abroad in many
   14   millions of copies, adding more than 60 years worth o f material to further define,
   15   update and improve upon the Superman character and presenting an ongoing new
   16   flow of Superman exploits and characters resulting in the creation of an entire
   17   fictional Superman "universe."
   18          33.   In addition to the publication of new comic books containing the
   19   Superman comic strip character, DC Comics has over the last 6 6 years participated
   20   in the creation, development and licensing of numerous Superman live action and
   21   animated feature length motion pictures, motion picture serials, radio and
   22   television serials and live theatrical presentations. These works have also
   23   significantly contributed to the modernizing and evolution of the Superman
   24   character from his 1 93 8 appearance.
   25          34.   Over the years since Action Comics No. 1 , the presentations of
   26   Superman provided first by DCI and then DC Comics did not present a static
   27   depiction but an ever-evolving portrayal of Superman continuously, featuring new
   28   super powers, new villains, new components to the Superman universe, new




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       1   elements in the Superman back story, and changes in the appearance of Superman.
       2   Most notably, many of Superman's powers that are among his most famous today
       3   did not appear in Action Comics No. 1 but only appeared in l ater publications.
       4   These include: his ability to fly; his super-vision which enables him to see through
       5   walls ("X-ray" vision) and across great distances ("tel escopic" vision); his super-
       6   hearing which enables him to hear conversations at great distances; his
       7   invulnerability to injury which is most often shown as bullets bouncing off his
       8   chest and/or arms.
       9         35.    One notable part of the evolution of the appearance of the Superman
   10      character undertaken by DC Comics and its predecessors, has been the
   11      transformation of the emblem on the chest of Superman's costume. In Action
   12      Comics No. 1 , the emblem was comprised of a small yellow inverted triangle
   13      bearing the l etter "s" shown in yellow and sometimes in red (the "Action Comics
   1       No. 1 Crest"). Thereafter, in changing the appearance of Superman and his
   15      costume, DC Comics and/or its predecessors significantly changed the Action
   16      Comics No. 1 Crest. Bearing little if any resemblance to the original , it is now a
   17      large yellow five-sided shield, outlined in the color red, and bearing the letter "s"
   18      in the middl e, also in the color red (the "S in Shiel d Device"). The S in Shield
   19      Device, as transformed by DC Comics and its predecessors, has become a strong
   20      symbol , standing alone, of all goods and services relating to Superman and his sol e
   21      source, DC Comics and its predecessors.
   22             36.   At all relevant times, DC Comics, its predecessors in interest and
   23      licensees have duly complied with the provisions of the 1 976 Copyright Act and its
   24      1 909 predecessor statute with respect to securing copyright protection for the
   25      numerous works in which the Superman character has appeared and establishing
   26      DC Comics' copyright ownership thereof, including the original and all works
   27      based upon and derived therefrom, and have received from the Register of
   28




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    1   Copyrights, valid and subsisting certificates of copyright registration and renewal
    2   with respect thereto.
    3          37.    DC Comics and its predecessors have, since 1 938, continuously held
    4   themselves out as the exclusive owners of all rights under copyright in Superman.
    5          38.    DC Comics has over many decades adopted and made long,
    6   continuous and exclusive use of (a) the name and mark Superman and (b) certain
    7   key symbols and indicia of origin in connection with and to identify all authorized
    8   uses of the Superman character in print and all other media (sometimes hereinafter
    9   the "Superman symbols and indicia of origin"). The Superman name and mark
   10   and Superman symbols and indicia of origin include, inter alia, Superman's
   11   characteristic outfit, comprised of a full length blue leotard with red cape, a yellow
   12   belt, the S in Shield Device, as well as certain key identifying phrases. Most
   13   notable among the latter is "Look!. . . Up in the sky! . . .It's a bird! . . .It's a
   14   plane! . . .It's Superman!" first used in the introduction to the 1 940 radio program
   15   The Adventures of Superman, and thereafter continuously repeated in Superman
   16   television programming and various Superman publications. All of these
   17   Superman symbols and indicia of origin have been used on and in connection with
   18   a wide variety of publications and licensed goods and services, as they have been
   19   added to the Superman character and mythology under DC Comics' and/or its
   20   predecessors' supervision and direction, but, in any event, for the earliest symbols,
   21   since as early as 1 93 8 .
   22          39.     As a result of the above-described continuous and exclusive use by
   23   DC Comics of the Superman name and mark, as well as the Superman symbols an
   24   indicia of origin for over sixty years, the names, marks and symbols and the
   25   appearance of the Superman character have become famous and the public has
   26   come to recognize that all publications, entertainment and products featuring
   27   Superman or bearing such marks all come from the same source, namely, DC
   28



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    1   Comics, and that DC Comics is the exclusive source of the Superman character
    2   and all uses of the character on and in connection with any goods and services.
    3           40.     DC Comics owns dozens of federal trademark registrations for
    4   Superman related indicia across a broad array of goods and services. Those
    5   registrations include, but are not limited to the following for the following marks:
    6   (a) SUPERMAN (in block letters) Reg. Nos. 2,4 1 9,5 1 0, 2,204, 1 95 , 1 ,278,1 77,
    7   1 ,22 1 ,7 1 8, 1 ,209,668, 1 , 1 75,907, 1 , 1 83 ,84 1 , 1 ,248,822, 1 ,2 1 6,976, 1 , 1 86,803,
    8   1 , 1 89,393, 1 , 1 80,068, 1 , 1 84,822, 1 , 1 8 1 ,5 36, 1 , 1 82,947, 1 ,070,290; (b)
    9   SUPERMAN (in the well-known "telescopic" lettering) Reg. Nos. 2,226,026,
   10   1 ,278, 1 75 , 1 ,200,394, 1 , 1 85 ,526, 1 , 1 85,853, 1 ,209,863, 1 ,220,896, 1 , 1 83,809,
   11   1 , 1 82,226, 1 , 1 8 1 ,537, 1 , 1 89,3 55, 1 ,2 1 8,552, 1 , 1 08,577, 3 9 1 ,82 1 , 3 7 1 ,803; (c) the
   12   " S in Shield" Device (either alone or as part o f a rendering of Superman)
   13   2,2 1 1 ,378, 2,226,4 1 5 , 1 ,262,572, 1 , 1 79,537, 1 , 1 97,8 1 4, 1 ,200,387, 1 ,200,233 ,
   14   1 ,209,743, 1 ,20 1 , 1 67, 1 ,20 1 , 1 49, 1 ,229,32 1 , 1 , 1 99,690, 1 , 1 99,552, 1 , 1 99,630,
   15   1 , 1 84,88 1 , 1 , 1 82, 1 72, 1 , 1 89,376, 1 , 1 80,292, 1 , 1 78,048, 1 , 1 82,04 1 , 1 , 1 73 , 1 50,
   16   1 , 1 40,4 1 8, 1 ,235,769, 4 1 1 ,87 1; (d) SUPERMAN RIDE OF STEEL Reg. No.
   17   2,485 ,624; (e) MAN OF STEEL Reg. Nos. 2,226,436, 1 ,433,864; (0 SUPERBOY
   18   Reg. Nos. 394,923 (telescopic lettering), 1 ,22 1 ,7 1 9 (block letters); (g)
   19   SUPERGIRL (stylized and in block letters) Reg. Nos. 987,395, 4 1 4,623 ,
   20   1 ,23 8,334; (h) SUPERWOMAN (in telescopic lettering) Reg. No. 394,922; (i)
   21   SMALLVILLE Reg. Nos. 2,626,700, 2,809,352, 2,768,2 1 3 , 2,765,7 1 1 , 2,882,88 1;
   22   (j) KRYPTONITE Reg. Nos. 2,656, 1 ,239,506; (k) KRYPTO Reg. No. 1 , 1 68,306;
   23   (1) LOOK, UP IN THE SKY, IT'S A BIRD, IT' S A PLANE Reg. No. 1 ,527,3 04;
   24   (m) LEX LUTHOR Reg. Nos. 2,802,600, 1 ,634,007; (n) LOIS LANE Reg. No.
   25   1 , 1 84,702; (0) PERRY WHITE Reg. No. 1 , 1 84,703; (P) JIMMY OLSEN Reg. No.
   26   1 , 1 90,637; (q) LOIS AND CLARK Reg. No. 1 ,990,23 1; and (r) ACTION
   27   COMICS (stylized) 360,765 (collectively with the SUPERMAN symbols and
   28   indicia of origin, the "Superman Marks").




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    1          41.   These registrations alone suffice to show the unusual breadth and
    2   scope of the use of such marks related to Superman by DC Comics or its licensees
    3   on or in connection with a broad range of goods and services, all of which have
    4   come to be seen over six decades by countless consumers as indicating an
    5   exclusive authorization or sponsorship thereof by plaintiff DC Comics, the
    6   publisher and source of all Superman comic books and other Superman
    7   productions and products.
    8                         The Superman Notices Of Termination

    9          42.   On April 8, 1 997, DC Comics received from Plaintiffs' Counterclaim
   10   Defendants Joanne Siegel and Laura Siegel Larson, through their then-counsel,
   11   Finnegan, Henderson, Farabow, Garrett & Dunner, seven documents entitled
   12   Notice of Termination of Transfer Covering Extended Renewal. Those documents
   13   purport, under 1 7 U.S.C. § 3 04 (c), to terminate, effective April 1 6, 1 999, the
   14   Siegels' share in the following grants of copyright: (a) the December 4, 1 937
   15   Agreement; (b) the March 1 , 1 938 Agreement; (c) the DCI September 22, 1 938
   16   Agreement; (d) the McClure September 22, 1 93 8 Agreement; (e) the December 1 9,
   17   1 939 Agreement; (f) the May 1 9, 1 948 Stipulation; (g) the December 23, 1 975
   18   Agreement (collectively the "Superman Notices"). However, the Siegels served no
   19   notice terminating their share of the copyright grant in the May 2 1 , 1 948 Consent
   20   Agreement.
   21          43.   The Superman Notices purport to terminate the Siegels' share of the
   22   above grants listed therein in the Unpublished Superman Works, Action Comics
   23   No. 1 , and in excess of 1 5,000 additional works (the "Post-Action Comics No. 1
   24   Works"). However, in none of the seven Superman Notices, or anywhere else, do
   25   the Siegels purport to terminate their share of any copyright grant in the Superman
   26   Ads.
   27          44.    In the Superman Notices, the Siegels expressly recognize and
   28   acknowledge that the character Superboy is a derivative work based on Superman.



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       1   The Superman Notices expressly identify Superboy as part of the Superman
       2   "family" of characters in which the Siegels are purporting to terminate their grants.
       3   Indeed, the more than 1 5 ,000 works listed in the Superman Notices include
       4   hundreds of publications and other works that feature only Superboy (as opposed
       5   to Superman), and also Superman No. 1 with a cover date of Summer 1 939, in
       6   which Superman is depicted as a youth.
       7         45 .   In late November, 1 998, DC Comics received from Plaintiffs/
       8   Counterclaim Defendants Joanne Siegel and Laura Siegel Larson, through their
       9   then-counsel, Finnegan, Henderson, Farabow, Garrett & Dunner, four documents
   10      entitled Notice of Termination of Transfer Covering Extended Renewal. Those
   11      documents purport to terminate, effective November 27, 2000, the Siegels' share i
   12      the following grants of copyright relating to the character known as "The Spectre" :
   13      (a) the December 4, 1 937 Agreement; (b) a September 22, 1 93 8 Agreement; (c)
   1       and October 1 0, 1 939 Agreement and (d) a second October 1 0, 1 939 Agreement
   15      (collectively the "Spectre Notices").
   16            46.    The Spectre Notices purport to terminate the Siegels' share of the
   17      above grants in: (a) the Spectre character appearing in costume in an ad in issue
   18      No. 5 1 of "More Fun Comics" with a cover date of January 1 940; (b) the first
   19      Spectre comic book story published in issue No. 5 2 of "More Fun Comics" with a
   20      cover date of February 1 940; (c) part 2 of the first Spectre comic book story
   21      published in issue No. 5 3 of "More Fun Comics" with a cover date of March 1 940,
   22      and hundreds of additional works listed the Spectre Notices (collectively the
   23      "Spectre Works").
   24                                   The Parties' Negotiations

   25                                And The Agreement Reached

   26            47.    On April 1 7, 1 997, less than ten days after DC Comics received the
   27      Superman Notices, its counsel wrote to the Siegels' counsel inviting negotiation.
   28      The Siegels requested that DC Comics make an initial settlement proposal. But




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    1   prior to making such proposal, DC Comics requested that the parties enter into a
    2   confidentiality agreement. Frustrated by the Siegels' delay in responding to its
    3   proposed form confidentiality agreement, on November 5, 1 997, DC Comics'
    4   counsel wrote the Siegels' counsel and stated, inter alia, " [a]s we had advised you
    5   in the past, our client has elected, for settlement purposes only, not to respond to
    6   the [Superman Notices] served upon them by challenging their validity or scope at
    7   this time." (Emphasis added.)
    8         48.       On December 1 7, 1 997, DC Comics and the Siegels finally entered
    9   into a confidentiality agreement. On December 1 8, 1 997, DC Comics forwarded
   10   its first substantive proposal with respect to the copyrights at issue, and in
   11   connection therewith also raised certain defects in the termination notice, stating
   12   "that there is a substantial legal issue as to the effectiveness of your clients'
   13   termination of DC' s interest in the Superman Comic." For more than six months,
   14   despite repeated requests for feedback, DC Comics heard no response to its
   15   December 1 8, 1 997 proposal. Finally, on June 1 9, 1 998, the Siegels' counsel sent
   16   a letter to DC Comics' counsel that did not respond to the proposal but only
   17   requested more information.
   18         49.       On July 23, 1 998, DC Comics provided the Siege1s with the answers
   19   to the questions posed in their counsel's letter of June 1 9, 1 998. Despite requests
   20   for feedback for another several months, DC Comics again received no response to
   21   its proposal.
   22          50.      Having heard no response from the Siegels, on April 1 5, 1 999, one
   23   day before the purported "Effective Date" set forth in the Superman Notices, DC
   24   Comics provided a more comprehensive written notice to Plaintiffs/Counterclaim
   25   Defendants Joanne Siegel and Laura Siegel Larson detailing, among other things,
   26   the reasons it considered the Superman Notices to be invalid.
   27          51.      On April 30, 1 999, DC Comics received a letter from the firm of
   28   Gang, Tyre, Ramer & Brown, Inc. ("G ang, Tyre") indicating it now represented




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    1   the Siegels in negotiations with DC Comics. Thereafter, the parties engaged in
    2   extensive negotiations with their respective lawyers attending meetings in
    3   California and New York, and exchanging proposals. During that time period, at
    4   the Siegels' request, DC Comics provided a payment of $250,000 (the "Advance
    5   Payment") to the Siegels which payment was agreed to be an advance against any
    6   future sums provided under an agreement to be entered into between the parties.
    7         52.    On October 1 6, 200 1 , a legal representative for DC Comics made an
    8   offer to the Siegels through Gang, Tyre by telephone. On October 1 9, 200 1 , Kevin
    9   Marks of Gang, Tyre, on behalf of the Siegels, accepted the October 1 6, 200 1
   10   offer. That day, Mr. Marks wrote a letter confirming that the Siegels had
   11   "accepted D.C. Comics offer of October 1 6, 200 1 " and outlined all of the material
   12   terms in detail. Those terms included, inter alia, that the Siegels transferred all of
   13   their rights in the Superman property (which was defined in the letter as Superman ,
   14   Superboy and related properties including but not limited to Supergirl, Steel, Lois
   15   & Clark, and Smallville) and in "The Spectre."    In exchange, the Siegels were to
   16   receive: (a) a sizeable non-returnable advance; (b) a sizeable non-recoupable and
   17   non-returnable signing bonus; (c) "forgiveness" of the Advance Payment; (d)
   18   significant guaranteed minimum payments as advances against royalties; and (e)
   19   percentage royalties from DC Comics' exploitations of Superman across all media,
   20   worldwide.
   21         53.    By return letter of October 26, 200 1 , DC Comics' representative
   22   wrote back providing a "more fulsome outline" of the agreed upon points. Neither
   23   the Siegels nor any of their representatives in any way disputed the October 26,
   24   200 1 confirmatory outline from DC Comics. On February 1 , 2002, DC Comics
   25   forwarded a draft of a more formal written agreement memorializing the terms
   26   agreed to in the October 1 9 and 26, 200 1 correspondence.
   27          54.   On May 9, 2002, Plaintiff/Counterclaim Defendant Joanne Siegel
   28   wrote a letter to the Co-Chief Operating Officer of DC Comics' parent company




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   1   acknowledging that the Siegels had accepted DC Comics' proposal of October 1 6,
   2   2002, but purporting to object to unspecified provisions of the formal written
   3   agreement. To this day, the Siegels have not identified a single provision of the
   4   February 1 , 2002 formal draft that was inconsistent with the provisions in the
   5   Siegels' October 1 9, 200 1 acceptance of DC Comics' proposal.
   6          55.   On September 30, 2002, however, DC Comics received a letter from
   7   the Siegels stating they were breaking off all discussions with DC Comics and
   8   impliedly and purportedly repudiating the agreement already reached by the
   9   parties.
  10                          The Superboy Termination Notices

  11          56.   Notwithstanding the fact that the Siegels had already purported to
  12   terminate grants with respect to the Superboy character effective April 1 6, 1 999,
  13   on November 8 , 2002, the Siegels mailed to DC Comics another Notice of
  14   Termination o f Transfer purporting to relate solely to Superboy (the "Superboy
  15   Notice"). The Superboy Notice purports to terminate, effective November 1 7 ,
  16   2004, only two grants of copyright: (a) the May 1 9, 1 948 Stipulation and (b) the
  17   December 23, 1 975 Agreement, and identifies many of the same works identified
  18   in the Superman Notices. As was the case with the Superman Notices, the Siegels
  19   served no notice terminating the copyright grant in the May 2 1 , 1 948 Consent
  20   Agreement.
  21          57.   The Superboy Notice purports to terminate the above grants regarding
  22   the following works: (a) the unpublished November 3 0, 1 93 8 Letter; (b) the
  23   unpublished 1 940 Superboy Script; (c) More Fun Comics No. 1 0 1 ; and (d)
  24   approximately 1 ,600 additional titles. However, the Superboy Notice lists and
  25   purports to terminate grants of rights under copyright relating to hundreds of the
  26   same works already purportedly terminated by the earlier Superman Notices. The
  27   Superboy Notice does not purport to terminate the 1 93 9 depiction of Superman as
  28   a youth in Superman No. 1 .



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       1         58.      In the Superboy Notice, the Siegels make the claim that Superboy is a
    2      "separate and distinct copyrighted work and character from the copyrighted work
    3      and character Superman." This contention is erroneous.
    4            59.      In the Superboy Notices, the Siegels also claim that Jerome Siegel
    5      was the sole author of Superboy. This contention is also erroneous.
    6            60.      Among the works listed in the Superboy Notice that the Siegels claim
    7      are terminated by such notice of termination (as well as by the Superman Notices),
    8      is the WB television series entitled "Smallville." "Small ville" is a modem, teen-
    9      oriented drama about the life and relationships of Clark Kent and his circle of
   10      friends during Clark's high school years; it features numerous characters not
   11      created or developed by Siegel and story lines wholly original to the series.
   12            61.      On June 1 7, 2004, talent agent Ari Emanuel, representing the Siegels,
   13      sent a letter to DC Comics' licensee and affiliated company, Warner Bros., stating,
   14      inter alia, that as of the effective date of the Superboy Notice, November 1 7, 2004,
   15      DC Comics and its licensees would be cut off from making any further episodes of
   16      "Smallville"
   17            62.      On August 4, 2004, the Siegels' new counsel and attorney of record in
   18      this case, Marc Toberoff, contacted Warner Bros. and reiterated the Siegels'
   19      position that, as of November 1 7, 2004, DC Comics and its licensees would be cut
   20      off from making any further episodes of "Smallville."
   21            63 .     On August 27, 2004, DC Comics' counsel herein, Fross Zelnick
   2       Lehrman & Zissu, P.C., sent a letter to the Siegels' counsel rejecting the
   23      interpretation of the effect of the Superboy Notice and unequivocally informing the
   24      Siegels that DC Comics and its licensees would proceed with their planned
   25      production, copying, distribution, and exploitation of new episodes of "Smallville."
   26
   27
   28




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    1                        The Siegels' Filing Of Two Related Cases

    2         64.    On October 8, 2004, the Siege1s filed the instant action and on
    3   October 22, 2004, they filed a second action, Civil Case No. 04-08776, which case
    4   was assigned to Judge Lew in this Court.
    5           FIRST COUNTERCLAIM FOR DECLARATION THAT THE

    6           SUPERMAN NOTICES AND THE SUPERBOY NOTICE ARE

    7                                     INEFFECTIVE

    8         65 .   DC Comics repeats and realleges paragraphs 1 - 64 above as if fully
    9   set forth herein.
   10         66.    DC Comics contends that the Superman Notices andlor the Superboy
   11   Notice are ineffective, inter alia, for any or all of the following five independent
   12   reasons:
   13        #1 The May 2 1 , 1 948 Consent Agreement Has Not Been Terminated

   14         67.     The May 2 1 , 1 948 Consent Agreement is a written agreement entered
   15   into by Jerome Siegel and Joseph Shuster with DC Comics' predecessor in interest
   16   and includes a grant of all rights in Superman and Superboy by Siegel and Shuster
   17   to DC Comics' predecessor in interest, including all rights under copyright therein.
   18          68.    As a result of the Siegels' failure to send a Notice of Termination with
   19   respect to the May 2 1 , 1 948 Consent Agreement, the grant contained therein to all
   20   copyrights related to Superman remains in full force and effect. Thus, DC Comics
   21   is and continues to be the sole owner of all rights of any kind, including rights
   22   under copyright, in Superman (including its derivative work Superboy) pursuant to
   23   the May 2 1 , 1 948 Consent Agreement.
   24                          #2 The December 23, 1 975 Agreement

   25          69.    Through both the Superman Notices and the Superboy Notice, the
   26   Siegels purport to terminate their share of the grant of copyright in Superman and
   27   Superboy contained in the December 23, 1 975 Agreement.
   28



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    1         70.    By letter dated April 1 5 , 1 999, the day before the Superman Notice
    2   purported to become effective, DC Comics rejected the scope and validity of the
    3   Superman Notices, including but not limited to, that Superman Notice purporting
    4   to terminate the grant in the December 23, 1 975 Agreement.
    5         71.    By letter dated August 29, 2004, DC Comics rej ected the scope and
    6   validity of the Superboy Notice, including but not limited to the Siegels' claim that
    7   such notice terminated the December 23, 1 975 Agreement.
    8         72.    Notwithstanding the Siegels having, by virtue of the Superman
    9   Notices, purportedly terminated the grant of copyright contained in the December
   10   23 , 1 975 Agreement, and with full knowledge of DC Comics' rejection of the
   11   Superman Notice, after Apri1 1 6, 1 999, the purported effective date of such notices
   12   of termination, DC Comics continued to perform under the December 23, 1 975
   13   Agreement and Plaintiff/Counterclaim Defendant Joanne Siegel continued to
   14   accept the benefits under that agreement. DC Comics has relied upon Joanne
   15   Siegel' s continued acceptance of benefits under the December 23 , 1 975 Agreement
   16   and has continued to perform under that Agreement without accounting to the
   17   Siegels and without making any other change in the manner in which it has
   18   exploited Superman.
   19         73 .   Notwithstanding the Siegels having, by virtue of the Superboy Notice,
   20   purportedly terminated the grant of copyright contained in the December 23, 1 975
   21   Agreement, and with full knowledge of DC Comics' August 29, 2004 rejection of
   22   the notice of termination, DC Comics has continued to perform under the
   23   December 23, 1 975 Agreement. DC Comics has relied upon Joanne Siegel's
   24   continued acceptance of benefits under the December 23, 1 975 Agreement and has
   25   continued to perform under that Agreement without accounting to the Siegels and
   26   without making any other change in the manner in which it has exploited
   27   Superboy.
   28




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    1         74.    Because of DC Comics' continued performance under the December
    2   23, 1 975 Agreement and Plaintiff/Counterclaim Defendant Joanne Siegel's
    3   continued acceptance of the benefits of such agreement after she purportedly
    4   terminated it in both the Superman Notices and the Superboy Notice, the
    5   December 23 , 1 975 Agreement, and the grant of copyright therein, remains in full
    6   force and effect.
    7         75.    Thus, DC Comics is and continues to be the sole owner of all rights 0
    8   any kind, including rights under copyright, in Superman (and its derivative work
    9   Superboy), rendering the Superman Notices and the Superboy Notice ineffective.
   10                          #3 The Unpublished Superboy Works

   11         76.    In the Superboy Notice, the Siegels purport to terminate copyright
   12   grants of rights in the November 1 938 Letter and the Unpublished 1 940 Superboy
   13   Script and approximately 1 ,600 additional published titles purportedly relating to
   14   Superboy (the "Published Superboy Works").
   15         77.    Upon information and belief, as of January 1 , 1 978, both the
   16   November 1 93 8 Letter and the Unpublished 1 940 Superboy Script (the "Siegel
   17   Superboy Proposals") remained unpublished and thus were neither in their first nor
   18   their second term of copyright as of that date.
   19         78.    Copyright in the Published Superboy Works is owned exclusively by
   20   DC Comics by virtue of their having been prepared as works made for hire for DC
   21   Comics' and/or its predecessors, or by virtue of other copyright grants that remain
   22   in full force and effect.
   23          79.   Pursuant to the requirements set forth by section 304 (c) of the 1 976
   24   Copyright Act, 1 7 U.S.C. § 304 (c), only copyright grants in works that were in
   25   their first or second term of copyright as of January 1 , 1 978, could be terminated
   26   under that provision. As a result, the Superboy Notice is ineffective as to the
   27   Siegel Superboy Proposals or any portion of any derivative works containing any
   28




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    1   copyrightable material therefrom and DC Comics remains the sole owner thereof.
    2   Therefore, the Superboy Notice is ineffective.
    3                       #4 Siegel Owned No Copyright In Superboy

    4          80.    The Siegel Superboy Proposals are derivative works based upon the
    5   pre-existing copyrighted Superman character and stories owned by DC Comics'
    6   predecessors.
    7          81.    Upon information and belief, Siegel, in collaboration with Shuster,
    8   prepared the Siegel Superboy Proposals without the prior kn owledge or consent of
    9   DC Comics' predecessors.
   10          82.    Upon further information and belief, Siegel developed the contents of
   11   the Siegel Superboy Proposals within the scope of his employment contracts with
   12   DC Comics' predecessors and/or at their instance and expense and subject to their
   13   right to control.
   14          83.    As a result o f the foregoing, the Siegel Superboy Proposals were
   15   derivative works based upon Superman, prepared without the authorization of the
   16   copyright owner, and/or were works made for hire, owned ab initio by the
   17   copyright owner in Superman.
   18          84.    Whether the Siegel Superboy Proposals were derivative works
   19   prepared without the prior authorization of the copyright owner, or were works
   20   made for hire, Siegel could not and did not own any copyright interest therein that
   21   would be subject to copyright termination pursuant to 1 7 U.S.C. § 304 (c). Thus,
   22   the Superboy Notice is ineffective.
   23                   #5 The Superman Notices Were Not Timely Served

   24          85.    Upon information and belief, DC Comics' predecessor in interest first
   25   secured copyright in Action Comics No. 1 by publication with copyright notice
   26   prior to April 1 6, 1 938.
   27          86.    All grants made by Siegel and Shuster or rights in Action Comics No.
   28   I are still in effect, and all rights under copyright granted therein are still owned




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    1   exclusively by DC Comics, because the Superman Notices served by the Siegels
    2   are ineffective for failure to comply with the legal requirements therefore
    3   prescribed by section 3 04 (c) of the U.S. Copyright Act of 1 976, 1 7 U.S.C. § 304
    4   (c), in that: the "Effective date" of the Superman Notices, namely April 1 6, 1 999,
    5   was too late to fall within the required period specified in 1 7 U.S.C. § 304 (c) (3)
    6   and such notices of termination were served less than two years before the
    7   allowable effective date in violation of 1 7 U.S.C. § 3 04 (c) (4) (A).
    8         87.    On information and belief, plaintiffs deny DC Comics' contentions
    9   and/or the legal effect ascribed thereto as set forth in paragraphs 65 - 86 above.
   10   Accordingly, an actual controversy has arisen and now exists between
   11   Plaintiffs/Counterclaim Defendants and DC Comics concerning the above issues.
   12         88.    A justiciable controversy exists concerning the above issues and a
   13   judicial declaration is necessary and appropriate to determine the parties'
   14   respective rights with regard thereto.
   15                 SECOND ALTERNATIVE COUNTERCLAIM FOR

   16          DECLARATION THAT ANY CLAIM BY THE SIEGELS FOR

   17      CO-OWNERSHIP OF SUPERMAN (INCLUDING ITS DERIVATIVE

   18        SUPERBOy) IS BARRED BY THE STATUTE OF LIMITATIONS

   19          89.   DC Comics repeats and realleges paragraphs 1 - 8 8 above as if fully
   20   set forth herein.
   21          90.    Since as early as 1 998, Plaintiffs/Counterclaim Defendants were on
   22   notice of DC Comics' position that the Superman Notices contained legal defects.
   23   Moreover, effective at least as early as April 1 5, 1 999, Plaintiffs/Counterclaim
   24   Defendants were on notice that DC Comics rejected the Superman Notices and
   25   asserted exclusive ownership of all copyright in Superman.
   26          91.    Since April 1 6, 1 999, the purported effective date of the Superman
   27   Notices, Plaintiffs/Counterclaim Defendants have been deprived of the benefits of
   28   their purported co-ownership of copyright in Action Comics No. 1 .



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    1         92.    In response to DC Comics' above actions and assertion and such
    2   deprivation to the Siegels of the benefits of their alleged copyright co-ownership,
    3   Plaintiffs/Counterclaim Defendants took no action until filing the instant action on
    4   October 8, 2004, more than six years after DC Comics advised
    5   Plaintiffs/Counterclaim Defendants in writing of defects in the Superman Notices
    6   and more than five years after being placed on notice by DC Comics of its claim 0
    7   exclusive ownership of copyright in Superman and that it rejected and repudiated
    8   the Superman Notices and during which time period the Siegels were deprived of
    9   benefits to which they claim they are entitled.
   10         93 .   Because Plaintiffs/Counterclaim Defendants' claim of partial
   11   ownership of copyright accrued more than three years prior to
   12   Plaintiffs/Counterclaim Defendants bringing the instant action, even taking into
   13   consideration any purported agreements to toll the statute of limi tations, any claim
   14   of ownership o f copyright in Superman by Plaintiffs/Counterclaim Defendants is
   15   barred by the three-year statute of limitations of the Copyright Act.
   16         94.    On information and belief, plaintiffs deny DC Comics' contentions
   17   and/or the legal effect ascribed thereto as set forth in paragraphs 8 9 - 94 above.
   18   Accordingly, an actual controversy has arisen and now exists between
   19   Plaintiffs/Counterclaim Defendants and DC Comics concerning the above issues.
   20         95 .   A justiciable controversy exists concerning the above issues and a
   21   judicial declaration i s necessary and appropriate to determine the parties'
   22   respective rights with regard thereto.
   23       THIRD ALTERNATIVE COUNTERCLAIM FOR ENFORCEMENT

   24          OF SETTLEMENT AGREEMENT BETWEEN THE PARTIES

   25         96.    DC Comics repeats and realleges paragraphs 1 - 95 above as if fully
   26   set forth herein.
   27
   28




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    1         97.    In the event the Superman Notices and/or the Superboy Notice are
    2   deemed effective, DC Comics asserts this alternative counterclaim for enforcement
    3   of the settlement agreement between the parties.
    4         98.    On October 1 6, 200 1 , DC Comics made an offer to settle the issues
    5   between the parties, which the Siegels, through their lawyers and authorized
    6   representative, Gang, Tyre, accepted by telephone and again in writing on October
    7   1 9, 200 1 . The terms accepted by the Siegels included all necessary material terms,
    8   including, inter alia, that the Siegels transferred to DC Comics and/or divested
    9   themselves of all of their claimed rights in the Superman property (which was
   10   defined in the letter as Superman, Superboy and related properties including but
   11   not limited Supergirl, Steel, Lois & Clark, and Smallville) and in a property called
   12   "The Spectre." In exchange, the Siegels were to receive: (a) a non-returnable
   13   advance; (b) a non-recoupable and non-returnable signing bonus; (c) "forgiveness"
   14   of the Advance Payment; (d) guaranteed minimum payments as advances against
   15   royalties; and (e) percentage royalties from DC Comics' exploitations of Superman
   16   across all media, worldwide.
   17         99.    Regardless of whether the Superman Notices and the Superboy Notice
   18   are valid and effective, DC Comics' offer and the Siegels' acceptance of such offer
   19   on October 1 9, 200 1 letter represent an enforceable agreement, inter alia, settling
   20   all claims between the parties relating to the Superman Notices and the Superboy
   21   Notice.
   22          1 00. The Siegels' purported repudiation of the agreement was a material
   23   breach of such agreement.
   24      FOURTH ALTERNATIVE COUNTERCLAIM FOR DECLARATION

   25             OF LIMITATIONS ON THE SCOPE OF THE SUPERMAN

   26                       NOTICES AND THE SUPERBOY NOTICE

   27          1 0 1 . DC Comics repeats and realleges paragraphs 1 - 1 00 above as if fully
   28   set forth herein.



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       1         1 02. In the event the Superman Notices and/or the Superboy Notice are
       2   deemed effective and the settlement agreement between the parties is not enforced,
       3   DC Comics asserts the following alternative counterclaim for a declaration limiting
       4   the scope and reach of the Superman Notices and the Superboy Notice in six
       5   separate and independent ways.
       6         1 03 . DC Comics contends that:
       7                                 #1 The Superman Ads

       8         1 04. The regulations governing the contents of notices of termination
       9   promulgated by the U.S. Copyright Office under authority of the 1 976 Copyright
   10      Act require, in relevant part, that a notice of termination served pursuant to section
   11      304 (c) of the 1 976 Copyright Act name "each work to which the notice of
   12      termination applies."
   13            1 05 . Upon information and belief, all of the Superman Ads first secured
   1       copyright protection by publication with copyright notice prior to April 1 6, 1 93 8
   15      and prior to publication of Action Comics No. 1 .
   16             1 06. The Superman Ads contain and show the appearance of Superman, his
   17      costume, and his super-strength.
   18             1 07 . The grants made by Siegel and Shuster as to the appearance of
   19      Superman, his costume, and his super-strength, are still in effect, and all rights
   20      under copyright granted therein are still owned exclusively by DC Comics,
   21      because the Superman Notices served by the Siegels do not list the works in which
   22      the Superman Ads were first published.
   23             1 08. Thus, DC Comics is the exclusive owner of all copyright in and to the
   24      Superman Ads and thereby retains exclusive ownership of copyright in the
   25      appearance of Superman therein, including but not limited to, the appearance of the
   26      Superman costume.
   27
   28




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    1               #2 Use Of Superman And Superboy Derivative Works

   2               Prepared Prior To The Purported Effective Dates Of The

   3                      Superman Notices And The Superboy Notice

   4          1 09. The Superman Notices purport to terminate the Siegels' share in the
    5   copyright grant of Jerome Siegel in all Superman-related works thereafter derived
   6    from Action Comics No. 1 , including but not limited to the more than 1 5 ,000
    7   Superman related works (in addition to Action Comics No. 1 ) listed in the
    8   Superman Notices (the "Superman Derivative Works"). Included among the
    9   Superman Derivative Works is the image of the "S in Shield Device" that has
  10    become a strong trademark of Superman and his single source, DC Comics.
   11         1 1 0. The Superboy Notice purports to terminate the Siegels' share in the
   12   copyright grant o f Jerome Siegel in the approximately 1 ,600 of the Published
   13   Superboy Works.
   14         I l l . The Superman Derivative Works and the Published Superboy Works
   15   are all based upon pre-existing works and were prepared under the authority of the
   16   grants of copyright entered into by Siegel and Shuster to DC Comics andlor its
   17   predecessors.
   18         1 1 2 . Regardless of whether the Superman Notices and the Superboy Notice
   19   are legally effective, under the Copyright Act, 1 7 U.S.C. § 3 04 (c)(6)(A), DC
  20    Comics retains the right to make use of the Superman Derivative Works and the
  21    Superboy Published Works under the terms of the original grants under which they
  22    were prepared without any duty to account to the Siegels for any such use.
  23                 #3 DC Comics Owns All Superman Derivative Works

  24          1 1 3 . All copyright rights in any of the works listed in the Superman
  25    Notices, or any other derivative works based upon and that post-date Action
   26   Comics No. 1 (the "Post Action Comics No. 1 Works") are owned exclusively by
   27   DC Comics. DC Comics' ownership of such copyrights is not subject to
   28   termination pursuant to the Copyright Act.



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       1          1 1 4. The Post Action Comics No. 1 Works contain many copyrightable
       2   elements not present in Action Comics No. 1 (the "Post Action Comics No. 1
       3   Elements"). These include, but are not limited to, new super powers, new villains,
       4   new components to the Superman universe, new elements in the Superman back
       5   story, and changes in the appearance of Superman. Notably, many of Superman' s
       6   powers that are among his most famous today did not appear in Action Comics No.
       7   1 but only appeared later in the Post Action Comics No. 1 Works.
       8          1 1 5 . Regardless of whether the Superman Notices and the Superboy Notice
       9   are valid and effective, DC Comics remains the sole owner of the Post Action
   10      Comics No. 1 Works and in the Post Action Comics No. 1 Elements. Moreover,
   11      the Siegels can make no use of the Post Action Comics No. 1 Elements.
   12                  #4 Superboy Is A Derivative Work Based On Superman

   13             1 1 6. In the November 1 938, Letter suggesting the idea for a Superboy
   1       comic strip, Siegel stated such comic "would relate to the adventures of Superman
   15      as a youth." In the Unpublished 1 940 Superboy Script, Siegel wrote "[s]o many
   16      faithful followers of today's leading adventure comic strip, SUPERMAN, wrote in
   17      demanding the adventures of Clark Kent as a youth . . . And so here he is at
   18      last . . . the answer to your requests . . . America' s outstanding boy hero:
   19      SUPERBOY!"
   20             1 1 7 . As demonstrated by the foregoing, the Siegel Superboy Proposals
   21      were based upon the pre-existing Superman character and stories and are thus
   22      derivative works based thereon, and were not made at the instigation of Siegel.
   23             1 1 8. Thus, even if the Superboy Notice were effective, any recapture of
   24      copyright rights would be limited to any new copyrightable subject matter added
   25      by Siegel and Shuster to the pre-existing Superman character and stories
   26      exclusively owned by DC Comics and its predecessors.
   27             1 1 9. The new copyrightable subject matter contained in the Siegel
   28      Superboy Proposals is de minimis and thus, even if the Siegels could recapture




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    1   U.S. Copyrights therein, such recapture could not affect DC Comics' continuing
    2   right to create and exploit new derivative works that do not include such new
    3   copyrightable subject matter, including but not limited to, the television series
    4   "Smallville."
    5         #5 The Derivative Work Superboy Is A Joint Work Of Authorship

    6         1 20. Upon information and belief, the Siegel Superboy Proposals were
    7   joint works of authorship as they were prepared jointly with Shuster and because it
    8   was intended that their contents would be merged with artwork to create a comic
    9   book or comic strip.
   10         1 2 1 . As eventually published, the works containing the Superboy character
   11   included both artwork and storyline.
   12         1 22. The joint author' s share in the Siegel Superboy Proposals is owned by
   13   DC Comics and cannot be terminated either by the Superman Notices or the
   14   Superboy Notice.
   15          1 23 . As a result of the foregoing, DC Comics right to continue to exploit
   16   the Siegel Superboy Proposals and any derivative works based thereon cannot be
   17   affected by either the Superman Notices or the Superboy Notice.
   18                    #6 "Smallville" Is Not Derived From Superboy

   19          1 24. Among the derivative works based upon Superman and authorized by
   20   DC Comics is the weekly television series, "Smallville."
   21          1 25 . Regardless of whether the Superboy Notice is effective and further
   22   regardless of whether Superboy is a derivative work based upon Superman,
   23   "Smallville" was derived from and based upon Superman and is not a derivative
   24   work based upon the Siegel Superboy Proposals or any succeeding Superboy
   25   comic or Superboy work exploited by DC Comics and/or its predecessors prior to
   26   May 2 1 , 1 948. Beyond sharing the idea of depicting Superman as a youth,
   27   Smallville is not substantially similar to the Siegel Superboy Works.
   28



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    1             1 26 . Thus, irrespective of any accounting issues relating to the Siegels'
    2   purported right to receive compensation with respect to new episodes of
    3   "Smallville," DC Comics' right to continue to authorize production, distribution,
    4   and airing of "Small ville" television episodes remains unaffected by the Superman
    5   Notices and the Superboy Notice.
    6                     #7 The Additional Action Comics No. 1 Materials

    7             1 27 . The Additional Action Comics No. 1 Materials created in 1 938 were
    8   prepared at the instance and expense of DCI and subject to its right to control.
    9   Thus, under the 1 909 Copyright Act, the Additional Action Comics No. 1
   10   Materials were "works made for hire" and copyright therein was owned by DCI ab
   11   initio.
   12             1 28 . Because the Additional Action Comics No. 1 Materials were works
   13   made for hire, the grant of U.S . Copyright therein cannot be terminated pursuant to
   14   1 7 U. S.C. § 3 04 (c). As a result, DC Comics remains the sole owner of the
   15   Additional Action Comics No. 1 Materials.
   16             1 29. On information and belief, plaintiffs deny DC Comics' contentions
   17   and/or the legal effect ascribed thereto as set forth in paragraphs 1 02 - 1 28 above.
   18   Accordingly, an actual controversy has arisen and now exists between
   19   Plaintiffs/Counterclaim Defendants and DC Comics concerning the above issues.
   20             1 30 . A justiciable controversy exists concerning the above issues and a
   21   judicial declaration is necessary and appropriate to determine the parties'
   22   respective rights with regard thereto.
   23                     FIFTH ALTERNATIVE COUNTERCLAIM FOR

   24                    DECLARATION REGARDING THE PRINCIPLES

   25                          TO BE APPLIED IN AN ACCOUNTING

   26             1 3 1 . DC Comics repeats and realleges paragraphs 1 - 1 30 above as if fully
   27   set forth herein.
   28




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    1         1 32 . DC Comics contends that in the event the Superman Notices and/or
    2   the Superboy Notice were deemed valid and effective, any accounting to which the
    3   Siege1s would be entitled relating to Superman (including its derivative work
    4   Superboy, collectively for this Counterclaim "Superman") would be subject to the
    5   following limitations and reductions:
    6            a. The Siege1s would not be entitled to any revenues derived from
    7               exploitation of Superman outside of the United States because
    8               termination pursuant to 1 7 U.S .C. § 3 04 (c) cannot affect any grant of
    9               non-United States copyrights. 1 7 U.S.C. § 3 04 (c) (6) (E).
   10            b. The Siegels would not be entitled to any revenues derived from
   11               exploitation of the Superman Derivative Works and the Superboy
   12               Derivative Works. 1 7 U.S.C. § 304 (c) (6) (A).
   13            c . Any accounting o f profits for exploitation o f Superman would be
   14               reduced to account for the value of the appearance of Superman based
   15               upon the Siegels' failure to terminate the Superman Ads.
   16            d. Any accounting of recoverable profits for exploitation of Superman
   17               would be reduced to that portion of such profits that are attributable to
   18                the copyrightable elements from Action Comics No. 1 less the
   19               Additional Action Comics No. 1 Materials (if any), actually present in
   20               the Superman works subject to accounting.
   21            e. Any accounting of recoverable profits would be limited to profits of
   22                DC Comics, the sole owner of rights under any purportedly
   23                terminated grants and the sole owner of copyright in Action Comics
   24               No. 1 , and the Siegels would not be entitled to any share of revenues
   25                earned by any third party licensees of DC Comics, including but not
   26                limited to, any of the other defendants.
   27            f. The Siegels would not be entitled to any accounting for profits
   28                attributable to DC Comics' continuing exercise of its rights to use all




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    1                  other rights other than rights under copyright with respect to
    2                  Superman and Superboy, including but not limited to, any trademark
    3                  rights. As a result, any accounting of profits would be further reduced
    4                  by the value in Superman and the Superman Marks that have been
    5                  built up by DC Comics and its predecessors over the last six decades
    6                  by virtue of, inter alia, the Post Action Comics No. 1 Works and
    7                  Elements, and the Superman Marks
    8               g. Any accounting of profits would be further reduced by additional
    9                  factors, including but not limited to, DC Comics' direct and indirect
   10                  expenses, taxes, and DC Comics' independent role as a publisher of
   11                  Superman.
   12               h. Subject to all reductions aforesaid and otherwise determined by the
   13                  Court to be applicable, the Siegels would be entitled to an accounting
   14                  o f only one-half of the copyright co-owner' s profits.
   15          1 33 . On information and belief, plaintiffs deny DC Comics' contentions
   16   and/or the legal effect ascribed thereto as set forth above. Accordingly, an actual
   17   controversy has arisen and now exists between Plaintiffs/Counterclaim Defendants
   18   and DC Comics as to the above issues.
   19          1 34. A justiciable controversy exists concerning the above issues and a
   20   judicial declaration is necessary and appropriate to determine the parties'
   21   respective rights with regard thereto.
   22         WHEREFORE, DC Comics demands judgment as follows:
   23          1.      Declaring that the Superman Notices and the Superboy Notice are
   24   ineffective for one or more of the reasons set forth in DC Comics' First
   25   Counterclaim;
   26          2.      In the event that the Superman Notices and/or the Superboy Notice
   27   are deemed effective, enforcing the settlement agreement of all claims between the
   28   parties;




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    1            3.        In the event that the Superman Notices and/or the Superboy Notice
    2   are deemed effective, and the Court further finds that there is no enforceable
    3   settlement agreement between the parties, declaring that the scope and effect of the
    4   Superman Notices and the Superboy Notice are limited as set forth in DC Comics '
    5   Third Alternative Counterclaim
    6            4.        In the event that the Superman Notices and/or the Superboy Notice
    7   are deemed effective, and the Court further finds that there is no enforceable
    8   settlement agreement between the parties, declaring that any accounting to which
    9   the Siegels may be entitled will be limited by all applicable principles, including
   10   but not limited to, those set forth in DC Comics Fourth Alternative Counterclaim.
   11            5.        Awarding DC Comics its costs and reasonably attorneys' fees
   12   incurred in connection with DC Comics' defenses and claims herein seeking
   13   declarations with respect to copyright ownership; and
   14            6.        Awarding DC Comics such other and further relief as may be just.
   15   DATED:             November 22, 2004
   16                                                        FROSS ZELNICK LEHRMAN & ZISSU, P.C.
                                                             Roger L. Zissu
   17                                                        Patrick T. Perkins
   18                                                        James D. Weinberger
                                                                                 -and­
   19
                                                             LOEB & LOEB LLP
   20
   21
                                                             Jonathan Zavin
                                                             David Gross    �
   22                                                        By   Q� �
   23                                                             Patrick T. Perkins (Admitted pro hac vice)
   24                                                        Attorneys for Defendants Warner Bros.
                                                             Entertamment Inc., Time Warner Inc and
   25                                                        Defendant and Counterclaimant DC J4
                                                                                               Lomics
   26
   27
   28   I:\PPERKINS\DCC\Siegel\Pleadings\Superman Answer & CC - FinaJ.doc




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                      (           ID #:32077              c
     1 FROSS ZELNICK LEHRMAN & ZISSU, P.C.
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     5
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     6 COLEMAN GRODIN & EVALL LLP
       Michael Bergman (SBN 37797)
     7 David L. Burg (SBN 130403)
       Adam Hagen (SBN 218021)
     8 9665 Wi1slllre Boulevard, Ninth Floor
       Beverly Hi11~ California 90212
     9 Telephone: (j10) 858-7888
       Fax: (310) 550-1191
    10
       Attorneys for Defendants/Counterc1aimant
    11
       JOANNE SIEGEL and LAURA SIEGEL              Case No. 04-8400 (DDP) (RZx)
    12 LARSON,
    13              Plaintiffs,
              vs.
    14
       WARNER BROS. ENTERTAINMENT                                -and-
    15 IN~'i TIME WARNER INC.; DC
       COMICS; andDOES 1-10.
    16              Defendants.
    17 JOANNE SIEGEL and LAURA SIEGEL              Case No. 04-8776 (DDP) (RZx)
       LARSON,
    18              Plaintiffs,                    DEFENDANTS'/
    19        vs.                                  COUNTERCLAIMANT'S FIRST
       TIME WARNER INC.; WARNER                    SET OF REQUESTS FOR THE
    20 COMMUNICATIONS INC.; WARNER                 PRODUCTION      OF
       BROS. ENTERTAINMENT INC.;                   DOCUMENTS      AND  THINGS
    21 WARNER BROS. TELEVISION
       PRODUCTION INC.; DC COMICS; and
    22 DOES 1-10.
    23              Defendants.
        AND RELATED COUNTERCLAIMS
    24 - - - - - - - - - - - - - - - '
    25       Pursuant to Fed. R. Civ. P. 34, Defendants Warner Bros. Entertainment Inc.,
    26 Time Warner Inc., Warner Communications Inc., and Warner Bros. Television
    27 Production Inc., and Defendant and Counterc1aimant DC Comics, request that
    28



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     1 Plaintiffs Joanne Siegel and Laura Siegel Larson respond hereto in writing and
     2 produce and pennit inspection and copying ofeach ofthe following documents and
     3 tangible things in their possession, custody or control. The documents and things
     4 identified herein shall be produced no later than 30 days from the date ofthis request
     5 at the offices ofFross Zelnick Lehrman & Zissu, P.C., 866 United Nations Plaza, New
     6 York, New York 10017, or as otherwise agreed.
     7                        INSTRUCTIONS AND DEFINITIONS
     8        A.     "Plaintiffs" means, collectively and severally, Plaintiffs Joanne Siegel
     9 and Laura Siegel Larson and each of their past and present agents and
    10 representatives.
    11        B.     "Siegel" means Jerome (a.k.a. "Jerry") Siegel and each ofhis agents
    12 and representatives.
    13        C.     "Shuster" means Joseph (a.k.a. "Joe") Shuster and each ofhis agents
    14 and representatives.
    15        D.     The "Shuster Representatives" means, collectively and severally, Jean
    16 Adele Peavy, Mark Warren Peary, all executors, administrators, heirs, and
    17 representatives ofthe estate of Joseph Shuster, and all of their respective agents and
    18 representatives.
    19        E.     "Defendants" means, collectively and severally, Defendants Warner
    20 Bros. Entertainment Inc., Time Warner Inc" Warner Communications Inc., and
    21 Warner Bros. Television Production Inc., and Defendant and Counterclaimant DC
    22 Comics, each of their predecessors in interest, and all of their agents, employees,
    23 and representatives.
    24        F.     "First Complaint" means the complaint and any amendments,
    25 supplements, or corrections thereto in action Case No. 04-8400 (DDP) (RZx).
    26        G.     "Second Complaint" means the complaint and any amendments,
    27 supplements, or corrections thereto in action Case No. 04-08776 (DDP) (RZx).
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     1          H.   "Concerning" means relating to, describing, evidencing, proving,
     2 tending to prove, referring to, comprising, constituting, disproving or tending to
     3 disprove.
     4          1.   Whenever the tenns "and" or "or" are used they are to be construed
     5 both disjunctively and conjunctively as necessary to bring within the scope of these
     6 discovery requests responses that might otherwise be construed to be outside the
     7 scope.
     8          J.   The use of the singular form of any word includes the plural and vice
     9 versa.
    10K.             In the event any document is withheld on a claim of attorney/client
    11 privilege or work product immunity, please provide a statement signed by an
    12 attorney representing Plaintiffs setting forth as to each such document:
    13               (1)    The name of the sender(s) of the document;
    14               (2)    The name ofthe author(s) of the document;
    15               (3)    The name(s) of all person(s) to whom copies were sent and/or to
    16                      whom the information contained therein was disclosed;
    17               (4)    Job title of every person named in (1), (2), and (3) above;
    18               (5)    Date of the document;
     19              (6)    The date on which the document was received;
    20               (7)    A brief description of the nature and subject matter of the
    21                      document; and
    22                (8)   The statute, rule, or decision which is claimed to give rise to the
    23                      privilege.
    24          M.    "Writing" means any tangible expression or communication -- printed
     25 or electronic -- however created, recorded, embodied, maintained, filed, or stored in
     26 any medium, mode, form, or technology, including, without limitation, as defined
     27 by Rule 1001 of the Federal Rules ofEvidence, and includes every "original" and
     28 every "duplicate" of each such Writing as defined, respectively, by Rules 1001(3)

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     1 and (4) of the Federal Rules of Evidence.
     2        N.     The "1947 Action" means the lawsuit filed by Jerome Siegel and
     3 Joseph Shuster in or about 1947 in the Supreme Court of the State of New York,
     4 County of Westchester, against National Comics Publications, Inc.
     5                                       REQUESTS
     6 Request No.1
     7        All Writings upon which Plaintiffs intend to rely in this action.
     8 Request No.2
     9        All Writings concerning any communication or agreements among or
    10 between Siegel and Shuster.
    11 Request No.3
    12        All Writings concerning any communication or agreement between Siegel
    13 and/or Shuster, on the one hand, and Defendants, on the other hand.
    14 Request No.4
    15        All Writings concerning or which Plaintiffs contend support any ofthe
    16 allegations in paragraph 16 of the First Complaint.
    17 Request No.5
    18        All Writings concerning: (a) the twenty-four days of "Superman" comic strips
    19 intended for newspaper publication; (b) the synopsis of comic strips for weeks two,
    20 three and four; (c) the paragraph previewing future "Superman" exploits; and (d) the
    21 nine page synopsis that Plaintiffs allege Siegel created "in or about 1934," in
    22 paragraph 17 of the First Complaint, including but not limited to correspondence
    23 relating thereto, as well as any drafts, sketches, drawings, or stol)' boards.
    24 Request No.6
    25        All Writings concerning: (a) the fifteen daily "Superman" comic strips and (b)
    26 the three additional six day weeks of "Superman" comics that Plaintiffs allege
    27 Siegel and Shuster created "in or about 1934," in paragraph 18 of the First
    28 Complaint, including but not limited to correspondence relating thereto, as well as

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     1 any drafts, sketches, drawings, or story boards.
     2 Request No.7
     3        All Writings concerning the October 4, 1935 letter from Malcolm Wheeler-
     4 Nicholson referred to in paragraph 19 of the First Complaint.
     5 Request No.8
     6        All Writings concerning the December 4,1937 agreement between Siegel and
     7 Shuster and Detective Comics referred to in paragraph 20 of the First Complaint.
     8 Request No.9
     9        All Writings concerning the request to Siegel and Shuster from McClure
    10 Newspaper Syndicate to forward the "1934 Superman Comic Strip material" to
    11 Detective Comics that Plaintiffs allege in paragraph 21 ofthe First Complaint took
    12 place in 1938.
    13 Request No. 10
    14        All Writings concerning or which Plaintiffs contend support the allegation in
    15 paragraph 21 of the First Complaint that, by early 1938, '''Superman'' and his
    16 miraculous powers had already been completely developed by Siegel and Shuster."
    17 Request No. 11
    18         All Writings concerning or which Plaintiffs contend support the allegations in
    19 paragraph 22 of the First Complaint that in or about January or February 1938, in
    20 response to interest by Detective Comics, "Siegel and Shuster cut and pasted"
    21 material they had previously created into "more than ninety separate panels."
    22 Request No. 12
    23         All Writings concerning the March I, 1938 grant from Siegel and Shuster to
    24 Detective Comics referred to in paragraph 24 of the First Complaint.
    25 Request No. 13
     26        All Writings concerning any advertisement of Superman and "Action Comics
     27 No.1," including but not limited to those which appeared in "More Fun Comics No.
     28 31," "Detective Comics No. 15," and ''New Adventure Comics No. 26."

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     1 Request No. 14
     2        All Writings concerning Action Comics No.1, including but not limited to,
     3 any correspondence related thereto, and all drafts, sketches, drawings, or story
     4 boards.
     5 Request No. 15
     6        All Writings concerning the September 22, 1938 agreement among Siegel and
     7 Shuster, Detective Comics and The McClure Newspaper Syndicate referred to in
     8 paragraph 29 ofthe First Complaint.
     9 Request No. 16
    10        All Writings concerning the September 22,1938 grant from Siegel and
    11 Shuster to Detective Comics referred to in paragraph 30 of the First Complaint.
    12 Request No. 17
    13        All Writings concerning Action Comics Nos. 1-6, including but not limited to
    14 any correspondence related thereto, and all drafts, sketches, drawings, or story
    15 boards.
    16 Request No. 18
    17        All Writings concerning or which Plaintiffs contend support the allegation in
    18 paragraph 32 of the First Complaint that Action Comics Nos. 2-6 were not "works
    19 made for hire."
    20 Request No. 19
    21        All Writings concerning the December 19,1939 agreement between Siegel
    22 and Shuster and Detective Comics referred to in paragraph 33 ofthe First
    23 Complaint.
    24 Request No. 20
    25        All Writings concerning orwhich Plaintiffs contend support the allegations in
    26 paragraph 34 ofthe First Complaint that the Superman works created by Siegel and
    27 Shuster after September 28, 1938 were not "works made for hire."
    28

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     1 Request No. 21
     2        All Writin gs concerning the "character, conception and plan" for "Superboy,"
     3 and its submissi on to any other person or entity, including but not limited to
     4 Detective Comi cs, referred to in paragraph 18 of the Second Complaint.
     5 Request No. 22
     6        All Writings concerning the letter dated December 2, 1938 referred to in
     7 paragraph 19 of the Second Complaint.
     8 Request No. 23
     9        All Writ"mgs concerning the "Siegel Superboy Material" referred to in
    10 paragraph 22 of the Second Complaint, including but not limited, any
    11 correspondence related thereto, and all drafts, sketches, drawings, or story boards.
    12 Request No. 24
    13        AllWri tmgs
                      .   concerning any submission (or response thereto) of the "Siegel
    14 Superboy Material" referred to paragraphs 27-28 of the Second Complaint.
    15 Request No. 25
    16        All Writings concerning or which Plaintiffs contend support any of the
    17 allegations in p aragraph 31 of the Second Complaint.
    18 Request No. 26
    19        All Writings concerning the "Superboy Comic Books" referred to in
    20 paragraph 37 of the Second Complaint.
    21 Request No. 27
    22        All Writings concerning the 1947 Action.
    23 Request No. 28
    24        All Writings concerning the trial of the 1947 Action before the Official
    25 Referee.
    26 Request No. 29
    27        All Writings concerning the May 19, 1948 stipulation of settlement between
    28 Siegel and Nati onal Comics Publications, Inc. referred to in paragraph 35 of the

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     1 First Complaint.
     2 Request No. 30
     3        All Writings concerning the Consent Judgment entered into by the parties to
     4 the 1947 Action.
     5 Request No. 31
     6        All Writings concerning the action brought in the United States District Court
     7 for the Southern District of New York entitled Siegel v. National Periodical PubIs.,
     8 Inc., Case No. 69 Civ. 1429.
     9 Request No. 32
    10        All Writings concerning the appeal to the United States Court ofAppeals for
    11 the Second Circuit entitled Siegel v. National Periodical PubIs., Inc., Docket No.
    12 73-2844.
    13 Request No. 33
    14         All Writings concerning the December 23, 1975 agreement referred to in
    15 paragraph 38 of the First Complaint.
    16 Request No. 34
    17         All Writings concerning any benefits ever received by Siegel, Shuster, or
    18 Plaintiffs from Defendants, including without limitation pursuant to the December
     19 23, 1975 Agreement referred to in paragraph 38 ofthe First Complaint and
    20 paragraph 57 of the Second Complaint.
    21 Request No. 35
     22        All Writings concerning the conception or creation of any element of the
     23 Superman character or story.
     24 Request No. 36
     25        All Writings concerning any communication or agreement (a) between or
     26 among Plaintiffs concerning any of the matters alleged in the First Complaint or the
     27 Second Complaint, (b) between Plaintiffs, and on the one hand, and any other
     28 person or entity, on the other hand, concerning any of the matters alleged in the First

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      I Complaint or the Second Complaint, or (c) between Plaintiffs and Defendants.
     2 Request No. 37
     3        All Writings concerning any of the following:
     4        1.        Letter from Jerry Siegel to Stanley H. Livingston, President,
     5 Consolidated Book Publishers, dated June 1, 1933.
     6        11.       Letter from Stanley H. Livingston, President, Consolidated Book
     7 Publishers, to Jerry Siegel dated June 8, 1933.
     8        111.      Post card from Jerry Siegel to Stanley H. Livingston, President,
     9 Consolidated Book Publishers, dated August 8, 1933.
    10        IV.       Letter from Stanley H. Livingston, President, Consolidated Book
    11 Publishers, to Jerry Siegel dated August 22, 1933.
    12        v.        Letter from Lee O'Mealia to Jerry Siegel dated July 17, 1933.
    13        VI.       Letter from Lee 0 'Mealia to Jerry Siegel dated September 11, 1933.
    14        vii.      Letter from Lee O'Mealia to Jerry Siegel dated November 2, 1933.
    15        viii.     Letter from Lee O'Mealia to Jerry Siegel dated August 31, 1934.
    16         IX.      Letter from Russell Keaton to Jerry Siegel dated June 9, 1934.
    17         x.       Script for Superman submitted by Jerry Siegel to Russell Keaton on
    18 or about June 11, 1934.
    19         Xl.      Letter from Russell Keaton to Jerry Siegel dated June 14, 1934.
    20         X11.     Letter from Russell Keaton to Jerry Siegel dated June 22, 1934.
    21         X111.    Letter from Russell Keaton to Jerry Siegel dated July 6, 1934.
    22         XIV.     Letter from Russell Keaton to Jerry Siegel dated July 11, 1934.
    23         xv.      Letter from Russell Keaton to Jerry Siegel dated August 7, 1934.
    24         XVl.     Letter from Russell Keaton to Jerry Siegel dated October 17, 1934.
    25         XV11.    Letter from Russell Keaton to Jerry Siegel dated November 3, 1934.
    26         XVl11.   Rejection letters re Superman from the Bell Syndicate, Publishers
    27 Syndicate of Chicago, Super Magazines, Dell Publishing Company, Swan-
    28

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      1 McDonald Features, Esquire Features, McClure Newspaper Syndicate, United
      2 Features Syndicate or The Ledger Syndicate.
      3         XIX.     Letter dated November 16, 1974 from the editor of Super Magazines.
      4         xx.      Letter dated October 29, 1937 from the editor of Super Magazines.
      5         XXI.     Letter from Joseph B. Agnelli of The Bell Syndicate to Jerry Siegel
      6 dated February 21, 1935.
      7         XXll.    Letter from Horace Epps of The Bell Syndicate to Jerry Siegel, dated
      8 May 27,1935.
      9         xxiii.   Letter from Malcolm Wheeler-Nicholson to Jerry Siegel dated June
     10 6, 1935.
     11         XXIV.    Letter from Malcolm Wheeler-Nicholson to Jerry Siegel dated July 3,
     12 1935.
     13         xxv.     Letter from Malcolm Wheeler-Nicholson to Jerry Siegel dated
     14 October 4, 1935.
     15         xxvi.    Letter from Malcolm Wheeler-Nicholson to Jerry Siegel dated March
     16 13, 1936.
     17       xxvii.     Letter from Malcolm Wheeler-Nicholson to Jerry Siegel dated March
     18 20,1936.
     19         xxviii. Letter from Malcolm Wheeler-Nicholson to Jerry Siegel dated March
    20 16, 1937.
    21          xxix.    Letter from Malcolm Wheeler-Nicholson to Jerry Siegel dated
    22 August 3, 1937.
    23          xxx.     Letter from Malcolm Wheeler-Nicholson to Jerry Siegel dated
    24 December 1, 1937.
    25          xxxi.    Letter from M.C. Gaines ofThe McClure Newspaper Syndicate to
    26 Jerry Siegel dated November 30, 1937.
    27          xxxii.   Letter from M.C. Gaines of The McClure Newspaper Syndicate to
    28 Jerry Siegel dated February 9, 1938.

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     1        xxxiii. Letter from The McClure Newspaper Syndicate to Jeny Siegel dated
     2 April 8, 1938.
     3        xxxiv. Letter from The McClure Newspaper Syndicate to Jeny Siegel dated
     4 April 13, 1938.
     5        xxxv.     Letter from The McClure Newspaper Syndicate to Jeny Siegel dated
     6 April 21, 1938.
     7        xxxvi. Letter from Jeny Siegel to M.C. Gaines of The McClure Newspaper
     8 Syndicate dated December 1, 1937.
     9        xxxvii. Letter from M.C. Gaines of The McClure Newspaper Syndicate to
    10 Jeny Siegel dated June 13, 1938.
    11        xxxviii. Letter from Jack Liebowitz of Detective Comics, Inc. to Jeny Siegel
    12 dated December 1, 1937.
    13        xxxix. Letter from Jeny Siegel to Jack Liebowitz of Detective Comics, Inc.
    14 dated December 6, 1937.
    15        xl.       Letter from Jack Liebowitz of Detective Comics, Inc. to Jeny Siegel
    16 dated December 9, 1937.
    17        xli.      Letter from Jack Liebowitz of Detective Comics, Inc. to Jeny Siegel
    18 dated January 5, 1938.
    19        xlii.     Letter from Jack Liebowitz of Detective Comics, Inc. to Jeny Siegel
    20 dated March 1, 1938.
    21        xliii.    Letter from Jack Liebowitz of Detective Comics, Inc. to Jeny Siegel
    22 datedJune9,1938.
    23        xliv.     Letter from Vin Sullivan of Detective Comics, Inc. to Jeny Siegel
    24 dated January 10, 1938.
    25        xlv.      Letter from Vin Sullivan of Detective Comics, Inc. to Jeny Siegel
    26 dated January 12, 1938.
    27        xlvi.     Letter from Vin Sullivan of Detective Comics, Inc. to Jeny Siegel
    28 dated January 31, 1938.

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      1        xlvii.   Letter from Vin Sullivan of Detective Comics, Inc. to Jerry Siegel
      2 dated February 1, 1938.
      3        xlviii. Letter from Vin Sullivan of Detective Comics, Inc. to Jerry Siegel
      4 dated February 4, 1938.
      5        xlix.    Letter from Vin Sullivan of Detective Comics, Inc. toJerry Siegel
      6 dated February 9, 1938.
      7        1.       Letter from Vin Sullivan of Detective Comics, Inc. to Jerry Siegel
      8 dated February 16, 1938.
      9        li.      Letter from Vin Sullivan of Detective Comics, Inc. to Jerry Siegel
     10 dated February 22, 1938.
     11        Iii.     Letter from Vin Sullivan of Detective Comics, Inc. to Jerry Siegel
     12 dated March 14, 1938.
     13        liii.    Letter from Howard Denby of Esquire Features, Inc. to Jerry Siegel
     14 dated September 9, 1936.
     15        liv.     Letter from New Fun's Managing Editor to Jerry Siegel dated
     16 October 23, 1935.
     17        Iv.      Letter from Swan-McDonald Features, Inc. to Jerry Siegel dated
     18 February 27, 1936.
     19        Ivi.     Letter from William Laas of United Features Syndicate to Jerry
     20 Siegel dated February 13, 1937.
    21       Ivii.      Letter from The Ledger Syndicate to Jerry Siegel dated March 2,
    22 1937.
     23        Iviii.   Letter from Chas. F. Lounsbury of The Register and Tribune
    24 Syndicate dated August 26, 1938.
     25        1ix.     Letter from Chas. F. Lounsbury of The Register and Tribune
     26 Syndicate dated September 7, 1938.
    27
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     1 Request No. 38
     2         All Writings concerning the notices of termination under 17 U.S.C. § 304,
     3 which Plaintiffs claim they served on or aboutApri13, 1997.
     4 Request No. 39
     5         All Writings concerning or which Plaintiffs contend support their allegation
     6 that the notices of tennination served by Plaintiffs on or about April 3, 1997 were
     7 drafted, served and filed in full compliance with 17 U.S.C. § 304(c) and 37 C.F.R. §
     8 20LlO (2003).
     9 Request No. 40
    10         All Writings concerning the notice of termination under 17 U.S.C. § 304,
    11 which Plaintiffs claim they served on or about November 8, 2002.
    12 Request No. 41
    13         All Writings concerning or which Plaintiffs contend support their allegation
    14 that the notice of termination served by Plaintiffs on or about November 8, 2002
    15 was drafted, served and filed in full compliance with 17 U.S.C. § 304(c) and 37
    16 C.F.R. § 20LlO (2003).
    17 Request No. 42
     18        All Writings concerning ownership or any claim of ownership by Plaintiffs of
     19 any trademarks, trade dress, or related marks or rights in the Superman Crest, as that
    20 term is defined in the First and Second Complaints.
    21 Request No. 43
    22         All Writings concerning or which Plaintiffs contend support any damage or
     23 injury which they claim has resulted from the waste alleged in Count Five ofthe
     24 First Complaint.
     25 Request No. 44
     26        All Writings concerning or which Plaintiffs contend support the allegation of
     27 "Defendants' under-utilization of the Recaptured copyrights" in paragraph 79 ofthe .
     28 First Complaint.

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      1 Request No. 45
      2        All Writings concerning or which Plaintiffs contend support the allegation of
      3 "Defendants' non 'anns length' contracts between wholly owned subsidiaries and
      4 divisions" in paragraph 79 of the First Complaint.
      5 Request No. 46
      6        All Writings concerning or which Plaintiffs contend support the allegation of
      7 "Defendants' self-serving accounting practices" in paragraph 79 ofthe First
      8 Complaint.
      9 Request No. 47
     10        All Writings concerning or which Plaintiffs contend support the allegation of
     11 "Defendants' improper allocation of revenues, costs and profits" in paragraph 79 of
     12 the First Complaint.
     13 Request No. 48
     14        All Writings concerning or which Plaintiffs contend support the allegation of
     15 "Defendants' relatively marginal exploitation" of the Superman franchise in
     16 paragraph 79 of the First Complaint.
     17 Request No. 49
     18        All Writings concerning or which Plaintiffs contend support the allegation
     19 that "market opportunities for such a superhero franchise has been and continues to
    20 be at an all time high" in paragraph 79 of the First Complaint.
    21 Request No. 50
    22         All Writings concerning any attempts by Plaintiffs, Siegel, and/or Shuster to
    23 sell, license, assign, transfer, market, or otherwise exploit any rights in Supennan.
    24 Request No. 51
    25         All Writings concerning any payments or other consideration received by
    26 Plaintiffs from any Defendants in connection with Superman.
    27
    28

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      1 Request No. 52
      2         All Writings concerning the settlement discussions between Plaintiffs and
      3 Defendants that took place from approximately April 17, 1997 through September
      4 30,2002,
      5 Request No. 53
      6         All Writings concerning the October 19, 2001 letter from Plaintiffs' then
      7 counsel to John Schulman.
      8 Request No. 54
      9         All Writin gs concerning the October 26, 2001 letter from John Schulman to
     10 Plaintiffs' then c ounsel.
     11 Request No. 55
     12        All Writin gs concerning the draft agreement transmitted to Plaintiffs on or
     13 about February 1,2002.
     14 Request No. 56
     15        All Writin gs concerning the May 9, 2002 letter from Joanne Siegel to Richard
     16 Parsons.
     17 Request No. 57
     18        All Writings concerning the September 21, 2002 letter from Plaintiffs to Paul
     19 Levitz,
    20 Request No. 58
    21         All Writings concerning any communications between Plaintiffs and any
    22 attorney, partner, employee, agent, or representative of the law fIrm Gang Tyre
    23 Ramer & Brown after September 21, 2002.
    24 Request No. 59
    25         All Writings concerning any disposition of any rights relating to Superman,
    26 including but n ot limited to any solicitation, offer, option, agreement or license.
    27
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     1 Request No. 60
     2        All Writings concerning the division of any revenues relating to Superman
     3 among Plaintiffs and between Plaintiffs and any other person or entity.
     4 Request No. 61
     5        All Writings concerning any communication or agreement between Michael
     6 Siegel and Plaintiffs related to Superman.
     7 Request No. 62
     8        All Writings concerning any communication or agreement between Dennis
     9 Larson and Plaintiffs related to Superman.
    10 Request No. 63
    11        All Writings concerning the Shuster Representatives, including but not
    12 limited to any communication or agreements between Plaintiffs and any of the
    13 Shuster Representatives.
    14 Request No. 64
    15        All Writings concerning Marc Toberoff or his law firm which were created or
    16 which refer to the period prior to his being retained as counsel for Plaintiffs in these
    17 related actions.
    18 DATED:        June 21,2005           FROSS ZELNICK LEHRMAN & ZISSU, P.C.
                                            Roger L. Zissu
    19                                      Patrick T. Perkins
                                            James D. Weinberger
    20
                                                                  -and-
    21
                                           WEISSMANN WOLFF BERGMAN
   . 22                                     COLEMAN GRODIN & EYALL LLP
                                           Michael Bergman
    23                                     David L. Burg
    24                                     A~am       n    _
                                           B'               ~
    25                                         'ac:erns
    26                                      Attorneys for Defendants/Counterclaimant
    27
    28

                                                   16

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   1
                                 PROOF OF SERVICE
   2                         1013A(3) C.C.P. Revised 5/1/88
       STATE OF CALIFORNIA              )
   3                                    ) ss.
       COUNTY OF LOS ANGELES            )
   4

   5          I am employed in the County of Los Angeles, State of California; I am over the age of 18
       and not a party to the within action; my business address is 1513 Livonia Avenue, Los Angeles,
   6   CA 90035. On the date shown below, I served the foregoing document described as
       DEFENDANTS'ICOUNTERCLAIMANT'S FIRST SET OF REQUESTS FOR THE
   7
       PRODUCTION OF DOCUMENT AND THINGS on the interested parties in said action,
   8   by placing a true copy thereof enclosed in a sealed envelope, addressed as follows:
       Marc Toberoff
   9
       Rafael Gomez-Cabrera
  10   Nicholas C. Williamson
       Law Offices of Marc Toberoff, PLC
  11   1999 Avenue of the Stars, Suite 1540
       Los Angeles, CA 90067
  12

  13          (BY MAIL) I am "readily familiar" with the firm's practice of collection and processing
              correspondence for mailing. Under that practice it would be deposited with the U.S. postal
  14          service on that same day with postage thereon fully prepaid at Beverly Hills, California. I
              am aware that on motion ofthe party served, service is presumed invalid if postal
  15
              cancellation date or postage meter date is more than one day after date of deposit for
  16          mailing in affidavit.

  17          (PERSONAL SERVICE) I delivered such document to the offices of the addressee above.
  18
              (FACSIMILE SERVICE) I caused such document to be transmitted via facsimile to the
  19          offices of the addressees at the numbers listed above.

  20          (BY FEDERAL EXPRESS) I caused a copy of such document(s) to be delivered to the
              offices of the addressee(s) via Federal Express, next business day delivery service.
  21

  22          Executed on June 21, 2005, at Beverly Hills, California.

  23          STATE           I declare under penalty ofpeJjury under the laws of the State of California
              that the foregoing is true and correct.
  24

  25   XX     FEDERAL I declare that I am employed in the office of a member of the bar of this
              court at whose direction the service was made.
  26
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  27                                              \

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  12 Telephone: (310) 858-7888
     Fax: (310) 550-7191
  l3
     Attorneys for Defendants and Counterc1aimant
  14
                          UNITED STATES DISTRICT COURT
  15                     CENTRAL DISTRICT OF CALIFORNIA

  16   JOANNE SIEGEL and LAURA                Case Nos. [Consolidated for Discovery]:
  17   SIEGEL LARSON,                               04-8400 RSWL (RZx)
                  Plaintiffs,                       04-8776 RSWL (RZx)
  18         vs.                              Hon. Ronald S.W. Lew, U.S.DJ.
       WARNER BROS. ENTERTAINMENT             Hon. Ralph Zarefsky, U.S.MJ.
  19   INC.; TIME WARNER INC.; DC
       COMICS; and DOES 1-10,                 NOTICE OF MOTION RE: JOINT
  20              D~+~~'hmt"                  STIPULATION; JOINT
  21   JOANNE SIEGEL and LAURA                STIPULATION RE: DEFENDANTS'
       SIEGEL LARSON,                         MOTION TO COMPEL
                                              PRODUCTION OF DOCUMENTS
  22             Plaintiffs,
            vs.                               DISCOVERY MATTER
  23   TIME WARNER INC.; WARNER               LOCAL RULE 37
       COMMUNICATIONS INC.; WARNER
  24   BROS. ENTERTAINMENT INC.;              Time: 10:00 a.m.
       WARNER BROS. TELEVISION                Date: August 14, 2006
  25   PRODUCTION INC.; DC COMICS;            Courtroom: 540
       and DOES 1-10,                         Mag. Judge Ralph Zarefskv
  26              Defendant"                  Discovery Cutolf: Nov. 11,2006
  27   AND RELATED COUNTERCLAIMS

  28



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   1 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE THAT on August 14,2006 or as soon thereafter as
   3 the matter may be heard in the above-entitled action before the Honorable Ralph
   4 Zarefsky, United States Magistrate Judge, United States District Court for the
   5 Central District of California, Western Division, Roybal Federal Building,225 East
   6 Temple Street, Los Angeles, California, Courtroom 540, defendants Warner Bros.
   7 Entertainment Inc., Time Warner Inc., Warner Communications Inc., Warner Bros.
   8 Television Production Inc. and defendant and counterclaimant DC Comics
   9 (collectively, "Defendants"), having attempted to meet and confer with Plaintiffs
  10 Joanne Siegel and Laura Siegel Larson ("Plaintiffs" or the "Siegels") in writing on
  11 June 27 and 30, 2006, in accordance with Local Rule 37-1 of the Local Rules of the
  12 United States District Court for the Central District of California ("L.R."), and the
  13 parties having been unable to resolve their discovery dispute regarding Plaintiffs'
  14 failure to produce certain responsive documents, hereby move the Court to rule on
  15 this jointly filed stipulation pursuant to L.R. 37-3.
  16         This motion is made pursuant to Rules 26 and 37 of the Federal Rules of Civil
  17 Procedure and L.R. 37. Defendants contend the discovery sought hereby is likely to
  18 lead to the discovery of admissible evidence, and good cause therefore exists for it.
  19 Defendants have made good faith and reasonable attempts to resolve this matter
  20 without Court intervention, pursuant to L.R. 37, and the parties conducted a
  21 conference of counsel matter pursuant to L.R. 37-1 on July 10,2006, without
  22 success. See Declaration of James D. Weinberger dated July 24,2006, submitted
  23 herewith, -J 13 -14 & Ex. L.
  24        This motion is based on this notice of motion; the Joint Stipulation Re:
  25 Defendants' Motion to Compel Production of Documents; the declarations
  26 submitted by the parties; any supplemental memoranda that may be filed in
  27 connection with the Joint Stipulation; the pleadings and papers on file in this action;
  28


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 1 and on such oral argument and other matters as the Court may properly consider at
 2 the time of the hearing of this motion.
 3 DATED:        July 24,2006         FROSS ZELNICK LEHRMAN & ZISSU, P.C.
 4                                    PERKINS LAW OFFICE, P.C.

 5                                            -and-

 6                                    WEISSMANN WOLFF BERGMAN
                                       COLEMAN GRODIN & EVALL LLP
 7
 8
 9
                                      By:     j?~~2·r
                                             RogerL~u

10                                    Attorneys for Defendants and Counterclaimant

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   1                                       TABLE OF AUTHORITIES
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   1 I.      DEFENDANTS' INTRODUCTORY STATEMENT
   2         These actions, consolidated for purposes of discovery, relate to Plaintiffs'
   3 attempt to recapture under the Copyright Act certain rights in literary works
   4 featuring the characters Superman and Superboy from Defendant and
   5 Counterclaimant DC Comics ("DC"), and its licensees and/or parent company, the
   6 various Warner entities named in the complaints (collectively, "Defendants"). DC
   7 has filed a counterclaim against Plaintiffs seeking to enforce a 2001 settlement
   8 agreement between the parties which resolved as between them all claims relating to
   9 their purported right to recapture such copyright interests, and which Plaintiffs now
  10 refuse to honor.
  11        Defendants have served requests for documents seeking to probe the basis for
  12 Plaintiffs' defenses to their settlement counterclaim. Those defenses are essentially
  13 twofold: Plaintiffs claim both that the parties did not reach any valid agreement,
  14 and even if they did, Plaintiffs' counsel was not authorized to do so. Plaintiffs,
  15 however, have improperly relied on the attorney-client privilege to withhold
  16 documents which, as a result of two discrete waivers, are indisputably discoverable
  17 in this action. Plaintiffs have made both implied (by asserting that their counsel was
  18 not authorized to accept a settlement offer made by Defendants as set forth in an
  19 October 19,2001 letter to Defendants' counsel) and express (through copying DC's
  20 president a letter terminating their former counsel and explaining in detail the
  21 reasons for such termination) waivers of the privilege, and they cannot now be
  22 "undone." Despite the fact that Defendants' document requests seek documents
  23 related to these subjects, Plaintiffs have refused to produce any responsive and
  24 privileged documents. Moreover, Plaintiffs to date have refused to provide
  25 Defendants with a privilege log, despite the fact that Defendants' document requests
  26 were served over a year ago, making it impossible for Defendants to determine
  27 which documents Plaintiffs are withholding. I
  28
          Plaintiffs produced a privilege log at 7pm New York time on Thursday, July 20,

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   1         Plaintiffs cannot use the privilege as both a shield and a sword, relying on the
   2 purported unauthorized actions of their former counsel to defend against DC's
   3 counterclaim while at the same time seeking to protect communications with
   4 counsel related to that authority. Moreover, Plaintiffs cannot withhold documents
   5 relating to the settlement negotiations where Plaintiffs waived the attorney-client
   6 privilege on such subject matter by expressly copying DC's president on a letter to
   7 her then counsel. Accordingly, Defendants respectfully request that their motion to
   8 compel be granted in its entirety, and that Plaintiffs be ordered to produce
   9 responsive documents and a privilege log immediately.
  10 II.     PLAINTIFFS' INTRODUCTORY STATEMENT
  11         Plaintiffs Joanne Siegel and Laura Siegel Larson ("Plaintiffs") are the widow
  12 and daughter, respectively, of Jerome Siegel ("Siegel"), the co-author of the world
  13 renowned comic book hero, "Superman," and the author of "Superboy." This case
  14 arises out of Plaintiffs' proper exercise of their right under section 304(c) of the
  15 1976 United States Copyright Act, 17 U.S.C. § 304(c), to recapture Siegel's original
  16 copyrights in "Superman" and "Superboy" by serving statutory notices on the
  17 defendants herein ("Defendants") on April 3, 1997 and March 8, 2002, respectively
  18 terminating Siegel's prior grant(s) of "Superman" and "Superboy" to Defendants'
  19 predecessor(s) (the "Termination(s)").
  20        Plaintiffs' Terminations complied with all the requirements of 17 U.S.C. §
  21 304(c) and 37 C.F.R. § 201.10, the regulations promulgated thereunder by the
  22 Register of Copyrights. Accordingly, on April 16, 1999, the noticed "Superman"
  23 termination date, all rights Siegel conveyed in "Superman" to Defendants'
  24 predecessors duly reverted to Plaintiffs. On November 17,2004, the noticed
  25 "Superboy" Termination date, all rights that Siegel had conveyed in "Superboy" to
  26

  27 2006. Defendants do not believe that the production of such log is sufficient to
  28 resolve the instant dispute as it does not comply with the requirements of the
     relevant caselaw.


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   1 Defendants' predecessors duly reverted to Plaintiffs.
   2        Shortly after Plaintiffs served their "Superman" Termination notices the
   3 gencral counsel of Defendant Warner Bros. Entertainment Inc. ("WB") and the
   4 President of DC Comics ("DC"), a wholly owned WB subsidiary, both
   5 acknowledged the validity of the "Superman" Termination and the parties began
   6 negotiations for Defendants' purchase and settlement of the Plaintiffs' recaptured
   7 copyright interests. By October 19, 2001, the parties appeared to agree on certain
   8 deal points, subject, of course, to their articulation in an acceptable written
   9 agreement; however, negotiations broke down and fell apart by early 2002 because
  10 Defendants unilaterally modified such terms in a one-sided fashion and added
  11 aggressive new terms, both of which were wholly unacceptable to Plaintiffs.2
  12 Consequently, no agreement was made or executed by the parties.
  13        Defendants neither claimed that a supposed settlement agreement had been
  14 entered into, nor attempted to perform or tender performance under any such
  15 purported agreement. Instead, Defendants, in a reversal of their prior
  16 acknowledgement of the Termination two years earlier, contested the "Superman"
  17 Termination in April, 1999, days before its effective date, claiming it was somehow
  18 invalid.
  19        Defendants thereafter also claimed that the "Superboy" Termination was
  20 invalid. Plaintiffs consequently commenced the within declaratory relief actions
  21 regarding the validity and effect of the "Superman" and "Superboy" Terminations
  22 on October 8, 2004, and October 22, 2004, respectively. Defendants in their
  23 answers and counterclaims asserted for the very first time that they had purchased
  24
  25   DC's October 26 2001 reply to Marks' October 19,2001 letter already contained
     different terms and indicated that the parties were a long way from an agreement.
  26 Declaration of Marc Toberoff ("Toberoff Decl. "), Ex. A ("I enclose herewith for
     you and Bruce a more fulsome outline of what we believe the deal we've agreed to
  27 IS."). Moreover, DC's first draft of a settlement agreement dated February 1, 2002
     contained numerous revisions and new material terms never agreed to bJ'_Plaintiffs
  28 and rejected by Plaintiffs. (ToberoffDecl., Ex B, Declaration of James Weinberger
     ("WeinbergerDecl."), Ex. B.

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    1 Plaintiffs' recaptured copyright interests pursuant to a purported "settlement
   2 agreement" even though it was clear from the record and the parties' actions that no
   3 such agreement had ever been consummated.
   4         Plaintiffs moved for partial summary adjudication on February 15,2006 that
   5 their statutory "Superboy" Termination is valid and that Plaintiffs thereby
   6 recaptured Siegel's "Superboy" copyright. Defendants cross-moved for summary
   7 judgment claiming the "Superboy" Termination was invalid based in large part on
   8 the same purported claims and defenses asserted with respect to "Superman." On
   9 March 23, 2006, the Court granted Plaintiffs' motion in its entirety and denied
  10 Defendants' motion in its entirety. Defendants' subsequently moved to have this
  11 order certified for appeal, which motion was also denied by the Court.
  12         Defendants now seek privileged attorney-client communications in an attempt
  13 to prove their dubious "last ditch" claim that if Plaintiffs are found to have
  14 recaptured Siegel's "Superman" and "Superboy" copyrights under the Copyright
  15 Act, DC somehow purchased such rights pursuant to an alleged settlement
  16 agreement which was clearly never consummated. In so doing, Defendants strain to
  17 get its "foot in the door" and enter with impunity the protected sanctum of Plaintiffs'
  18 protected attorney-client relationships.
  19         Defendants' overreaching strategy ignores substantial legal precedent that the
  20 mere disclosure of the fact of a communication between a client and attorney does
  21 not amount to a disclosure of the specific contents of that communication, nor
  22 constitute a waiver of the attorney-client privilege. Defendants similarly ignore
  23 prevailing caselaw which holds that, to the limited extent a court may find a waiver
  24 of the attorney-client privilege with respect to a disclosed communication, such
  25 waiver is construed and applied very narrowly.
  26 III.    DEFENDANTS' CONTENTIONS
  27         A.    PROCEDURAL HISTORY AND BACKGROUND
  28         On April 3, 1997, Plaintiffs Joanne Siegel and Laura Siegel Larson


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    1 ("Plaintiffs" or "the Siegels"), the widow and daughter of Jerome Siegel ("Siegel")
    2 mailed several notices of termination under section 304( c) of the 1976 Copyright
    3 Act purporting to terminate Siegel's copyright grants to defendant and
    4 counterclaim ant DC's predecessor, Detective Comics, Inc., (the "Superman
    5 Termination Notices"), affecting Siegel's share as a co-author in seven grants of
    6 rights under copyright made by Siegel and Joseph Shuster in certain Superman
    7 comic book stories dating back to 1937. The Superman Termination Notices relate
    8 only to Siegel's - but not Shuster's    participation in these grants.
    9         Shortly after receipt of the Superman Termination Notices, the parties began
   10 settlement negotiations. Following extensive discussions between the parties over
   11 several years, on October 16, 2001, a legal representative for DC, without
   12 acknowledging the validity of the Superman Termination Notices or any claims
   13 based upon those notices, made a settlement offer to the Siegels by telephone
   14 through their prior law firm, Gang Tyre Ramer & Brown ("Gang Tyre").
   15         On October 19, 2001, the Siegels, accepted the October 16,2001 offer,
   16 through an executed writing from Gang Tyre confirming that the Siegels had
   17 "accepted D.C. Comics' offer of October 16, 2001" and outlining all of the material
   18 terms in detail. (See Exhibit A to the Declaration of James D. Weinberger in
   19 Support of Defendants' Motion to Compel ("Weinberger Decl.").) Those terms
   20 included, inter alia, that the Siegels transferred any rights they might have in the
   21 Superman property (which was defined in the letter as Superman, Superboy and
   22 related properties including but not limited to Supergirl, Steel, Lois & Clark, and
   23 Smallville). In exchange, the Siegels were to receive: (a) a sizeable non-returnable
   24 advance; (b) a sizeable non-recoupable and non-returnable signing bonus; (c)
   25 forgiveness of a previously made advance payment; (d) significant guaranteed
   26 minimum payments as advances against royalties; and (e) percentage royalties from
   27 DC's exploitations of Superman across all media, worldwide. (ld.)
   28


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    1        Several months after endeavoring to memorialize the agreement into a long-
    2 form contract in February 2002, DC received several letters from the Siegels. First,
    3 on September 21, 2002, DC was copied on a letter from the Siegels to the Gang Tyre
    4 firm, in which they terminated that firm's representation and explained the basis for
    5 such termination. (Weinberger Decl. Ex. B.) Plaintiffs informed Gang Tyre that
    6 they rejected Gang Tyre's "redraft of the February 4, 2002 document [the long-form
    7 contract noted above] which you sent us on July 15,2002." On the same day, DC
    8 received a second letter from the Siegels stating they were breaking off all
    9 discussions with DC and impliedly and purportedly repudiating the agreement
  10 already reached by the parties. (ld Ex. C.)
   11        On November 8, 2002, Plaintiffs served a "new" notice of termination (the
  12 "Superboy Termination Notice"), relating only to literary works featuring Superboy
  13 and purporting to terminate grants made only by Siegel in the Superboy works
  14 already identified in the Superman Termination Notices.
  15         On October 8, 2004, Plaintiffs filed this first action (the "Superman Action")
  16 seeking a declaration as to the effectiveness of the Superman Termination Notices
  17 and an accounting for Siegel's one-half share in profits from Superman exploitation
  18 following the effective date of the termination. On October 22,2004, Plaintiffs filed
  19 their second action (the "Superboy Action"), seeking a declaration that Plaintiffs
  20 have recaptured all rights in the Superboy literary works. Plaintiffs allege further
  21 that "[d]efendants' ongoing exploitation of the 'Superboy' mythology, including but
  22 not limited to the Superboy Comic Books, and other publications, 'Superboy'
  23 merchandising, animated and live action television programming (e.g., the
  24 Smallville Series)" infringes Plaintiffs' copyright rights in the "Siegel Superboy
  25 Material," namely, the Submissions.
  26         DC filed identical counterclaims in both actions seeking enforcement of the
  27 October 19,2001 settlement agreement agreement; if the claim is successful, all of
  28 Plaintiffs' claims in this case are moot. (See, e.g., Weinberger Decl. Ex. D.) On


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   1 June 21, 2005, Defendants served document requests in these actions seeking
   2 documents concerning the repudiated settlement agreement, including the following
   3 written requests:
   4         Request No. 52
   5                All Writings concerning the settlement discussions between
             Plaintiffs and Defendants that took place from approximately April
   6         17, 1997 through September 30,2002.

   7         Request No. 53
   8                All Writings concerning the October 19,2001 letter from
             Plaintiffs' then counsel to John Schulman [Defendant Warner Bros.
   9         Entertainment Inc. 's general counsel].
  10         Request No. 55
  11                All Writings concerning the draft agreement transmitted to
             Plaintiffs on or about February 1,2002.
  12
             Request No. 58
  13
                    All Writings concerning any communications between
  14         Plaintiffs and any attorney, partner, employee;, agent, or representative
             of the law firm Gang Tyre Ramer & Brown arter September 21,2002.
  15
             Request No. 59
  16
                   All Writings concerning any disposition of any rights relating
  17         to ~uperman, inc1uding but not limited to any solicitation, offer,
             optIOn, agreement or lIcense.
  18
       (Weinberger Decl. Ex. E.) Plaintiffs served identical responses to each of these
  19
       requests as follows:
  20
             Plaintiffs further object to this request on the grounds that it is vague,
  21         ambiguous, overbroad, burdensome and oppressive. Plaintiffs furlher
             object to this Request for Production on tIie ground that it violates
  22         Rule 408 of the Federal Rules of Evidence. Subject to and without
             waiving the foregoing objections, Plaintiffs will produce all non-
  23         privileged documents they are able to determine are responsive to this
             request.
  24
       (Jd. Ex. E.) Plaintiffs produced approximately 1900 pages of documents in
  25
       September 2005, none of which contained purportedly privileged communications
  26
       between them and Gang Tyre. (ld. ~ 8.) Despite several requests, Plaintiffs until
  27
       July 20, 2006 had not produced a privilege log, either. (Jd. ~~ 9, 14 & Exs. G-l, M)
  28


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   1        On April 17, 2006, Defendants served additional discovery requests,
   2 including requests for admission pursuant to Fed. R. Civ. P. 36. (ld. Ex. 1.) In
   3 response to Defendants' Request for Admission No. 69, which asked Plaintiffs to
   4 admit that Gang Tyre was authorized to send the October 19, 2001 letter (id. Ex. A,
   5 accepting DC Comics' offer of settlement), Plaintiffs responded with an unqualified
   6 denial of the request. (Id. Ex. K.) By this denial, Plaintiffs have placed into issue
   7 the defense that Gang Tyre was not authorized to send the October 19, 2001 letter.
   8 No documents or privilege log have been produced by Plaintiffs since serving their
   9 response to Request for Admission No. 69, until Plaintiffs produced a log on July
  10 20,2006. (ld. ~~ 9, 14 & Ex. M.)
  11        In view of Plaintiffs' continuing failure to produce responsive documents or
  12 to identify documents being withheld on the basis of a claimed attorney-client
  l3 privilege, Defendants' counsel wrote to Plaintiffs' counsel on June 27,2006
  14 requesting a conference to discuss the dispute. (ld. ~ 13 & Ex. L.) On July 10,
  15 2006, the parties conducted a meet-and-confer on the issues set forth in this motion
  16 and were unable to come to a satisfactory resolution. (ld. ~ 14.)
  17        B.     PLAINTIFFS HAVE WAIVED PRIVILEGE ON ISSUES
                   RELATING TO THE SETTLEMENT OF THIS ACTION
  18               AND SHOULD THEREFORE BE REQURIED TO
                   PRODUCE RESPONSIVE DOCUMENTS
  19
                   1.    Plaintiffs' Implied Waiver of Privilege Concerning
  20                     Counsel's Authority to Accept Settlement Offer
  21        Defendants have served document requests seeking documents relating to the
  22 settlement negotiations that culminated in Gang Tyre's October 19, 2001 letter in
  23 which attorney Kevin Marks of that firm communicated to Defendants the fact that
  24 "[t]the Siegel Family ... has accepted DC Comics' offer of October 16,2001"
  25 (Weinberger Decl. Ex. E), an agreement Plaintiffs now refuse to honor. In response
  26 to Defendants' Request for Admission No. 69, Plaintiffs stated that the Siegels did
  27 not give Mr. Marks authority to send the October 19,2001 letter. (Weinberger Decl.
  28 Ex. K.)


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   1         Because Plaintiffs have put Gang Tyre's authority in issue in connection with
   2 their defense to DC's counterclaim to enforce the settlement agreement, Plaintiffs
   3 have impliedly waived the attorney-client privilege with respect to the subject
   4 matter related to the settlement between the parties and, thus, Defendants are
   5 entitled to discovery from Plaintiffs on the issue of that authority. See Transamerica
   6 Title Ins. Co. v. Superior Court, 188 Cal.App.3d 1047, 1052-53,233 Cal.Rptr. 825,
   7 828 (Cal. Ct. App. 1987) ("The privilege may also be impliedly waived where a
   8 party to a lawsuit places into issue a matter that is normally privileged. It is said that
   9 in that case the gravamen of the lawsuit is so inconsistent with the continued
  10 assertion of the privilege as to compel the conclusion that the privilege has in fact
  11 been waived.") (citing Wilson v. Superior Court, 63 Cal.App.3d 825, 134 Cal.Rptr.
  12 130 (Cal. Ct. App. 1976)). See also Shapo v. Tires 'N Tracks, Inc., 336 Ill.App.3d
  13 387,394,270 Ill.Dec. 254, 260-61 (Ill. App. Ct. 2002) ("In this case, the core of the
  14 instant litigation is premised upon defendant's complaint that its former attorneys
  15 were not authorized to settle the case on its behalf. Therefore, defendant has placed
  16 the conduct of its former counsel at issue, and waiver is applicable to those earlier
  17 communications between it and its former counsel involving the settlement
  18 agreement, and the trial court did not abuse its discretion by allowing those
  19 communications to be disclosed."); Hartman v. Hook-Superrx Inc., 42 F. Supp. 2d
  20 854 (S.D. Ind. 1999) ("Because of the unique nature of the attorney-client
  21 relationship, and consistent with the public policy favoring settlements, federal law
  22 presumes that an attorney-of-record who enters into a settlement agreement,
  23 purportedly on behalf of a client, has authority to do so .... By refusing to waive the
  24 attorney-client privilege regarding those communications and thus not permitting
  25 the development of evidence of such communications, we seriously doubt that
  26 Plaintiff can rebut the presumption that [his attorney] had authority to bind
  27 [Plaintiff] to the May 9 settlement agreement. "); Steinfeld v. Dworkin, 515 A.2d
  28 1051, 1052 (Vt. 1986) ("[A] party attacking his own attorney's authority to settle


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    1 impliedly waives the privilege as to the very matter he puts in issue ... It would
   2 work an extreme hardship on other litigants and on the court if a party could, at the
   3 same moment, assert the lack of authority to settle and yet prevent facts bearing on
   4 that authority from coming into evidence."). Accordingly, as Plaintiffs have put
   5 Gang Tyre' s authority to settle in issue in this action, they have waived the privilege
   6 with respect to such authority.
   7         Moreover, regardless of whether Plaintiffs are claiming that the October 19,
   8 2001 letter was authorized, whether a client gives her counsel affirmative authority
   9 to settle is never subject to the privilege because such communications are not
  10 intended to be confidential in the first place; without confidentiality, the sine qua
  11 non of any protected communication, no attorney-client privilege exists. See Grand
  12 Lake Drive In, Inc. v. Superior Court, 179 Cal. App. 2d 122, 125 (Cal. Ct. App.
  13 1960) ("When the client does not intend his communication to be confidential, it is
  14 not privileged."); Price v. Superior Court, 161 Cal. App. 2d 650 (Cal. Ct. App.
  15 1958) (same); Griffith v. Davis, 161 F.R.D. 687, 694 (C.D.Cai. 1995) ("[C]ourts
  16 have consistently refused to apply the privilege to information that the client intends
  17 or understands may be conveyed to others."). See also Willard C. Beach Air Brush
  18 Co. v. General Motors Corp., 118 F. Supp. 242, 244 (D.N.J. 1953) (privilege does
  19 not extend to "the client's grant of authority to the attorney to settle, since this must
  20 be communicated to the other party to the settlement and is thus not confidential");
  21 Peters v. Wallach, 321 N.E.2d 806, 809 (Mass. 1975) ("The client's grant of
  22 authority to settle must be communicated to the other party to the settlement and is
  23 thus not confidential."); Diversified Dev. & Inv., Inc. v. Heil, 889 P.2d 1212, 1218
  24 (N.Mex. 1995) (holding that "the attorney-client privilege does not prohibit
  25 [defendant's attorney] from disclosing what [defendant] authorized him to agree
  26 upon with or communicate to [plaintiffJ"); Walsh v. Barcelona Assoc., Inc., 476
  27 N.E.2d 1090, 1093 (Ohio App. 1984) ("By its very nature, a communication from a
  28 client to his attorney conveying authority to the attorney to act on his behalf as his


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    1 agent in entering into an agreement with the opposing party, is a communication
    2 which is intended to be communicated to the opposing party. Because such a
    3 conversation is not intended to be confidential, it is not privileged.") This provides
    4 an alternative basis for the discovery in question.
    5         At the parties' meet and confer on this motion, Plaintiffs claimed that because
    6     in their view   DC's counterclaim to enforce the settlement agreement was
    7 "frivolous," Defendants were not permitted to probe the defenses asserted by
    8 Plaintiffs in response thereto. (Weinberger Decl.1f 14.) This argument turns the
    9 discovery process on its head, and would allow for any party to refuse to meet its
  10 discovery obligations based on a belief that the opposing party's claims were weak.
   11 This is clearly not the case. Indeed, DC's counterclaim has been an integral part of
  12 this litigation since it was asserted in December 2004. (ld. Ex. D.) Plaintiffs did not
  13 move to dismiss the claim, nor have they moved for summary judgment. Under
  14 these circumstances, Defendants are entitled to seek discovery from Plaintiffs on
  15 their defenses to the claim, so long as the discovery sought is likely to lead to the
  16 discovery of admissible evidence. See Fed. R. Civ. P. 26.
  17          Defendants therefore request that the Court enter an order requiring the
  18 immediate production of all documents relating to Gang Tyre's authority (or the
  19 alleged lack thereof), including (i) all correspondence between Gang Tyre and
  20 Plaintiffs relating to the October 19,2001 settlement letter, and (ii) all documents
  21 relating to the terms of the retention of Gang Tyre, as requested, inter alia, by
  22 document requests 52, 53 and 59 as set forth above.
  23                 2.    Plaintiffs' Express Waiver of Privilege Concerning
                           Their RetentIon and Termination of Counsel
  24
              In addition to their implied subject matter waiver of the attorney-client
  25
        privilege, Plaintiffs have also expressly waived the attorney-client privilege with
  26
        respect to the reasons for and fact of termination of the Gang Tyre firm by copying
  27
        certain individuals, including DC's president Paul Levitz on a September 21, 2002
  28


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    1 letter to Gang Tyre tenninating their services and explaining the basis for such
    2 tennination. (Weinberger Decl. Ex. B.). See, e.g., Transamerica, 188 Cal.App. at
    3 1052, 233 Cal.Rptr. at 828 ("The privilege is waived with respect to a protected
    4 communication if any holder of the privilege voluntarily discloses a significant part
    5 of the communication .... "). That letter states as follows:
    6        Kevin S. Marks, Esq.
             Bruce M. Ramer, Esq.
    7        Gang, Ty:re. Ramer 8i Brown, Inc.
             132 South Rodeo Drive
    8        Beverly hills, CA 90212
    9                                  September 21, 2002
   10        Dear Kevin and Bruce,
   11               As we previously. discussed with you and hereby affinn, we
             rejected DC Comics' offer for the Siegel Family interest in Supennan
   12        and other characters sent to us by y'ou on February 4,2002. We
             similarly reject your redraft oftfie February 4, 2002 document which
   13        y'ou sent to us on July 15, 2002. Therefore due to irreconcilable
             Ciifferences, after four years of Qainful and unsatisfYing negotiations,
   14        this letter serves as fonnal notification that we are totally stopping
             and ending all negotiations with DC Comics, Inc., its parent company
   15        AOL Time Warner and all of its representatives and associates,
             effective immediately.
   16
                     This letter is also notification that, effective immediatelY, we
   17        are tenninating (Gang, Tyre, Ramer & Brown, Inc., and all ofyour
             finn' s Q.artners~ aSSOCiates and employees as representatives of the
   18        Siegel Family: Interest regarding Supennan, Superboy, the Spectre
             and all related characters and entities. We instruct you to taKe no
   19        further actions on our behalf.
  20                Please return all materials regarding the above including but
             not limited to files correspondence notes and documents to us
  21         forthwith. These should be sent to Joanne Siegel at the above address.
  22                It is a shame that four years were wasted due to DC Comics
             and AOL Time Warner's greed. We have no intention of publicly
  23         disparagil}g DC or any individual in the parent company. However,
             should DC or its parent company, officers, attorneys, representatives
  24         or spoke~per.sons disparage us or our rights,we WIll vigorously
             respond In kind.
  25
                    Sincerely,                               Sincerely,
  26
                   /s/                                       /s/
  27
                   Joanne Siegel                             Laura Siegel Larson
  28
             cc:   Michael Siegel

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    1                Don Bulson, Esq.
                     Paul Levitz
   2
        (Weinberger Decl. Ex. B.). Plaintiffs have neither produced a copy of the
   3
        September 21, 2002 letter, the July 15,2002 "redraft," or any other documents
   4
        relating to these issues, despite the fact that they were expressly requested in
   5
        Defendants' document requests. See, e.g., Doc. Reqs. 52, 55, 58.
   6
              In response, Plaintiffs claimed at the parties' meet and confer that the Siegels'
   7
        September 21, 2002 letter to Gang Tyre setting forth a detailed basis for their
   8
        termination (Weinberger Decl. Ex. B) does not, by virtue of being sent to DC's
   9
        president, constitute a waiver of the attorney-client privilege. (Weinberger Decl. 'Il
  10
        14.) Plaintiffs' counsel argued that the letter was only sent to DC's president to
  11
        advise him that Gang Tyre was no longer representing the Siegels and thus did not
  12
        constitute a waiver. (ld. 'Il14.) However, DC's president was sent a separate letter
  13
        on the same day advising him of Gang Tyre's termination (id. Ex. C), which
  14
        establishes that this explanation is pure makeweight.
  15
              Plaintiffs also assert that the Siegels were not represented by counsel when
  16
        they sent the September 21,2002 letter to DC's president, and thus could not have
  17
        intended the communication as a waiver of the privilege. (ld. 'Il14.) Intent,
  18
        however, is not required to find that a waiver has occurred:
  19
              The recognition of the attorney-client privilege depends on
  20          confidentIality. When the client destroys the confidentiality that
              forms the baSIS for the privilege, the prIvilege vanishes, regardless of
  21          whether the availabili!y of the privile~e was "known" to tlie client or
              the client "intentionally relinquished' it. ... If an intention to waive
  22          were required, waiver would seldom result from clients' disclosures.
  23 Paul R. Rice, Attorney-Client Privilege in the United States (2d ed. 2006), § 9: 19 at
  24 44-47 (citing, inter alia, United States v. Zolin, 809 F.2d 1411, 1415 (9th Cir. 1987),
  25 aff'd in part, vacated in part on other grounds, 491 U.S. 554, 109 S.Ct. 2619, 105
  26 L.Ed.2d 469 (1989) ("voluntary delivery of a privileged communication ... to
  27 someone not a party" constitutes a waiver); Wei! v. Investment/Indicators, Research
  28


                                                  21
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   1 & Mgm't, Inc., 647 F.2d 18,24 (9th Cir. 1981) (waiver found despite fact that client
   2 did not intend to waive privilege)).
   3        The burden is on Plaintiffs to prove the existence of the privilege. See Weil,
   4 647 F .2d at 25 ("As with all evidentiary privileges, the burden of proving that the
   5 attorney-client privilege applies rests not with the party contesting the privilege, but
   6 with the party asserting it.") (citations omitted). Given the express waiver of the
   7 privilege covering all the issues raised in the September 21, 2002 letter from
   8 Plaintiffs to their counsel as disclosed to DC's president, Plaintiffs cannot meet such
   9 a burden here. Defendants therefore respectfully request that the Court enter an
  10 order that documents relating to Plaintiffs' termination of Gang Tyre be produced
  11 immediately.
  12               3.     Plaintiffs' Failure to Produce a Privilege Log
  13        Plaintiffs' failure to produce a privilege log compounds the problems with the
  14 privilege waivers described above. Because Defendants have neither the responsive
  15 documents nor a log specifYing exactly which documents Plaintiffs claim are subject
  16 to the attorney-client privilege, they are in no position to determine whether
  17 Plaintiffs are improperly withholding the relevant documents.
  18        It is axiomatic that any claim of privilege extends only to the substance of the
  19 allegedly privileged communications. To prevent litigants from misusing or hiding
  20 behind the privilege to avoid their discovery obligations, the Federal Rules of Civil
  21 Procedure require litigants to produce a log of communications and correspondence
  22 that but for the privilege would be responsive and relevant to discovery. See Fed. R.
  23 Civ. P. 26(b)(5); Fed. R. Civ. P. 26(f), Advisory Committee's Note (1983
  24 Amendment). Such logs traditionally include the date of the document, the
  25 identities of the persons from and to whom it was sent or who prepared it, the
  26 general subject matter, and the nature of the privileged claimed. Fed. R. Civ. P.
  27 26(b)( 6). This information is meant to allow the opposing party and the Court to
  28 make a proper evaluation of the propriety of the claim of privilege. See Fed. R. Civ.


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   1 P. 26(0, Advisory Committee's Note (1983 Amendment) ("The purpose of
   2 discovery is to provide a mechanism for making relevant information available to
   3 the litigants .... Thus, the spirit of the rules is violated when advocates attempt to
   4 use discovery tools as tactical weapons rather than expose the facts and illuminate
   5 the issues .... ").
   6         As the Ninth Circuit has held, a privilege log is an absolute requirement for
   7 the proper assertion of a privilege, including the attorney-client privilege and work
   8 product doctrine; mere boilerplate objections or blanket refusals incorporated into
   9 discovery responses - such as the objections Plaintiffs have interposed to nearly
  10 every discovery request served by Defendants - are insufficient to assert a privilege.
  11 Burlington Northern & Santa Fe Railway Co. v. United States Dist. Ct., 408 F.3d
  12 1142, 1149 (9th Cir. 2005). See also Eureka Fin. Corp. v. Hartford Accident &
  13 Indem. Co., 136 F.R.D. 179, 184-85 (E.D. Cal. 1991) (failure "to comply with a well
  14 settled requirement of specifically identifYing the evidence to which a privilege
  15 applies" constitutes a waiver of the attorney-client privilege). Defendants have
  16 requested that Plaintiffs produce a log on several occasions. (Weinberger Dec!. Exs.
  17 G-I.) No response was ever received to any of those inquiries until July 10,2006,
  18 when Plaintiffs represented that such a log was forthcoming. (Id. ~~ 9, 14.) No log
  19 was received by Defendants until July 20, 2006 (id. ~ 14 & Ex. M), and Defendants
  20 maintain that such production is not sufficient to meet their burden of establishing
  21 any privilege. Therefore, Defendants request that the Court enter an order (a)
  22 requiring Plaintiffs to produce a comprehensive privilege log within three (3)
  23 business days from the date of entry of the Court's order, and (b) finding that
  24 Plaintiffs' failure to comply with such order results in a complete waiver of the
  25 attorney-client privilege.
  26 IV.    PLAINTIFFS' CONTENTIONS
  27        A.     PROCEDURAL BACKGROUND
  28        Plaintiffs served Defendant DC their first set of requests for production of


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   1 documents on May 13,2005. (ToberoffDecl. ~ 5). Plaintiffs also served defendant
   2 WB a separate set of requests on May 13,2005. Id., ~ 6. Both Defendants filed
   3 responses to their respective requests on June 13,2005. Id., ~ 7. DC thereafter
   4 produced a small portion of their non-privileged documents available for copying on
   5 August 9,2005. Id., ~ 14, Ex. H. However, DC did not serve a privilege log until
   6 almost eight months later on April 7,2006. Id., ~ 15, Ex. I. Incredibly, despite
   7 Plaintiffs' repeated demands, WB failed to produce any documents for copying until
   8 June 2, 2006, over a year after Plaintiffs' requests. Id., ~ 16, Ex. J. WB
   9 subsequently served their privilege log on June 27,2006, thirteen months after
  10 Plaintiffs'Requests. Id., ~ 17, Ex. K.
  11         Defendants served their first requests for production on June 21, 2005,
  12 (including requests nos. 52, 53, and 55) seeking amongst other documents
  13 communications concerning the settlement proposals discussed in October, 2001.
  14 Id., ~ 8. Plaintiffs responded to these requests on July 21, 2005. Id. Plaintiffs
  15 produced responsive documents shortly thereafter on September 29,2005. Id., ~ 18.
  16         On April 17, 2006, Defendants served a second set of discovery requests to
  17 which Plaintiff responded on June 7, 2006. Id., ~ 19. Plaintiffs produced a detailed
  18 privilege log to Defendants on July 20, 2006. Id., ~ 20, Ex. L.
  19         B.    LEGAL STANDARDS
  20               1.     State Law Applies to Privilege Issues Regarding State
                          Law Component of Federal Claim.
  21
           Rule 501 of the Federal Rules of Evidence provides that when a federal court
  22
  23 hears a civil action in which state law provides the rule of decision, privileges shall
     be determined in accordance with State law." Fed. R. Evid. 501. See Star Editorial
  24
  25 v. United States Dist. Court, 7 F.3d 856,859 (9th Cir. 1993); Amco Ins. Co. v.
  26 Madera Quality Nut LLC, 2006 U.S. Dist. LEXIS 21205, *12 (E.D. Cal. 2006) ("the
  27 discovery in question relates to state law ... claims; thus, the existence and extent of
  28 any privilege is controlled by California law.").



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    1        Work product protection is governed by federal law because it is not a
    2 privilege, but rather is a procedural immunity, or a qualified protection from
    3 discovery. F.D.I.C. v. Fidelity & Deposit Co. of Maryland, 196 F.R.D. 375, 381
    4 (S.D. Cal. 2000).
    5        Therefore, whether Plaintiffs have purportedly waived their attorney-client
    6 privilege with respect to DC's state claim ofa purported settlement agreement is
    7 governed by California law, while the applicability of the work product doctrine is
    8 governed by federal standards.
    9               2.    The Attorney-Client Privilege
   10        The attorney-client privilege is codified in California Evidence Code § 950, et
   11 seq. and in general allows the client "to refuse to disclose, and to prevent another
   12 from disclosing, a confidential communication between client and lawyer .... " Cal.
   13 Evid. Code § 954. It is a privilege owned by the client, not the attorney. The
   14 attorney-client privilege covers all forms of communication, including transmission
  15 of specific documents. Mitchell v. Superior Court, 37 Cal. 3d 591,600 (1984).
  16         "The privilege of confidential communication between client and attorney
  17 should be regarded as sacred. It is not to be whittled away by means of specious
  18 argument that it has been waived. Least of all should the courts seize upon slight
  19 and equivocal circumstances as a technical reason for destroying the privilege."
  20 People v. Kor, 129 Cal.App.2d 436,447 (1954); Sullivan v. Superior Court, 29
  21 Cal.App.3d 64, 71 (1972).
  22         "Clearly, the fundamental purpose behind the privilege is to safeguard the
  23 confidential relationship between clients and their attorneys so as to promote full
  24 and open discussion of the facts and tactics surrounding individual legal matters."
  25 Mitchell, 37 Cal. 3d at 599. The public policy fostered by the privilege seeks to
  26 insure "the right of every person to freely and fully confer and confide in one having
  27 knowledge of the law, and skilled in its practice, in order that the former may have
  28 adequate advice and a proper defense." Baird v. Koerner, 279 F.2d 623,629 (9th


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    1 Cir. 1960); see also 2,022 Ranch, L.L.c. v. Superior Ct., 7 Cal. Rptr. 3d 197,204
    2 (2003).
    3        "Although exercise of the privilege may occasionally result in the suppression
    4 of relevant evidence ... these concerns are outweighed by the importance of
    5 preserving confidentiality in the attorney-client relationship." Mitchell, 37 Cal. 3d
    6 at 599-600, citing City & County ofS.F. v. Superior Court, 37 Ca1.2d 227, 235
    7 (1951).
    8        The burden is on the party claiming waiver of a privilege to prove the
    9 existence of an intentional and knowing waiver. Ringler Associates Inc. v.
   10 Maryland Casualty Co., 80 Cal.App.4th 1165, 1188 (2000); see also Fidelity &
   11 Deposit Co. ofMaryland, 196 F.R.D. at 380.
   12        C.    PLAINTIFFS DID NOT WAIVE THEIR PRIVILEGES ON
                   ISSUES RELATING TO DEFENDANTS' ASSERTION OF A
   13              PURPORTED SETTLEMENT AGREEMENT
   14               1.    Plaintiffs Have Not Impliedly Waived The Attorney-
                          Client Privilege
   15
   16        Defendants improperly seek documents constituting confidential attorney-
   17 client communications relating to the negotiation of a proposed, but never
   18 consummated, settlement of Plaintiffs' Termination regarding "Superman."
   19 (Weinberger Decl., Ex. E). Defendants' argument that Plaintiffs have waived the
  20 attorney-client privilege with respect to such negotiations is meritless. Defendants'
  21 dubious claim is falsely premised on a straw man argument that Plaintiffs have put
  22 the authority of their prior attorney, Kevin Marks ("Marks"), of the firm Gang, Tyre,
  23 Ramer & Brown ("Gang Tyre"), in issue. To stretch to this unsupported conclusion,
  24 Defendants misleadingly argue that "Plaintiffs stated that the Plaintiffs did not give
  25 Mr. Marks authority to send [a] October 19, 2001 letter [containing certain proposed
  26 deal points]."

  27      In fact, Plaintiffs have not, do not and would not ridiculously claim that
  28 Marks, their own attorney, lacked the authority to conduct such negotiations.


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   1 Defendants' waiver argument is based on a single answer to their Request for
   2 Admission No. 69 which has since been substantially supplemented and clarified by
   3 Plaintiffs. Defendants' Request No. 69 stated: "Admit that Kevin Marks was
   4 authorized by Plaintiffs to send the October 19 Letter on Plaintiffs' behalf."
   5           Plaintiffs objected to this Request, including insofar as it focused on
   6 privileged communications between Plaintiffs and their attorney and ultimately
   7 denied the Request, not because Plaintiffs claimed that Marks lacked authority to
   8 negotiate on their behalf but because Plaintiffs had not been furnished with Marks'
   9 October 19,2001 letter before it had been sent to DC's counsel. (ToberoffDecl., ~
  10 2). In their motion, Defendants mischaracterize the parties' "meet and confer"
  11 session and conveniently omits that Plaintiffs' counsel provided this very
  12 explanation to DC's counsel and offered to clarifY its response by amending it. Id.,
  13   ~ 22.   Plaintiffs thereafter amended their response to Request No. 69 (see Toberoff
  14 Decl., Ex. M) as follows:
  15           "Plaintiffs additionally object to this Request No. 69 on the basis that it
               inherently requests the disclosure of attorney-client communications between
  16
               Plaintiffs and their attorney, Kevin Marks ("Marks"). Subject to and without
  17           waiving the foregoing general and specific objections, Plaintiffs respond as
               follows: Plaintiffs admit only that Marks acted within the scope of his
  18
               authority in communicating Plaintiffs' conditional interim approval of the
  19           basic deal points set forth in the October 19 Letter, however such approval
               (and authorization) was reasonably conditioned upon (l) such deal points
  20
               being properly reflected in a final written settlement agreement containing no
  21           additional new terms or revised terms that were unacceptable to Plaintiffs and
               (2) Plaintiffs' careful review, approval and execution of a final written
  22
               settlement agreement. Plaintiffs did not receive a copy of the October 19
  23           Letter prior to it being sent by Marks to defendant Warner Bros.
               Entertainment Inc.'s general counsel, John Schulman, and, as such, did not
  24
               approve the form or wording of the October 19 Letter."
  25
               Plaintiffs have not put into issue Marks' authority as their attorney to act on
  26
  27 their behalf in settlement negotiations, nor have Plaintiffs waived their attorney-
  28 client privilege with respect to communications with their attorneys regarding these



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   1 negotiations.
   2         The attorney-client privilege may be impliedly waived where a party to a
   3 lawsuit places into issue a matter that is normally privileged. It is said in such case
   4 that the gravamen of the lawsuit is so inconsistent with the continued assertion of
   5 the privilege as to compel the conclusion that the privilege has in fact been waived.
   6 Wilson v. Superior Court, 63 Cal.App.3d 825, 830 (1976). The scope of such an
   7 implied waiver, however, is very narrowly defined and the information required to
   8 be disclosed must fit strictly within the confines of the waiver. See, e.g., Travelers
   9 Ins. Companies v. Superior Court 143 Cal.App.3d 436 (1983); Jones v. Superior
  10 Court, 119 Cal.App.3d 534, 547 (1981).
  11         Here, Plaintiffs have not placed into issue Marks' authority, nor is Marks'
  12 authority by any means the gravamen of this lawsuit. Privileged communications do
  l3 not become discoverable simply because they are related to issues raised in the
  14 litigation. Schlumberger Limited v. Superior Court, 115 Cal.App.3d 386,393
  15 (1981).
  16         The attorney-client privilege is not to be set aside when one party seeks
  17 verification of the authenticity of its adversary's position. Mitchell, 37 Cal. 3d at
  18 606, illustrates this point. There, the defendant argued that discovery of privileged
  19 information might help it verifY the genuineness and reasonableness of the
  20 Plaintiffs' claim for emotional distress. The court reasoned that what was at issue
  21 was the Plaintiffs' state of mind as to her emotional distress and not the state of
  22 mind of her attorneys. Id.
  23         In support of its "placing in issue" implied waiver argument, Defendants cite
  24 Transamerica Title Ins. Co. v. Superior Court, 188 Cal.App.3d 1047 (1987), where
  25 the court upheld the attorney-client privilege although its exercise might suppress
  26 relevant evidence. Id. at 1052. In discussing implied waiver, the court made clear
  27 that "the privilege is not to be set aside when one party seeks verification of the
  28 authenticity of its adversary's position." Id. at 543, citing Mitchell, 37 Ca1.3d at


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    1 600.
    2        The "in issue" doctrine creates an implied waiver of the privilege only when
    3 the client tenders an issue involving the substance or content of a protected
    4 communication, not where the privileged communication simply represents one of
    5 several forms of indirect evidence in a particular case. Mitchell, 37 Ca1.3d at 606.
    6 Generally, implied waivers are limited to situations, if any, where the client has
    7 placed in issue the decisions, conclusions, and mental state of the attorney who will
    8 be called as a witness to prove such matters. Estate ofKime, 144 Cal.App.3d 246,
    9 259 (1983). Plaintiffs have neither placed in issue the substance or content of their
   10 protected communications with their attorney nor their attorney's mental state
   11 regarding settlement negotiations and proposals.
  12         Defendants string cite inapplicable cases from random jurisdictions such as
  13 Hartman v. Hook-Superx Inc., 42 F. Supp. 2d 854 (S.D. Ind. 1999), Shapo v. Tires
   14 'N Tracks, Inc., 336 Ill. App. 3d 387 (2002) and Steinfeldv. Dworkin, 515 A.2d
  15 1051 (Vt. 1986), where, in each case, a party attempted to extricate itself from a
  16 clear unequivocal settlement agreement by frivolously claiming that their attorney
  17 lacked the authority to act on their behalf. No such agreement exists in this case.
  18         Defendants alternatively argue that whether a client has given her attorney
  19 authority to conduct settlement negotiations is not intended to be confidential and is
  20 therefore never privileged. From there, Defendants attempt to bootstrap their
  21 argument that they are entitled to clearly privileged communications regarding such
  22 negotiations. Defendants' argument is largely disingenuous because Defendants do
  23 not seek by this motion documents relevant to whether Plaintiffs authorized their
  24 attorney to conduct settlement negotiations (authorization which is presumed and
  25 admitted by Plaintiffs). Rather, Defendants use this Trojan Horse excuse to obtain
  26 clearly privileged communications relating to the strategies and mental processes of
  27 Plaintiffs and their attorneys in such settlement negotiations.
  28         None of Defendants' cited authority deals with analogous circumstances or


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    1 finds that the attorney -client privilege is waived with respect to settlement
    2 negotiations as broadly claimed by Defendants. See e.g., Lake Drive In., Inc. v.
    3 Superior Court, 179 Cal. App. 2d 122 (I 960) (in slip and fall case at defendant's
    4 restaurant, defendant's expert could not avoid answering questions regarding slip
    5 location on account of attorney-client privilege); Price v. Superior Court, 161 Cal.
    6 App. 2d 650 (1958) (witness statement not privileged where agent requesting
    7 recorded statement told witness that statement would be available to all parties).
    8           Defendants further demand to see Plaintiffs' retainer agreement with Gang
    9 Tyre to which they are also not entitled. See W. Digital Corp. v. Superior Court, 60
  10 Cal. App. 4th 1471, 1482-83 (1998) (retainer agreement not discoverable ifit
   11 embodies any confidential information or litigation strategy). An attorney may
  12 invoke the attorney-client privilege to protect information regarding a client's
  13 retainer agreement if disclosure would "convey[] information which ordinarily
  14 would be conceded to be part of the usual privileged communication between
  15 attorney and client." In re Horn, 976 F.2d 1314, 1317 (9th Cir. 1992); see also In re
  16 Osterhoudt, 722 F.2d 591,593-94 (9th Cir. 1983).
  17            In Horn, the court noted that letters of consultation and retainer agreements
  18 describing the intended scope of the attorney-client relationship could reveal the
  19 client's motivation for seeking legal representation and thus, such a demand
  20 constituted an "unjustified intrusion into the attorney-client relationship." 976 F.2d
  21 at 1318. Plaintiffs' retainer agreement with Gang Tyre indeed reveals confidential
  22 information including both Plaintiffs' motivation and the scope of legal services and
  23 is therefore privileged. (ToberoffDecl., ~ 24).
  24                  2.     Plaintiffs Did Not Expressly Waive The Attorney-
                             Client Privilege In The September 21,2002 Letter
  25
  26            Plaintiffs' mistaken provision to Paul Levitz of DC of a copy of its September
  27 21, 2002 letter 3 terminating the legal services of Gang Tyre did not function as an

  28
        3   At the time the September 21, 2002 letter was sent by Plaintiffs, they were

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    1 express waiver of the attorney-client privilege regarding the reasons Plaintiffs chose
    2 to do so. Nor did the letter waive Plaintiffs' privilege with respect to attorney-client
    3 communications and attorney work product referenced therein or privileged
    4 communications regarding "all issues" raised by the letter, as Defendants
    5 erroneously argue.
    6        Plaintiffs' mere reference to attorney-client communications in the September
    7 21, 2002 letter, devoid of a discussion of the contents of those communications,
    8 does not result in the waiver of the attorney-client privilege. In order for a
    9 communication's privileged status to be waived, the holder of the privilege must
   10 disclose "a significant part of the communication" or specifically consent to its
   11 disclosure. Cal. Evid. Code § 912. What constitutes a significant part of the
   12 communication is a matter of judicial interpretation; however, the limited scope of
   13 any such waiver should be determined primarily by reference to the protective
   14 purposes of the privilege. Jones, 119 Cal.App.3d at 547.
  15          "[A] disclosure that a communication did occur that does not disclose the
  16 specific content of the communication may not waive the privilege." People v.
  17 Hayes, 21 Cal. 4th 1211, 1266 (1999); Mitchell, 37 Cal. 3d at 601 (1984) (Client's
  18 disclosures, "at most, affirmed that she had discussed certain warnings with her
  19 attorneys, and in no way revealed a significant part of the substance of those
  20 discussions.")
  21         Whereas "cc'ing" the September 22,2002 letter to Paul Levitz may be found
  22 to have waived the privilege with respect to this letter, itself, Plaintiffs' reference in
  23 the September 22,2002 letter to DC's February, 2002 counter-offer (i.e., DC's
  24 February 1, 2002 agreement draft) and to Marks' re-drafting of a counter-proposed
  25 agreement that ultimately was never sent to Defendants, surely does not disclose the
  26 specific substance of Marks' proposed re-draft and/or other attorney-client
  27
  28 effectively without counsel and merely "cc'ed" Paul Levitz, a DC executive with
     whom Plaintiffs had developed a friendship over the years, to avoid any confusion.

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   1 communications, and, as such, does not waive such communications.
   2        Defendants mischaracterize the permissible scope of the waiver they
   3 advocate. The waiver exception has been very narrowly construed, and applied only
   4 "if facts relevant to a particular, narrow subject matter have been disclosed in
   5 circumstances in which it would be unfair to deny the other party an opportunity to
   6 discover other relevant facts with respect to that subject matter." Hercules, Inc. v.
   7 Exxon Corp., 434 F. Supp. l36, 156 (D. Del. 1977); Starsight Telecast v. Gemstar
   8 Development Corp., 158 F.R.D. 650, 654 (N.D. Cal. 1994); Southern Cal. Gas Co.
   9 v. Public Utilities Com., 50 Cal. 3d 31, 40 (1990) (disclosure must be "essential for
  lOa fair adjudication of the action"). As in this case, "[i]f a discernible line exists
  11 between the information withheld and the information disclosed, the line should be
  12 maintained." Starsight, 158 F.R.D. at 655.
  l3        In Travelers Ins. Companies v. Superior Court, 143 Cal. App. 3d 436,444
  14 (1983), for instance, the court held that the client's acknowledgment of attorney
  15 communications with regard to certain matters in its interrogatory responses had not
  16 reached the point of substantial disclosure wherein the privilege ceased to operate.
  17 The client's responses were not "wide enough in scope and deep enough in
  18 substance to constitute 'a significant part of the communication.'" Id The same
  19 can be said for Plaintiffs' brief reference to previous attorney-client communications
  20 in the September 21,2002 letter. See Mitchell, 37 Cal. 3d at 603 (client's
  21 "admission did not disclose any of the actual substance or content").
  22        Moreover, to the extent, if any, that Plaintiffs discussed in the September 21,
  23 2002 letter the facts underlying privileged communications, this also does not waive
  24 the privilege. Upjohn Co. v. United States, 449 US 383, 395, 101 S Ct 677,66 L Ed
  25 2d 584 (1981). "The attorney-client privilege seeks to protect the conversations and
  26 communications between the attorney and client, not merely the conclusions
  27 developed by those conversations or the fact that such conversations occurred."
  28 Southern Cal. Gas Co., 50 Cal. 3d at 49. A finding of waiver in the instant case,


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   1 where the existence of privileged communications was merely recited in the
   2 September 21, 2002 letter, would completely undermine the purpose and protections
   3 of the attorney-client privilege.
   4           Nor can Defendants claim that Plaintiffs' disclosure of one privileged
   5 communication terminating its attorneys necessarily triggers further disclosures.
   6 "Waiver of privilege as to one aspect of a protected relationship does not necessarily
   7 waive the privilege as to other aspects of the privileged relationship." Rodriguez v.
   8 Superior Court, 14 Cal. App. 4th 1260, 1270 (1993). Nothing in Defendants'
   9 authority supports the argument that voluntary disclosure of a privileged
  10 communication waives the privilege as to documents merely referenced in the
  11 disclosed communication. See United States v. Zolin, 809 F .2d 1411, 1416 (9th Cir.
  12 1985), aff'd in part, vacated in part on other grnds, 491 U.S. 554, 109 S.Ct. 2619,
  13 105 L.Ed.2d 469 (1989) (privilege only waived as to tapes actually given to third
  14 party).
  15        Interestingly, Defendants rely on Transamerica Title Ins. Co., 188 Cal. App.
  16 3d 1047, where the attorney client privilege was upheld despite voluntary disclosure
  17 by the client of a privileged letter. Id at 1053 (noting that "[e]xcept for the June 21
  18 letter, no attorney-client communications were revealed to any other party ."). The
  19 appellee's far-reaching waiver arguments were rejected as such waiver would
  20 "surely impinge on [the appellant's] ability to freely and openly communicate to its
  21 attorneys." Id
  22                 3.    The Attorney Work Product Doctrine Also Protects
                           Documents Sought By Defendants
  23
           Rule 26 of the Federal Rules of Civil Procedure mandates that "the court shall
  24
  25 protect against disclosure of the mental impressions, conclusions, opinions, or legal
  26 theories of an attorney or other representative of a party." See Garcia v. City ofEl
  27 Centro, 214 FRD 587, 591 (S.D. Cal. 2003) (work product guards against divulging
  28 an attorney's strategies and legal impressions); Handgards, Inc. v. Johnson &



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   1 Johnson, 413 F Supp 926, 930 (N.D. Cal. 1976) (doctrine "aimed at protecting the
   2 effectiveness of a lawyer's trial preparations by immunizing such materials from
   3 discovery"); Hickman v. Taylor, 329 U.S. 495, 510-11, 91 L. Ed. 451, 67 S. Ct. 385
   4 (1947).
   5        According to the plain text of Rule 26 of the Federal Rules of Civil
   6 Procedure, the work product doctrine applies not only to documents created by the
   7 attorney, but also by the party and its representatives. Further, the doctrine applies
   8 not only where litigation is pending, but also where it is anticipated. That is, the
   9 party, as here, must hold a reasonably objective belief that litigation is a possibility.
  10 See E.E.o.c. v. Lutheran Soc. Svcs., 186 F.3d 959,968 (D.C. Cir. 1999).
  11         Courts even afford work product protection to documents in which an
  12 attorney collates or categorizes the facts. Thus, while the facts themselves are not
  13 privileged, the compilation is protected as work product. In re Grand Casinos, Inc.,
  14 181 FRD 615, 622 (D. Minn. 1998). In addition, although the work product
  15 privilege is inapplicable to purely factual materials, courts must be particularly
  16 sensitive to that possibility that an attorney's discussion of factual matters will
  17 reveal tactical or strategic thoughts. Powell v. United States, Dep't ofJustice, 584 F
  18 Supp 1508, 1520 (N.D. Cal. 1984).
  19         The work product privilege is intended to prevent a litigant from taking a free
  20 ride on the research and thinking of his opponent's lawyer and to avoid the resulting
  21 deterrent to a lawyer's committing his thoughts to paper. See, e.g., United States v.
  22 Nobles, 422 U.S. 225, 238, 45 L. Ed. 2d 141,95 S. Ct. 2160 (1975).
  23         Here, Defendants' requests ignore the attorney work product doctrine. The
  24 documents sought by Defendants - documents relating to settlement negotiations,
  25 attorney-client communications and particularly, Marks' July 15,2002 draft
  26 settlement agreement that was never sent to Defendants        necessarily embody the
  27 mental impressions, opinions, strategies and/or legal theories of Plaintiffs' attorneys
  28 and are squarely covered by the work product doctrine. Defendants should not be


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   1 allowed to gain access to the fruits of Plaintiffs' counsel's legal analysis or
   2 strategies. Durkin v Shields (In re Imperial Corp. ofAm.), 167 F.R.D. 447, 453
   3 (S.D. Cal. 1995).
   4         There has been no waiver of work product protection in the instant case; to
   5 the contrary, the protection is intended to apply in precisely this type of situation.
   6 "The doctrine assures an attorney that his private files shall remain free from
   7 intrusions of opposing counsel in the absence of special circumstances."
   8 Handgards, 413 F Supp at 930. As Defendants have not demonstrated such
   9 circumstances or necessity, Defendants' motion to compel such documents should
  lObe denied.
  11               4.     Plaintiffs Have Produced A Detailed Privilege Log
  12         Plaintiffs' timely responses to Defendants' requests for production properly
  13 objected to the disclosure of documents protected by the attorney-client privilege
  14 and the work product doctrine. On July 20, 2006, Plaintiffs furnished Defendants
  15 with a 25 page privilege log, containing 342 entries, properly setting forth with
  16 respect to each communication: the date, sender, recipient, the nature of the
  17 privilege claimed, the document type and the present location of the document.
  18 (ToberoffDecl., Ex. L). Defendants conveniently omit that Plaintiffs informed
  19 Defendants in June, 2006 that they were in the process of assembling this detailed
  20 privilege log. Id., ~ 19.
  21        Defendants' waiver claim is sharply at odds with their own behavior
  22 regarding the disclosure to Plaintiffs of their respective privilege logs: Defendant
  23 DC did not serve Plaintiffs with a privilege log until almost eight months after
  24 Defendants responses to Plaintiffs' discovery requests were due; and its parent,
  25 Defendant WB waited thirteen months to comply . Yet now it is Defendants who
  26 baldly claim that Plaintiffs have entirely waived their attorney client privilege with
  27 respect to all privileged documents based on a comparable delay in presenting their
  28 priVilege logs.


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    1        Defendants' argument that failure to submit a privilege log in a timely manner
   2 waives the underlying privilege is incorrect. In Burlington Northern & Santa Fe
    3 Railway Co. v. United States Dist. Ct., 408 F.3d 1142 (9th Cir. 2005) the court
    4 explicitly rejected the contention that the failure to produce a privilege log within
    5 the 30 day period prescribed by Rule 34 of the Federal Rules of Civil Procedure
    6 constitutes a waiver of privilege. Id at 1147. See also Hardeman v.
   7 AmtrakiCaltrain R.R., 2006 U.S. Dist. LEXIS 28861, *3 (N.D. Cal. 2006).
    8        The Court should instead make a case by case determination of factors such
    9 as: the timeliness of the objection and accompanying information about the withheld
   10 documents; the magnitude of the document production; and other particular
  11 circumstances of the litigation that make responding to discovery unusually easy or
  12 unusually hard, including the relative sophistication of the party compiling the log.
   13 Burlington, 408 F.3d at 1149. Here, considering that the dispute over "Superman"
  14 and "Superboy" has been going on for decades, Plaintiffs had a very considerable
  15 amount of documents to sift through and analyze. It took Defendants, sophisticated
  16 multinationals with no less than three law firms tending to their discovery
  17 compliance, 8-13 months to provide Plaintiffs with their privilege logs; it is little
  18 wonder Plaintiffs would need as much time to comply as well. Therefore, Plaintiffs,
  19 having now provided Defendants with a substantial privilege log, have not in any
  20 way waived their attorney-client privilege as to these protected communications.
  21    v.   DEFENDANTS' CONCLUSION
  22         Plaintiffs' effort to avoid the consequences of their actions in which they
  23 affirmatively waived the attorney-client privilege on two discrete issues relevant to
  24 this litigation must be stopped. Not only have Plaintiffs improperly asserted
  25 privilege in the face of their waiver, but they have not event attempted to properly
  26 substantiate their position by providing Defendants with a privilege log.
  27 Accordingly, Defendants respectfully requests that their motion to compel be
  28 granted.


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 1 VI.          PLAINTIFF'S CONCLUSION
 2              For the foregoing reasons, Plaintiffs respectfully request that this court deny
 3 Defendants' motion to compel in its entirety.
 4 Respectfully submitted,
 5 DATED: July 24, 2006
                                                                 FROSS ZELNICK LEHRMAN & ZISSU, P.C.

 6                                                               PERKINS LA W OFFICE, P.C.

 7                                                                          -and-

 8                                                               WEISSMANN WOLFF BERGMAN
                                                                  COLEMAN GRODIN & EVALL LLP
 9
10
11
                                                                 BY:l:~~ 'L- ~
12                                                               Attorneys for Defendants and Counterclaimant

13 DATED: July 24, 2006                                          LA W OFFICES OF MARC TOBEROFF, PLC
                                                                 Marc Toberoff
14                                                               Nicholas C. Williamson
 15
16                                                               By: /?7//~
                                                                    Marc Toberon
17                                                               Attorneys for Plaintiffs/Counterclaim-Defendants
18
19    l:yweinberger\dcclSiegei Litigation\Pleadings\{)4cv84001060724.0425344.Joint Slip on Defs Motion to Compel Ie Privilege (Finalrjdw.doc

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 1
                                         PROOF OF SERVICE
 2
     STATE OF CALIFORNIA                          )
 3                                                ) ss.
     COUNTY OF LOS ANGELES                        )
 4

 5           I am employed in the County of Los Angeles, State of California; I am over the age of 18
     and not a party to the within action; my business address is 9665 Wilshire Blvd, Ninth Floor,
 6   Beverly Hills, California 90212. On the date shown below, I served the documents described as:
     NOTICE OF MOTION RE: JOINT STIPULATION; JOINT STIPULATION RE:
 7
     DEFENDANTS' MOTION TO COMPEL PRODUCTION OF DOCUMENTS on the
 8   interested parties in said action, by placing a true copy thereof enclosed in a sealed envelope,
     addressed as follows:
 9
     Marc Toberoff
10   Law Offices of Marc Toberoff, PLC
     1999 Avenue ofthe~~
11   Los Angeles, CA 90067
     Fax No.: (310) 246-3101
12

13          (BY MAIL) I am "readily familiar" with the finn's practice of collection and processing
            correspondence for mailing. Under that practice it would be deposited with the U.S. postal
14          service on that same day with postage thereon fully prepaid at Beverly Hills, California. I
            am aware that on motion of the party served, service is presumed invalid if postal
15
            cancellation date or postage meter date is more than one day after date of deposit for
16          mailing in affidavit.

17          (FACSIMILE SERVICE) I caused such document to be transmitted via facsimile to the
            offices of the addressees at the numbers listed above.
18

19   XX     (PERSONAL SERVICE) I caused such envelope to be delivered by hand to the
            addressees above.
20
            (BY FEDERAL EXPRESS) I caused a copy of such document(s) to be delivered to the
21
            offices of the addressee(s) via Federal Express, next business day delivery service.
22
            Executed on July 24, 2006, at Beverly Hills, California.
23
            ST ATE          I declare under penalty of peIjury under the laws of the State of California
24
            that the foregoing is true and correct.
25
            FEDERAL I declare that I am employed in the office of a member of the bar of this
26          court at whose direction the service was made.

27

28
                                                          Pamela Crawford

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                                                                                                                          CLERK, U.S. DISTRICT COURT

                                                Marc Toberoff (CA State Bar No. 188547)
                                                Nicholas C. Williamson (CA State Bar No. 231124)                                JUL 2 4 2006
                                            2   LAW OFFICES OF MARC TOBEROFF, PLC
                                                2049 Century Park East, Suite 2720                                       CENTRAL DISTRICT OF CALIFORNIA
                                            3   Los AngelesCA 90067                                                      BY
                                                                                                                                                 DEPUTY

                                                Telephone: c310) 246-3333
                                            4   Facsimile: ( 10) 246-3101
                                            5   Attorneys for Plaintiffs and Counterclaim Defendants
                                                JOANNE SIEGEL and LAURA SIEGEL LARSON
                                            6
                                                                            UNITED STATES DISTRICT COURT
                                            7
                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                            8

                                            9   JOANNE SIEGEL, an individual; and                 Case Nos.:
                                        10      LAURA SIEGEL LARSON, an                           CV 04-08400 RSWL (RZx)
                                                individual,                                       CV 04-08776 RSWL (RZx)
                                        11                  Plaintiffs,
                                                      V S.                                        [Honorable Ronald S. W. Lew]
                                        12
                                                                                                  [Honorable Ralph Zaresky]
                                        13      TIME WARNER INC., a corporation;
                                        14      WARNER COMMUNICATIONS                            DECLARATION OF MARC
                                                INC., a corporation; WARNER                      TOBEROFF IN OPPOSITION TO
                                       15                                                        DEFENDANTS' MOTION TO
                                                BROS. ENTERTAINMENT INC., a                      COMPEL PRODUCTION OF
                                       16       corporation; WARNER BROS.                        DOCUMENTS
                                                TELEVISION PRODUCTION INC.,                       DISCOVERY MATTER
                                       17       a corporation; DC COMICS, a general               LOCAL RULE 37
                                       18       partnership; and DOES 1-10,
                                       19                         Defendants.                     [Complaint filed: October 22, 2004]
                                       20
                                                DC COMICS,
                                 0




                                                                                                  Date: August 14, 2006
N 1:1 1113 11G NVIA1 8 0 3 1\1 0




                                       21                                                         Time: 10:00 a.m.
                                                                                                  Place: Courtroom 540
                                       22                          Counterclaimant,               Mag. Judge Ralph Zarefsky
                                                    VS.
                                       23

                                       24       JOANNE SIEGEL, an individual; and
                                                LAURA SIEGEL LARSON, an
                                       25
                                                individual,
                                      26
                                                               Counterclaim Defendants.
                                      27

                                      28


                                                             Declaration Of Marc Toberoff In Opposition To Defendants' Motion To Compel

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       1                      DECLARATION OF MARC TOBEROFF
      2           I, Marc Toberoff, declare as follows:
      3           1.      I am an attorney at the Law Offices of Marc Toberoff, PLC, counsel of
      4    record for plaintiffs Laura Siegel Larson and Joanne Siegel ("Plaintiffs"). I am a
      5 member in good standing of the State Bar of California and submit this declaration in
      6    opposition to defendants' ("Defendants") Motion to Compel Production of
      7 Documents. I have personal knowledge of the facts set forth in this declaration and,
      8    if called as a witness, could and would testify competently to such facts under oath.
      9           2.     My review of the legal file of Plaintiffs' prior attorney, Kevin Marks
  10 ("Marks") revealed that Plaintiffs had not been furnished Marks' October 19, 2001
  11 letter before it was sent to DC's counsel.
  12              3.     A true and correct copy of a letter dated October 26, 2001 to Marks from
  13       John Schulman ("Schulman"), General Counsel of Defendant Warner Bros.
  14 Entertainment, Inc. ("WB"), on behalf of Defendant DC Comics ("DC"), is attached
  15       hereto as Exhibit "A." At the request of Defendants, financial terms, not relevant to
  16       the present motion, have been redacted pursuant to the parties' Protective Order.
  17              4.     A true and correct copy of a letter dated February 1, 2002 from DC's
  18       attorney, Patrick Perkins, to Marks, enclosing a February 1, 2002 draft agreement is
  19 attached hereto as Exhibit "B."
  20              5.     On May 13, 2005, I caused Defendants' attorneys herein to be served
  21       with Plaintiffs' first set of requests to DC for production of documents.
  22             6.      On May 13, 2005, I caused Defendants' attorneys to be served with
  23       Plaintiffs' first set of requests to WB for production of documents.
  24             7.      On June 13, 2005, Defendants DC and WB served my law offices with
 25        responses to Plaintiffs' respective requests for production.
 26              8.      On June 21, 2005, Defendants served my law offices with their first
 27        requests for production to Plaintiffs which sought, amongst other documents,
 28        communications concerning the parties' settlement proposals in October, 2001. On

                       Declaration Of Marc Toberoff In Opposition To Defendants' Motion To Compel

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       1    July 21, 2005, I caused Plaintiffs' responses to these requests to be served on
      2    Defendants.
      3           9.       A true and correct copy of a July 15, 2005 letter from Defendants'
   4        attorney, James Weinberger ("Weinberger"), to Larry Greenfield ("Greenfield"),
      5    previously an attorney in my law offices, is attached hereto as Exhibit "C."
   6              10.     A true and correct copy of a July 18, 2005 letter from Greenfield to
   7       Weinberger is attached hereto as Exhibit "D."
   8              11.     A true and correct copy of a July 25, 2005 letter from Weinberger to
   9       Greenfield is attached hereto as Exhibit "E."
  10              12.     A true and correct copy of a July 26, 2005 letter from me to Weinberger
  11       is attached hereto as Exhibit "F."
  12              13.     A true and correct copy of an August 2, 2005 letter from Weinberger to
  13       me is attached hereto as Exhibit "G."
  14              14.     In response to Plaintiffs' first set of requests for production, DC made a
  15       portion of their non-privileged documents available for copying on August 9, 2005.
  16       A true and correct copy of the letter from Weinberger to me dated August 9, 2005
  17       informing me of this is attached hereto as Exhibit "H."
  18              15.     Defendant DC did not serve a privilege log on my law offices until April
  19       7, 2006. A true and correct copy of the letter from Weinberger to me dated April 7,
  20       2006 enclosing DC's privilege log is attached hereto as Exhibit "I."
  21              16.     In response to Plaintiffs' first set of requests for production served on
 22        WB on May 13, 2005, WB first made documents available to Plaintiffs for copying
  23       on June 2, 2006. A true and correct copy of the letter dated June 2, 2006 from
 24        Defendants' attorneys informing me of this is attached hereto as Exhibit "J."
 25               17.     WB subsequently served their privilege log on my law offices on June
 26        27, 2006. A true and correct copy of the letter dated June 27, 2006 from Defendants'
 27        attorneys to me enclosing their privilege log is attached hereto as Exhibit "K."
 28
                                                            2

                        Declaration Of Marc Toberoff In Opposition To Defendants' Motion To Compel

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       1          18.      On September 29, 2005, in response to Defendants' first set of requests
       2   for production, I caused documents of Plaintiffs to be made available to Defendants
       3   for copying.
       4          19.      On April 17, 2006, Defendants served a second set of discovery requests
       5   on my law offices. I caused Plaintiffs' responses to these requests to be served on
       6   June 7, 2006, and on or about this time I informed Defendants that Plaintiffs were in
       7   the process of assembling a detailed privilege log.
       8          20.      On July 20, 2006, I caused Plaintiffs' privilege log to be served on
    9      Defendants. A true and correct copy of Plaintiffs' privilege log is attached hereto as
   10      Exhibit "L."
   11             21.     In a July 20, 2006 telephone conference, I informed Defendants' counsel
   12      that Plaintiffs would shortly furnish Defendants with a supplemental privilege log.
   13             22.     On July 10, 2006, I met and conferred with Defendants' counsel
  14       Weinberger wherein I specifically explained the reasons why Plaintiffs had denied
  15       Defendants/Counterclaimants' Request For Admission No. 69 and offered to provide
  16       in clarification an amended response by Plaintiffs.
  17              23.     A true and correct copy of Plaintiffs' Supplemental Response To
  18       Defendants/Counterclaimants' Request For Admission No. 69, dated July 21, 2006, is
  19       attached hereto as Exhibit "M."
  20              24.     My review of the Plaintiffs' retainer agreement with Gang Tyre revealed
  21       that such agreement contains confidential information, including Plaintiffs'
  22       motivation for seeking legal representation and the scope of legal services.
  23             I declare under penalty of perjury of the laws of the United States of America
  24       that the foregoing is true and correct.
  25             Executed on July 24, 2006 in Los Angeles, California.
  26

  27
                                                                    Marc Toberoff
  28
                                                            3

                        Declaration Of Marc Toberoff In Opposition To Defendants' Motion To Compel

                                               EXHIBIT 38
                                                  610
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               EXHIBIT 39
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                                  Page ID #:32173                 CONFORMED COPY


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13
   Attorneys for Defendants and Counterclaimant
14
                            UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16     JOANNE SIEGEL and LAURA SIEGEL        Case Nos. [Consolidated for Discovery]:
       LARSON,                                     04-8400 RSWL (RZx)
17                Plaintiffs,                      04-8776 RSWL (RZx)
18           vs.                             Hon. Ronald S.W. Lew, U.S.D.J.
       WARNER BROS. ENTERTAINMENT            Hon. Ralph Zarefsky, U.S.M.J.
19     INC.; TIME WARNER INC.; DC
       COMICS; and DOES 1-10,                SUPPLEMENTAL MEMORANDUM
20                Defendants.                IN SUPPORT OF DEFENDANTS'
       JOANNE SIEGEL and LAURA SIEGEL        MOTION TO COMPEL
21                                           PRODUCTION OF DOCUMENTS
       LARSON,
22                Plaintiffs,                DISCOVERY MATTER
             vs.                             LOCAL RULE 37
23     TIME WARNER INC.; WARNER
       COMMUNICATIONS INC.; WARNER           Time: 10:00 a.m.
24     BROS. ENTERTAINMENT INC.;             Date: August 14, 2006
       WARNER BROS. TELEVISION               Courtroom: 540
25     PRODUCTION INC.; DC COMICS; and       Mag. Judge Ralph Zarefsky
       DOES 1-10,                            Discovery Cutoff: Nov. 17, 2006
26                Defendants.
27     AND RELATED COUNTERCLAIMS
28



                                   EXHIBIT 39
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 1           This motion to compel was filed in response to Plaintiffs' improper attempt to use
      the privilege as both shield and sword: to prevent discovery relevant to Defendants'
 3 counterclaim to enforce the parties' settlement agreement, and simultaneously to defend
 4 against that enforcement. Plaintiffs' response, rather than justifying their position, is
 5 littered with excuses based on bare assertions of counsel, as opposed to competent
 6 testimony from Plaintiffs themselves. Accordingly, Defendants now submit this
 7 supplemental memorandum of law in further support of their motion.'
 8 I.       Plaintiffs' Supplemental Response to RFA 69 Makes Clear that They
            Have Put Counsel's Authority to Settle in Issue in this Litigation
 9
            Defendant DC Comics has counterclaimed to enforce a settlement agreement
10
      between the parties contained in and evidenced by an October 19, 2001 letter from
11
      Plaintiffs' counsel, Kevin Marks of Gang Tyre, to DC's representative. (Weinberger Decl.
12
      Ex. A.) In furtherance of this claim, Defendants served a request for admission seeking
13
      Plaintiffs' position on whether Mr. Marks "was authorized by Plaintiffs to send the
14
      October 19 Letter on Plaintiffs' behalf" In response, Plaintiffs denied that Mr. Marks was
15
      so authorized, without further explanation. (Weinberger Decl. Ex. K, RFA 69.) Plaintiffs,
16
      therefore, have placed Mr. Marks' authority to send the letter in issue, and as such have
17
      waived the attorney-client privilege with respect to that authority. Thus, Defendants are
18
      entitled to discovery of relevant privileged communications relating to Mr. Marks'
19
      authority. See, e.g., Transamerica Title Ins. Co. v. Superior Court, 188 Cal.App.3d 1047,
20
21          It is worth noting Plaintiffs' tactic of responding to Defendants' motion to compel by
22    complaining about supposed deficiencies in Defendants' document production. Such
      complaints are irrelevant and unjustified. Any deficiencies, even if they existed, would be
23    of no relevance here since they are not the subject of this motion. In any event, Plaintiffs
      have accepted and not sought judicial intervention with respect to any discovery dispute
24    pursuant to Local Rule 37 nor have they been affected by the time it has taken Defendants
      to comply with their massive document requests. Plaintiffs have made no effort to review
25    or even copy nearly 50,000 pages of responsive DC Comics documents or DC's comic
      book library, and over 10,000 pages of responsive Warner Bros documents, all of which
26    have been available for several months. Given the volume of documents responsive to,
      inter alia, Plaintiffs' broad request for "all documents concerning Superman," it is no
27    wonder that it took DC and Warner Bros. several months to compile privilege logs
      containing thousands of entries. Indeed, the fi rst time they ever felt the need to complain
28    to this Court about Defendants' actions was in response to this motion.




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  1    1052-53, 233 Cal.Rptr. 825, 828 (Cal. Ct. App. 1987).
 2           The fact that Plaintiffs' have waived the privilege regarding the authority of their
 3 former counsel to accept Defendants' settlement offer was reinforced by a supplemental
 4 response Plaintiffs' served on the eve of the deadline to respond to this motion, which
 5 provides a lengthy explanation of the conditions upon which Mr. Marks was authorized to
 6 send the letter in question, including that: (a) certain "basic deal points" had their
 7 "conditional interim approval," (b) a "final written settlement agreement containing no
 8 additional new terms or revised terms that were unacceptable to Plaintiffs" had to be
 9 reached; and (c) Plaintiffs' review of such final agreement. (Toberoff Decl. Ex. M.)
10 Plaintiffs' denial of Mr. Marks' authority, and the conditions laid out in the supplemental
11 response, have clearly placed Mr. Marks' authority "in issue," and as Plaintiffs concede,
12 the "'in issue' doctrine creates an implied waiver of privilege . . . when the client tenders
1.3 an issue involving the substance or content of a protected communication." (Joint Stip. at
14 29 (citing Mitchell v. Superior Court, 37 Cal. 3d 591, 606 (1984)).) Plaintiffs cannot take
15 the issue out of play by relying on privilege to block discovery while at the same time
16 reserving their rights on the authority defense. Indeed, the revised response is an even
17 broader waiver of the privilege as it divulges specific purported instructions to counsel.
18 Defendants are thus entitled to the requested discovery.
19 II.      Plaintiffs' Attempts to Avoid the Consequences of Copying DC's
            President on a Communication With Their Counsel Are Unavailing
20
            The second waiver of privilege at issue here occurred when Plaintiffs copied Paul
21
      Levitz, president of Defendant DC Comics, on a September 21, 2002 letter (Weinberger
22
      Decl. Ex. B) in which they terminated Gang Tyre as counsel and explained in detail the
23
      basis for their actions. See Cal. Evid. Code § 912(a). Plaintiffs do not seriously dispute
24
      this, arguing only that the letter was sent to Mr. Levitz both as a mistake and to avoid
25
      confusion. (Joint Stip. at 30 and n.3.) 2 Next, Plaintiffs argue that even if there were a
26
27     2 These justifications are without basis, inconsistent and insufficient to overcome the
   fact that a waiver did in fact occur. Plaintiffs submit no evidence, (i.e., a declaration from
28 the Plaintiffs), supporting their argument that the letter was sent by mistake. Moreover,
   the inconsistent claim that Plaintiffs copied Mr. Levitz "to avoid any confusion" is false —

                                                     2
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 1 waiver of privilege, that waiver should be limited to the September 21, 2002 letter itself,
 2 meaning that the underlying facts described in the letter, specifically Plaintiffs' rejection of
 3 Gang Tyre's redraft agreement, would remain protected. But the authority cited by
 4 Plaintiffs for this proposition relates to a court-ordered waiver, not a voluntary one like
 5 that at issue here. (Joint Stip. at 33 (citing Rodriguez v. Superior Court, 14 Cal. App. 4th
 6 1260 (Cal. Ct. App. 1993) (waiver ordered by court was to be narrowly construed)).
 7         Plaintiffs ignore the law relating to waiver, namely, that it occurs with respect to the
 8 subject matter of a communication, not merely the communication itself See 2 Paul R.
 9 Rice, Attorney-Client Privilege in the United States (2d ed. 2006), § 9:32 at 127
10 ("Disclosures made without objection waive the privilege of the communications actually
11 revealed and for all other communications relating to the same subject matter") (emph.
12 added). See also Kerns Constr. Co. v. Superior Court, 266 Cal.App.2d 405, 414, 74
13 Cal.Rptr 74, 79 (Cal. Ct. App. 1968) ("[W]hen his (holder of the privilege) conduct
14 touches a certain point of disclosure, fairness requires that his privilege shall cease whether
15 he intended that result or not. He cannot be allowed, after disclosing as much as he
16 pleased, to withhold the remainder. He may elect to withhold or to disclose, but after a
17 certain point, his election must remain final.") (citation, internal quotation marks omitted).
18        The communications at issue are directly relevant to DC's counterclaim for breach
19 of the settlement agreement set forth in the October 19, 2001 Marks letter, and Plaintiffs'
20 defenses thereto. (See Weinberger Decl. Ex. D.) One of Plaintiffs' defenses is that when
21 DC later forwarded a draft long-form version of the agreement in February 2002, it
22 supposedly added new terms unacceptable to Plaintiffs, thus scuttling the deal, even
23 though Plaintiffs never articulated what the purportedly objectionable terms were. (See,
24 e.g., Toberoff Decl. Ex. M.) As the letter copied to DC's president indicates, following
25 receipt of DC's February 2002 long-form, Mr. Marks prepared and sent to Plaintiffs a
26 proposed revision for transmittal to DC's counsel. This version clearly would have
27
   Mr. Levitz was sent a separate letter on the same day (Weinberger Decl. Ex. C) informing
28 him that Plaintiffs were breaking off negotiations at that time. Plaintiffs' attempts to
   rewrite history cannot undo the waiver that has occurred.

                                                   3
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     1 addressed any concerns of Plaintiffs counsel regarding the long-form. Plaintiffs,
 2 however, simply "rejected" it without articulating any basis for doing so. These facts are
 3 disclosed in the letter at issue here, and further discovery relating to such disclosed facts
 4 may well demonstrate that Plaintiffs simply had second thoughts about the agreement they
 5 entered into and thus have no defense to the counterclaim.
 6           Having voluntarily disclosed this privileged information to DC, Plaintiffs have
 7 waived the privilege as to the entire contents of the letter, including the existence of and
 8 their reasons for "rejecting" their own counsel's revised draft long-form. While the draft
 9 long-form might otherwise qualify as work product, even absent the waiver here "[t]he
10 Ninth Circuit has expressly held that even opinion work-product may be discovered where
11 `mental impression are at issue in a case and [ ] the need for the material is compelling.'"
12 E.E.O.C. v. Safeway Store, Inc., No. C-00-3155 TEH(EMC), 2002 WL 31947153, *7
13 (N.D. Cal. Sept. 16, 2002) (quoting Holmgren v. State Farm Mutual Auto. Ins. Co., 976
14 F.2d 573, 577 (9th Cir. 1992)). Thus, Mr. Marks' redrafted long-form must be disclosed.
15 III. Plaintiffs' Privilege Log Is Woefully Inadequate
16           Plaintiffs claim that their July 20, 2006 (the night before their response to this
17 motion was due) service of a privilege log — a log identifying only documents from 1999 to
18 2003, which contains no identification of the subject matter of any document and omits
19 "cc's" and other identifying information — satisfies their obligations under Rule 26 and
20 Burlington Northern & Santa Fe Railway Co. v. United States District Court, 408 F.3d
21     1142 (9th Cir. 2005). Burlington provides that courts are to use the 30-day discovery
22 response deadline as a default for privilege logs, and consider further delay in context of a
23 number of factors, inter alia, the level of information provided about each document to
24 allow the litigant seeking discovery and the court to evaluate the privilege, and the volume
25 of documents. 408 F.3d at 1149.
26           Plaintiffs have not come close to meeting their burden under Burlington, in part
27 because their log is woefully inadequate. It fails to provide essential details "that, without
28 revealing information itself privileged or protected, will enable other parties to assess the


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 1 applicability of the privilege or protection" claimed. Fed. R. Civ. P. 26(b)(5). See also In
 2 re CV Therapeutics, Inc., No. C-03-3709, 2006 WL 1699536, *2 (N.D. Cal. June 16, 2006)
 3 (privilege log must include subject matter of each document). Plaintiffs' log (Weinberger
 4 Decl. Ex. M) does not provide any description of the subject matter of any communication,
 5 or an identification of all recipients of the communications at issue (e.g., persons who were
 6 copied). The log is also devoid of communications outside the February 1999 through
 7 January 2003 period despite that negotiations between the parties through counsel began in
 8 1997. (Joint Stip. at 13-14.) Thus, even if contrary to fact the log provided sufficient
 9 detail under Rule 26, it contains huge gaps where allegedly protected communications
10 undoubtedly took place. Because Plaintiffs have failed to identify these communications in
11 their log, they are no longer subject to the privilege and should be produced. Finally,
12 Plaintiffs' explanation for the delay in producing the log — namely, that the dispute
13 between the parties has been going on for decades — is unsupported by evidence and highly
14 dubious. As noted above, since only documents from 1999 to 2003 are listed on the log,
15 Plaintiffs' excuses do not meet their burden in justifying their delay.
16                                         CONCLUSION
17         Because the attorney-client privilege "impedes full and free discovery of the truth,"
18 the privilege must be strictly construed. Weil v. Investment/Indicators, Research & Mgm't,
19 Inc. 647 F.2d 18, 24 (9th Cir. 1981). Here, Plaintiffs' defenses to DC's counterclaim are
20 grounded in attorney-client communications which have been disclosed to Defendants.
21 Thus, the privilege cannot attach. Accordingly, Defendants request that their motion to
22 compel be granted as set forth in the previously submitted proposed order.
23 DATED: July 31, 2006                       FROSS ZELNICK LEHRMAN & ZISSU, P.C.
                                              PERKINS LAW OFFICE, P.C.
24                                                -and-
                                              WEISSMANN WOLFF BERGMAN
25                                             CO MAN GRODIN & EVA L LLP
26
                                              By
27                                                     oger S issu
28                                            Attorneys for Defendants and Counterclaimant

                                                   5


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     1
                                               PROOF OF SERVICE
 2
         STATE OF CALIFORNIA
 3                                                     ) ss.
 4       COUNTY OF LOS ANGELES

 5               I am employed in the County of Los Angeles, State of California; I am over the age of 18
         and not a party to the within action; my business address is 9665 Wilshire Blvd, Ninth Floor,
 6       Beverly Hills, California 90212. On the date shown below, I served the documents described as:
         SUPPLEMENTAL MEMORANDUM IN SUPPORT OF DEFENDANTS' MOTION TO
 7
         COMPEL PRODUCTION OF DOCUMENTS on the interested parties in said action, by .
 8       placing a true copy thereof enclosed in a sealed envelope, addressed as follows:
         Marc Toberoff
 9
         Nicholas C. Williamson
10       Law Offices of Marc Toberoff, PLC
         2049 Century Park East, Suite 2720
11       Los Angeles, CA 90067
         Fax No.: (310) 246-3101
12

13              (BY MAIL) I am "readily familiar" with the firm's practice of collection and processing
                correspondence for mailing. Under that practice it would be deposited with the U.S. postal
14              service on that same day with postage thereon fully prepaid at Beverly Hills, California. I
15              am aware that on motion of the party served, service is presumed invalid if postal
                cancellation date or postage meter date is more than one day after date of deposit for
16              mailing in affidavit.

17              (FACSIMILE SERVICE) I caused such document to be transmitted via facsimile to the
                offices of the addressees at the numbers listed above.
18

19       XX     (PERSONAL SERVICE) I caused such envelope to be delivered by hand to the
                addressees above.
20
                (BY FEDERAL EXPRESS) I caused a copy of such document(s) to be delivered to the
21
                offices of the addressee(s) via Federal Express, next business day delivery service.
22
                Executed on July 31, 2006, at Beverly Hills, California.
23
                STATE           I declare under penalty of perjury under the laws of the State of California
24              that the foregoing is true and correct.
25
         XX     FEDERAL I declare that I am employed in the office of a member of the bar of this
26              court at whose direction the service was made.
27

28
                                                               Ticci Bennett


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                                                                "   ;"   .., .
                                                                                 . .". '-'---'~'''-'~-.l''':':'''',""~...)._J.>''
      3

      4                      UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
c     5                            WESTERN DIVISION

      6   JOANNE SIEGEL, ET AL.,            )
                                            )
      7           PLAINTIFFS,               )
                                            )
      8           VS.                       )   CASE CV 04-8400-RSWL(RZX)
                                            )
      9                                     )   LOS ANGELES, CALIFORNIA
          WARNER BROS. ENTERTAINMENT,       )   AUGUST 14, 2006
     10   INC., ET AL.,                     )
                                            )
     11           DEFENDANTS.               )

     12
          ~~~~~~~~~-------)
          JOANNE SIEGEL, ET AL., )
                                            )
     13           PLAINTIFFS,               )
                                            )
     14           VS.                       )   CASE CV 04-8776-RSWL(RZX)
                                            )
     15                                     )   LOS ANGELES, CALIFORNIA
          TIME WARNER, INC., ET AL.,        )
(    16                                     )
                  DEFENDANTS.               )
     17   -------------------------)
     18                                 HEARING
                           BEFORE THE HONORABLE RALPH ZAREFSKY
     19                       UNITED STATES MAGISTRATE JUDGE
          APPEARANCES:
     20
          FOR THE PLAINTIFFS:              LAW OFFICES OF MARC TOBEROFF
     21                                    BY: MARC TOBEROFF
                                                NICHOLAS WILLIAMSON
     22                                         ATTORNEYS AT LAW
                                           SUITE 2720
     23                                    2049 CENTURY PARK EAST
                                           CENTURY CITY, CALIFORNIA 90067
     24
          PROCEEDINGS RECORDED BY ELECTRONIC SOUND RECORDING;
     25   TRANSCRIPT PRODUCED BY TRANSCRIPTION SERVICE.




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                                  EXHIBIT 40
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      1   APPEARANCES:  (CONTINUED)
          FOR DEFENDANTS:           WEISSMANN WOLFF BERGMAN
(     2                               COLEMAN GRODIN & EVALL LLP
                                    BY: MICHAEL BERGMAN
      3                                  ANJANI MANDAVIA
                                         ATTORNEYS AT LAW
      4                             9665 WILSHIRE BOULEVARD
                                    NINTH FLOOR
(
      5                             BEVERLY HILLS, CALIFORNIA 90212

      6   COURTROOM DEPUTY/                                ILENE BERNAL
          RECORDER:
      7
          TRANSCRIBER:                                     DOROTHY BABYKIN
c     8                                                    COURT HOUSE SERVICES
                                                           1218 VALEBROOK PLACE
      9                                                    GLENDORA, CALIFORNIA     91740
                                                           (626) 963-0566
     10

     11

     12

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        1                                 I N D E X

        2   CASE NO. CV 04-8400-RSWL(RZX)                     AUGUST 14, 2006
                     CV 04-8776-RSWL(RZX)
        3
            HEARING:   DEFENDANTS' MOTION TO COMPEL PRODUCTION OF
        4              DOCUMENTS.

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       1              LOS ANGELES, CALIFORNIA; MONDAY, AUGUST 14, 2006

       2               THE CLERK:    CASE NUMBER CV 04-8400-RSWL(RZX),

       3   JOANNE SIEGEL, ET AL. VERSUS WARNER BROS. ENTERTAINMENT INC.,

       4   ET AL.; AND CASE NUMBER CV 04-8776-RSWL(RZX), JOANNE SIEGEL,
(
       5   ET AL. VERSUS TIME WARNER, INC., ET AL.

       6               COUNSEL, PLEASE MAKE YOUR APPEARANCES.

       7              MR. TOBEROFF:     GOOD MORNING, YOUR HONOR.
(
       8              MARC TOBEROFF FOR PLAINTIFFS JOANNE SIEGEL AND

       9   LAURA SIEGEL-LARSON.

      10              THE COURT:     GOOD MORNING.

      11              MR. WILLIAMSON:     GOOD MORNING, YOUR HONOR.

      12              NICHOLAS WILLIAMSON FOR PLAINTIFFS.

      13              THE COURT:     GOOD MORNING.

      14              MR. BERGMAN:     GOOD MORNING, YOUR HONOR.

      15              MICHAEL BERGMAN APPEARING FOR THE DEFENDANTS AND

(     16   COUNTERCLAIMANT.

      17              THE COURT:     GOOD MORNING.

      18              MS. MANDAVIA:     GOOD MORNING, YOUR HONOR.

      19              ANJANI MANDAVIA, ALSO FOR DEFENDANT AND

      20   COUNTERCLAIMANTS.

      21              THE COURT:     ALL RIGHT.   GOOD MORNING.

      22              ALL RIGHT.     WE'RE HERE ON THE DEFENDANTS' MOTION TO

      23   COMPEL.

      24              DOES THE MOVING PARTY WISH TO BE HEARD?
(~
      25              MR. BERGMAN:     YES, YOUR HONOR.




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      1               THE COURT:     GO AHEAD.

      2               MR. BERGMAN:     YOUR HONOR, ALTHOUGH WE'RE --

      3               THE COURT:     LET'S SEE.     JUST A MOMENT.    LET'S FIND

      4   OUT WHERE THE BEEPING NOISE IS COMING FROM.

      5               THE CLERK:     I THINK IT'S MY COMPUTER.       I'M JUST

      6   SHUTTING IT OFF.

      7               THE COURT:     ALL RIGHT.     THE TAPE IS OKAY?
(
      8               THE CLERK:     YES.     THE TAPE IS FINE.

      9              THE COURT:      ALL RIGHT.     GO AHEAD, MR. BERGMAN.

     10              MR. BERGMAN:      THANK YOU, YOUR HONOR.

     11              THE COURT:      WE SOLVED THE BEEPING NOISE PROBLEM.

     12              MR. BERGMAN:      WE ARE SEEKING SEVERAL FORMS OF

     13   DISCOVERY RELIEF IN THIS MOTION, YOUR HONOR.            BUT THE MAIN

     14   THRUST DEALS WITH THE AUTHORITY OF THE PLAINTIFFS' PRIOR

     15   COUNSEL TO SEND A LETTER DATED OCTOBER 19, 2001, WHICH LETTER

(    16   IS EXHIBIT A TO THE DECLARATION OF JAMES WEINBERGER.

     17              THE COURT:      RIGHT.    BUT YOU ARE ONLY SEEKING RELIEF

     18   TO COMPEL PRODUCTION OF DOCUMENTS IN FOUR OR FIVE CATEGORIES,

     19   RIGHT?

     20              MR. BERGMAN:      THAT IS CORRECT, YOUR HONOR.

     21              THE COURT:      OKAY.    AND IT'S ALL BASED ON THIS ONE

     22   LETTER.

     23              MR. BERGMAN:      PRIMARILY.

     24              THE COURT:      OKAY.

     25              MR. BERGMAN:      CERTAINLY WITH RESPECT TO THE




l
                                   EXHIBIT 40
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       1   AUTHORITY OF MR. MARKS.

(      2                YOUR HONOR, THIS DISPUTE HAD BEEN RAGING SINCE THE

       3   LATE 90'S.     THE PARTIES SPENT SEVERAL YEARS NEGOTIATING A

       4   POSSIBLE AGREEMENT.       THEY WERE REPRESENTED -- THE PLAINTIFFS

       5   WERE REPRESENTED BY A VERY PROMINENT FIRM, GANG TYRE RAMER &

       6   BROWN, BRUCE RAMER AND KEVIN MARKS.         THE DEFENDANTS WERE

       7   REPRESENTED BY WARNER BROS.' GENERAL COUNSEL.
(
       8                THE NEGOTIATIONS BETWEEN THEM WENT ON FOR YEARS.

       9   FINALLY, ON OCTOBER 16, 2001, MR. SCHULMAN MADE AN OVERALL

      10   OFFER OF SETTLEMENT.

      11                THREE DAYS LATER, ON OCTOBER 19, 2001, MR. MARKS

      12   SENT A LETTER IN WHICH HE SAYS, QUOTE, THE SIEGEL FAMILY,

      13   THAT IS, THE PLAINTIFFS IN THIS ACTION.

      14                THE COURT:      I READ THE LETTER, SIR.

      15                MR. BERGMAN :    OKAY.

      16                WE BELIEVE THAT THAT ACCEPTANCE CREATED A CONTRACT,

      17   A SETTLEMENT AGREEMENT, ONE THAT RENDERS THESE COPYRIGHT

      18   ACTIONS MOOT BECAUSE THE PARTIES HAVE ALREADY SETTLED THEIR

      19   DISPUTE.

      20                THE PLAINTIFFS LATER REPUDIATED A LONG FORM

      21   AGREEMENT, AS YOUR HONOR HAS SEEN FROM OUR PAPERS, ON THE

      22   GROUND THAT IT HAD NEW AND INCONSISTENT TERMS AND THAT

      23   SOMEHOW ENTITLED THEM TO REPUDIATE IT.         BUT THAT'S FOR

      24   ANOTHER COURT FOR ANOTHER DAY.         TODAY WE ARE SIMPLY TRYING TO

      25   ESTABLISH THAT MR. MARKS HAD THE AUTHORITY TO SEND EXHIBIT A.




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                                     EXHIBIT 40
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      1               THE COURT:    NOW, LET ME JUST INTERRUPT YOU, SIR.          I

(     2   WANT TO MAKE SURE I HAVE THE PROCEDURE -- THE PROCEDURAL

      3   POSTURE CORRECT.

      4               THE PLAINTIFFS SUED SEEKING TO RECOVER THEIR

      5   COPYRIGHTS.     YOU ASSERTED A COUNTERCLAIM, CORRECT?

      6              MR. BERGMAN:     THAT IS CORRECT, YOUR HONOR.

      7               THE COURT:    THE COUNTERCLAIM SEEKS ENFORCEMENT OF
c     8   WHAT YOU SAY IS A SETTLEMENT AGREEMENT.

      9              MR. BERGMAN:     CORRECT, YOUR HONOR.

     10              THE COURT:     WHAT DID THE PLAINTIFFS PLEAD IN REPLY

     11   TO THE COUNTERCLAIM?

     12              MR. BERGMAN:     THEY DENIED THAT SUCH A CONTRACT WAS

     13   ENTERED INTO.

     14              THE COURT:     A SIMPLE DENIAL?

     15              MR. BERGMAN:     YES, YOUR HONOR.

     16              THE COURT:     ALL RIGHT.

     17              MR. BERGMAN:     OKAY.

     18              THE COURT:     GO AHEAD.

     19              MR. BERGMAN:     THERE EXISTS IN MY MIND SUBSTANTIAL

     20   QUESTION AS TO WHETHER THE DOCUMENT, THE OCTOBER 19 LETTER,

     21   IS EVEN PRIVILEGED.      IT WAS -- THE FACT OF AN ATTORNEY'S

     22   AUTHORITY IS UNDER THE FEDERAL RULES PRESUMED.

     23              THE COURT:     IF IT'S NOT PRIVILEGED, THEN, WHAT

     24   ARGUMENT WOULD YOU HAVE FOR COMPELLING MATERIAL THAT IS

     25   PRIVILEGED?




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                                      624
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      1               MR. BERGMAN:     WELL, YOUR HONOR, THE -- HAVING

(     2   RAISED THE WHOLE ISSUE OF HIS AUTHORITY, AS THE PLAINTIFFS

      3   HAVE DONE, THEY HAVE DECLINED TO PRODUCE DOCUMENTS.           THEY

      4   HAVE EXPRESSLY DENIED REQUEST FOR ADMISSION NUMBER 69 WHICH

      5   SIMPLY ASKS THEM TO ADMIT THAT MR. MARKS WAS AUTHORIZED

      6               THE COURT:     ALL RIGHT.   BUT STICK WITH ME FOR A

      7   MOMENT, MR. BERGMAN.

      8               I THOUGHT WHAT YOU JUST SAID WAS THAT THIS OCTOBER

      9   LETTER YOU BELIEVE MAY WELL NOT BE PRIVILEGED AT ALL.

     10               IS THAT RIGHT?

     11              MR. BERGMAN:      THAT'S CORRECT, YOUR HONOR.

     12               THE COURT:     SO, IF THAT LETTER ITSELF IS NOT

     13   PRIVILEGED, THEN, THE COPYING OF THE LETTER TO THE DC COMICS

     14     -- IS IT VICE PRESIDENT?      IS THAT WHO

     15              MR. BERGMAN:      I BELIEVE THAT YOUR HONOR IS --

     16              THE COURT:      IF THAT'S SO, HOW COULD THAT WAIVE A

     17   PRIVILEGE IF IT WERE NOT PRIVILEGED IN THE FIRST PLACE?

     18              MR. BERGMAN:      I BELIEVE YOUR HONOR IS CONFUSING

     19   EXHIBIT A, THE OCTOBER 19 LETTER, WITH EXHIBIT B, WHICH IS A

     20   SEPTEMBER 21, 2002 LETTER, AS TO WHICH WE ARE ALLEGING

     21   CERTAIN PRIVILEGES WERE WAIVED.
(
     22              THE COURT:      I SEE.   OKAY.

     23              MR. BERGMAN:      BUT WITH RESPECT TO THE --

     24              THE COURT:      ALL RIGHT.

     25              MR. BERGMAN:      -- AUTHORITY OF MR. MARKS, WE THINK




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      1    IT VERY CLEAR THAT THE PLAINTIFFS HAVE PLACED THAT ISSUE IN

(     2    ISSUE; NAMELY, THEY HAVE DENIED THAT HE WAS AUTHORIZED.                 AND

      3   ON THE EVE OF FILING THE JOINT STATEMENT, THEY PROVIDED YET A

      4   SUPPLEMENTAL ANSWER TO THAT DENIAL IN WHICH THEY DISCLOSED

      5   PART OF HIS AUTHORITY, BUT NOT ALL OF IT.

      6                THE COURT:     OKAY.   WELL, JUST A MOMENT.      I WANT TO

      7   MAKE SURE I STICK WITH THE RIGHT TRAIN OF THOUGHT.
(
      8                SO THE DENIAL OF THE AUTHORITY, YOU'RE SAYING, IS

      9   THAT WHICH CAME IN RESPONSE TO THE REQUEST FOR ADMISSION.

     10                MR. BERGMAN:      THAT IS CORRECT, YOUR HONOR.

     11                THE COURT:     IS THERE ANY OTHER PLACE WHERE IT WAS

     12   DENIED?

     13                MR. BERGMAN:      IT WAS DENIED, WE BELIEVE, INDIRECTLY

     14   IN A SUPPLEMENTAL RESPONSE TO INTERROGATORY -- TO REQUEST

     15   NUMBER 69.

(    16                THE COURT:     ALL RIGHT.    BUT OTHER THAN IN RESPONSE

     17   TO THE REQUEST, IS THERE ANY OTHER PLACE WHERE THE AUTHORITY

     18   OF -- MR. MARKS, WAS IT?

     19                MR. BERGMAN:     NO, SIR.    THERE--

     20                THE COURT:     MR. RAMER, WHATEVER --

     21                MR. BERGMAN:     THOSE WERE THE ONLY TWO INSTANCES.

     22                THE COURT:     OKAY.   ALL RIGHT.

     23                GO AHEAD.

     24                MR. BERGMAN:     AND, OF COURSE, IN THEIR PAPERS FILED

    25    IN THE JOINT STATEMENT, THE PLAINTIFFS NEVER EVEN APPROACHED




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      1   THAT ISSUE.     THEY SAY, OF COURSE, WE AUTHORIZED HIM TO

      2   NEGOTIATE.      OF COURSE WE AUTHORIZED HIM TO EXTEND AN INTERIM

      3   CONDITIONAL APPROVAL, WHATEVER THAT MIGHT MEAN.          BUT WE

      4   BELIEVE THAT THE QUESTION OF HIS AUTHORITY IS VITAL TO THIS

      5   CASE.     IF HE WAS AUTHORIZED, WE BELIEVE        OFFER, OCTOBER

      6   16.     ACCEPTANCE, OCTOBER 19.     CONTRACT.   AND THAT CONTRACT

      7   PUTS US ON OUR WAY TO ESTABLISHING THE COUNTERCLAIM.

      8                THE PLAINTIFFS SIMPLY CAN'T RAISE THE ISSUE DENYING

      9   THE AUTHORITY OF THEIR COUNSEL AND THEN SAY TO US YOU CAN'T

     10   LOOK BEHIND THAT.     YOU CAN'T ASCERTAIN THE CIRCUMSTANCES
(
     11   CONCERNING HIS LACK OF AUTHORITY.

     12                WE BELIEVE THE CASES DICTATE QUITE CLEARLY THAT WE

     13   CAN.

     14                THE OTHER POINT THAT WE RAISED, YOUR HONOR -- AND,

     15   BY THE WAY, THAT -- THERE'S BEEN AN

     16                THE COURT:     LET ME ASSUME YOU ARE CORRECT FOR THE

     17   MOMENT.     IF YOU ARE CORRECT, THEN, WOULD YOU BE ENTITLED TO

     18   ANYTHING BEYOND DOCUMENTS WHICH DISCUSS WHAT AUTHORITY HE

     19   HAD?

     20                MR. BERGMAN:     IN THAT RESPECT, I DON'T BELIEVE SO,

     21   YOUR HONOR.     ALTHOUGH WE WOULD CERTAINLY BE ENTITLED TO
(
     22   QUESTION MR. MARKS AT DEPOSITION CONCERNING ANY CONVERSATIONS

     23   THAT HE MAY HAVE HAD DEALING WITH THE QUESTION OF HIS

     24   AUTHORITY.

     25                THE COURT:     BUT JUST LIMITED TO THE QUESTION OF HIS




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                                    EXHIBIT 40
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      1   AUTHORITY.

      2                MR. BERGMAN:     YES, SIR, IN THAT RESPECT.

      3                THE COURT:     ALL RIGHT.

      4                MR. BERGMAN:     THERE HAS ALSO BEEN A SEPARATE WAIVER

      5   REGARDING THE CIRCUMSTANCES UNDER WHICH THE PLAINTIFFS

      6   TERMINATED THE GANG TYRE FIRM.           AND THAT ARISES, YOUR HONOR,

      7   UNDER THE LETTER DATED EXHIBIT -- MARKED EXHIBIT B, WHICH IS
(
      8   A SEPTEMBER 21, 2002 LETTER.

      9                AND JUST BY WAY OF BACKGROUND, YOUR HONOR, WE

     10                THE COURT:     THAT'S THE ONE I WAS REFERRING TO
(
     11   EARLIER.

     12                MR. BERGMAN:    YES, IT IS, SIR.

     13                WE HAD ENTERED INTO WHAT WE CONTEND WAS A

     14   SETTLEMENT AGREEMENT IN OCTOBER OF '01.           IN FEBRUARY OF '02

     15   WE TRANSMIT TO THE PLAINTIFFS' COUNSEL A LONG-FORM AGREEMENT

     16   MEMORIALIZING THE SETTLEMENT AGREEMENT.          NOTHING IS HEARD FOR

     17   SEVERAL MONTHS.       AND THEN WE RECEIVE A LETTER DATED SEPTEMBER

     18   21, 2002, EXHIBIT B, WHICH WAS, AS YOUR HONOR HAS NOTED,

     19   COPIED TO A GENTLEMAN BY THE NAME OF PAUL LEVITZ, WHO IS THE

     20   PRESIDENT OF DEFENDANT DC COMICS.

     21                IN THAT LETTER THE PLAINTIFFS DO A NUMBER OF

     22   THINGS.    FIRST OF ALL, THEY REFER TO DISCUSSIONS THAT THEY

     23   PREVIOUSLY HAD WITH GANG TYRE CONCERNING THEIR REJECTION OF

     24   THE LONG-FORM AGREEMENT.
l
     25                IT TALKS ABOUT IRRECONCILABLE DIFFERENCES AND FOUR




                                    EXHIBIT 40
                                       628
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      1   YEARS OF PAINFUL AND UNSATISFYING NEGOTIATIONS.          IT ALSO

      2   TERMINATES THE SERVICES OF GANG TYRE & BROWN.         AND IN DOING

      3   SO, IT REFERS TO A DOCUMENT THAT WE WERE PREVIOUSLY UNAWARE

      4   OF THAT IS A REDRAFT OF THE FEBRUARY 4, 2002 LONG FORM

      5   PREPARED BY DEFENDANTS, WHICH REDRAFT WAS PREPARED BY MR.

      6   MARKS AND MR. RAMER.

      7               THE COURT:    LET ME ASK YOU, SIR, FOR THE
(
      8   IRRECONCILABLE DIFFERENCES, DO YOU READ THAT AS

      9   IRRECONCILABLE DIFFERENCES BETWEEN THE PLAINTIFFS AND THEIR

     10   COUNSEL OR BETWEEN PLAINTIFFS AND THE DEFENDANTS?

     11              MR. BERGMAN:     I CANNOT ANSWER THAT QUESTION, YOUR

     12   HONOR.   I DON'T -- I THINK IT CAN BE READ EITHER WAY.

     13              THE COURT:     ALL RIGHT.

     14              MR. BERGMAN:     WE BELIEVE THAT THIS LETTER REFERRING

     15   AS IT DOES TO A JULY 15, 2002 REDRAFT BY GANG TYRE, A REDRAFT

     16   THAT WAS OBVIOUSLY INTENDED FOR TRANSMISSION TO THE

     17   DEFENDANTS, WE BELIEVE THAT THE REFERENCE TO IT AND THE

     18   EXPRESSION THAT IT HAS BEEN REJECTED WAIVES THE PRIVILEGE

     19   INSOFAR AS IT RELATES TO THAT LONG-FORM AGREEMENT PREPARED BY

     20   GANG TYRE AND THE CIRCUMSTANCES OF THEIR TERMINATION.

     21              THE PLAINTIFFS CLEARLY INTENDED THIS LETTER TO GO

     22   TO DC COMICS.    ONE CAN SEE THAT CLEARLY FROM THE LAST

     23   PARAGRAPH, WHICH IS OBVIOUSLY DIRECTED AT THE DEFENDANTS, AS

     24   WELL AS BY THE FACT THAT MR. LEVITZ WAS COPIED.

     25              AND WE BELIEVE, YOUR HONOR, THAT THE PLAINTIFFS




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       1    SHOULDN'T BE PERMITTED TO REVEAL SOME PORTION OF A PRIVILEGED

(      2    COMMUNICATION AND THEN PRECLUDE DISCOVERY AS TO THAT VERY

       3    SAME SUBJECT MATTER OF THE TERMINATION.

       4               WE ALSO --

       5               THE COURT:     BUT THEY HAVE A SOLUTION FOR YOU ON

       6   THAT ONE.    THEY SAY DON'T REVEAL THIS LETTER AT ALL.         THAT

       7   WOULD BE THEIR SOLUTION.
(
       8               MR. BERGMAN:     WELL, BUT, OF COURSE, THEY HAVE

       9   REVEALED IT.    IT'S--

      10               THE COURT:     GO AHEAD.
(
      11               MR. BERGMAN:     IT'S BEEN DONE.

      12               WE BELIEVE THAT THE ATTORNEY-CLIENT PRIVILEGE

      13   REGARDING THOSE CIRCUMSTANCES HAVE BEEN WAIVED.          AND WE ALSO

      14   ASSERT, YOUR HONOR, THAT THERE IS NO WORK PRODUCT PRIVILEGE

      15   FOR THAT JUNE -- THAT JULY REDRAFT OF THE AGREEMENT.           A,

      16   BECAUSE IT WAS INTENDED FOR TRANSMISSION TO US IN THE FIRST

      17   PLACE AND MAY NOT HAVE A PRIVILEGE.       AND, B, FOR THE OBVIOUS

      18   REASON THAT THE REDRAFT ITSELF WILL REFLECT THE MENTAL

      19   IMPRESSIONS OF MR. MARKS AND MR. RAMER AS TO WHETHER OR NOT,

      20   AS PLAINTIFFS CONTEND, THE DEFENDANTS' LONG-FORM AGREEMENT

      21   WAS SO FAR OUT OF THE BALLPARK, SO CONTRARY TO THE SETTLEMENT

      22   AGREEMENT THAT HAD BEEN REACHED, THAT THEY COULD UNDER SOME

      23   LEGAL THEORY REPUDIATE THE UNDERLYING SETTLEMENT AGREEMENT.

      24               WE BELIEVE THAT THE MENTAL IMPRESSIONS OF THEIR

      25   COUNSEL WILL BE DEMONSTRATIVE CONCERNING THAT ISSUE.           AND




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                                    EXHIBIT 40
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      1   THAT FOR THAT REASON UNDER NINTH CIRCUIT LAW BECAUSE THEIR

      2   MENTAL IMPRESSIONS ARE INVOLVED, AND BECAUSE WE HAVE A

      3   COMPELLING NEED FOR THE PRODUCTION OF THAT DOCUMENT -- WE

      4   CAN'T GET IT ANY OTHER WAY, WE BELIEVE THAT THE WORK PRODUCT

      5   PRIVILEGE HAS ALSO BEEN WAIVED IN THAT REGARD.

      6              AND, FINALLY, YOUR HONOR, WE'RE MOVING FOR A

      7   COMPLETE PRIVILEGE LOG.      AS WE POINT OUT IN OUR PAPERS, THIS

      8   DISPUTE HAS BEEN RAGING FOREVER.       THE EARLIEST DOCUMENTS THAT

      9   WERE REQUESTED WERE IN 1938.      WE'VE RECEIVED AT THE LAST

     10   POSSIBLE MOMENT RIGHT BEFORE THE FILING OF THE JOINT
(
     11   STATEMENT A PRIVILEGE LOG THAT IS LIMITED TO THE PERIOD FROM

     12   1999 TO 2003.    WE BELIEVE WE ARE ENTITLED TO DOCUMENTS PRIOR

     13   TO '99 AND SUBSEQUENT TO '03 AND TO THE FILING OF THE CASE.

     14              I WOULD ALSO REFER YOUR HONOR TO THAT PRIVILEGE

     15   LOG, WHICH IS ATTACHED TO MR. TOBEROFF'S DECLARATION.           AS YOU

     16   CAN SEE, IT IS NOT ONLY INCOMPLETE INSOFAR AS TIME IS

     17   CONCERNED, BUT IT FAILS TO DESCRIBE THE SUBJECT MATTER OF THE

     18   DOCUMENTS WHICH ARE ASSERTEDLY PRIVILEGED.        AND IT FAILS TO

(    19   INDICATE WHO OTHER THAN THE ADDRESSEE MAY HAVE RECEIVED

     20   COPIES.

     21              AND WITHOUT THAT INFORMATION, THERE IS SIMPLY NO

     22   WAY FOR THE PLAINTIFFS TO -- FOR THE DEFENDANTS TO ASSESS

     23   WHETHER THE ASSERTED PRIVILEGES ARE VALID OR NOT.

     24              UNLESS YOUR HONOR HAS FURTHER QUESTIONS, THAT'S ALL

     25   I HAD TO SAY.




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                                  EXHIBIT 40
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      1               THE COURT:     NO.     THANK YOU VERY MUCH.

      2               MR. BERGMAN:     THANK YOU, SIR.

      3               THE COURT:     MR. TOBEROFF, ARE YOU GOING TO RESPOND?

      4               MR. TOBEROFF:        YES, I DO, YOUR HONOR.

      5               YOUR HONOR, ALTHOUGH WE'RE NOT HERE TODAY TO ARGUE

      6   THE MERITS OF THEIR CLAIM THAT THERE WAS SOME SORT OF

      7   SETTLEMENT AGREEMENT, SINCE THEY HAVE MENTIONED IT, I THINK

      8   IT'S IMPORTANT TO PUT -- TO MENTION A LITTLE BIT ABOUT THAT

      9   TO PUT -- TO PUT THIS DISCOVERY ISSUE IN PERSPECTIVE.

     10              ACCORDING TO THE DOCUMENTS, CONVERSATIONS TOOK

     11   PLACE BETWEEN THE GENERAL COUNSEL, JOHN SCHULMAN OF WARNER

     12   BROS., GENERAL COUNSEL OF WARNER BROS., AND KEVIN MARKS, WHO

     13   AT THAT TIME WAS THE ATTORNEY FOR THE PLAINTIFFS.                      AND

     14   FOLLOWING THAT, A LETTER WAS SENT OVER BY KEVIN MARKS --

     15   THAT'S THE OCTOBER 19TH LETTER -- APPROVING CERTAIN KEY

     16   MATERIAL DEAL POINTS.

     17              OBVIOUSLY, AT THAT STAGE WHEN THEY WERE TRYING TO

     18   REACH A SETTLEMENT AGREEMENT, ANY SUCH APPROVAL OF BASIC DEAL

     19   POINTS     YOU NEED TO START SOMEWHERE AND AGREE ON SOME

     20   THINGS IN ORDER TO MOVE FORWARD TO A FINAL AGREEMENT.                        ANY

     21   SORT OF APPROVAL IS OBVIOUSLY CONDITIONAL ON, NUMBER ONE,
(
     22   THAT THOSE DEAL POINTS BE ARTICULATED IN AN ACCEPTABLE

     23   LONG-FORM AGREEMENT, WHICH THE PARTIES ARE GOING TO CAREFULLY

     24   REVIEW AND EXECUTE.

     25              AND, NUMBER TWO, THAT THOSE DEAL POINTS ARE NOT




                                   EXHIBIT 40
                                      632
                                      ___________   ~_.M~   _ ._. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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      1    CHANGED IN ANY MATERIAL FASHION, AND THAT NEW -- IF ANY NEW

(     2   DEAL POINTS ARE ADDED, YOUR HONOR, THAT THOSE NEW DEAL POINTS

      3   ARE EITHER -- WOULD HAVE TO BE ACCEPTED.         THIS IS IMPLICIT.

      4                SO --

      5                THE COURT:     SO, ARE YOU SAYING THAT IT'S THE

      6   PLAINTIFFS' POSITION THAT THERE WERE MATERIAL POINTS THAT

      7   WERE CHANGED?

      8                MR. TOBEROFF:     ABSOLUTELY.

      9                AND IN ORDER TO ARRIVE AT THAT, YOU DON'T NEED TO

     10   ENTER THE SANCTUM OF THE ATTORNEY -- OF ATTORNEY-CLIENT

     11   PRIVILEGED COMMUNICATIONS.        ALL YOU HAVE TO DO IS COMPARE THE

     12   OCTOBER 19TH LETTER FROM KEVIN MARKS TO A SUBSEQUENT LETTER

     13   SENT OVER BY JOHN SCHULMAN DATED OCTOBER 26TH AND THEN

     14   FINALLY TO THE FIRST DRAFT OF A PROPOSED SETTLEMENT AGREEMENT

     15   THAT WAS SENT OVER FEBRUARY 2ND OF 2002.

     16                THE ISSUE --

     17                THE COURT:     ARE THOSE IN FRONT OF ME?

     18                MR. TOBEROFF:     I BELIEVE SO.   THE OCTOBER 26TH

     19   LETTER FROM JOHN SCHULMAN IS EXHIBIT A TO MY DECLARATION.

     20   AND I WOULD HAVE TO LOOK FOR THE -- TO LOOK FOR THE FULL

     21   AGREEMENT.

     22                JUST LOOKING, YOUR HONOR, AT THE OCTOBER 26TH

     23   LETTER OF JOHN SCHULMAN, ENCLOSING -- IT'S AN ENCLOSING

     24   LETTER, YOU CAN TELL RIGHT AWAY THAT THERE ISN'T AN

     25   AGREEMENT.




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                                    EXHIBIT 40
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      1               HE SAYS -- HE SAYS, "I ENCLOSE HEREWITH FOR YOU

(     2              AND BRUCE A MORE FULSOME OUTLINE OF WHAT WE

      3               BELIEVE THE DEAL WE'VE AGREED TO IS."

      4               SO, THIS IS AFTER KEVIN MARKS HAS SENT OVER A
(     5   LETTER WITH BASIC DEAL POINTS.       HE'S NOW SENDING OVER ON

      6   OCTOBER 26TH -- BY HIS LANGUAGE, IT WOULD APPEAR THAT WHAT HE

      7   BELIEVES THE DEAL IS IS SOMETHING DIFFERENT THAN KEVIN MARKS
(
      8   BELIEVES THE DEAL IS.      THEY'RE ESSENTIALLY EXCHANGING OFFERS

      9   AND COUNTEROFFERS AT THIS POINT.

     10              SO, THIS ISSUE IS GOING TO BE RESOLVED BY BASICALLY

     11   NOT BASED ON THE MENTAL IMPRESSIONS OF ATTORNEYS OR

     12   ATTORNEY-CLIENT PRIVILEGED COMMUNICATIONS, BUT BY COMPARING

     13   THESE DOCUMENTS IN WHICH THE COURT WILL MOST PROBABLY FIND

     14   OFFER, COUNTEROFFER, COUNTEROFFER, AND THEN A REJECTION.

     15              THE COURT:    SO, YOUR ARGUMENT IN THE MAIN SUIT IS

(    16   GOING TO BE THAT THE OCTOBER 19TH LETTER WAS AN OFFER, AND

     17   THE OCTOBER 26TH LETTER WAS A COUNTEROFFER?

     18              MR. TOBEROFF:      SOMETHING LIKE THAT.     ESSENTIALLY,

     19   IT'S CLEAR FROM THE OCTOBER 26TH LETTER THAT WHAT -- WHAT

     20   KEVIN MARKS BELIEVED HE WAS APPROVING AT THAT INITIAL STAGE

     21   OF AGREEING ON BASIC DEAL POINTS WAS SOMETHING DIFFERENT.               IN

     22   OTHER WORDS, THE OFFER HE BELIEVED HE WAS ACCEPTING IS

     23   SOMETHING DIFFERENT.     AND, THEREFORE, WHAT HE PROPOSED IS

     24   REALLY A COUNTEROFFER.     AND THEN WITH THE OCTOBER 26TH LETTER

     25   IS ANOTHER COUNTEROFFER FOLLOWED BY --




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                                     634
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      1               THE COURT:    LEAD ME THROUGH THAT FOR A MOMENT.

(     2               SHOW ME WHERE IN THE OCTOBER --

      3               (TAPE 1 ENDING.)

      4               THE CLERK:   ALL RIGHT.    YOU CAN PROCEED.

      5               THE COURT:   ALL RIGHT.    I INTERRUPTED COUNSEL

      6   BECAUSE OUR TAPE MACHINE HAD ENDED.       SO, YOU CAN RESUME NOW.

      7              MR. TOBEROFF:     I NEEDED A GLASS OF WATER ANYWAY.
c     8               THE OCTOBER 26TH PROPOSAL HAS A WARRANTY AND

      9   INDEMNIFICATION PROVISIONS THAT ARE FAR BROADER IN THE

     10   OCTOBER 19TH LETTER.     FOR INSTANCE, KEVIN MARKS HAD MADE A
(
     11   POINT OF SAYING THE PLAINTIFFS WILL ONLY WARRANT AND

     12   REPRESENT THAT THEY HAVE NOT SOLD THESE RIGHTS TO ANY THIRD

     13   PARTY.

     14              AND RIGHT AWAY, ON OCTOBER 26TH, SCHULMAN IS ASKING

     15   FOR MUCH HEAVIER-DUTY WARRANTIES, WHICH IS A MATERIAL DEAL

(    16   POINT BECAUSE OF THE INDEMNIFICATION PROVISIONS THAT ARE

     17   CONNECTED TO THOSE WARRANTIES AND REPRESENTATIONS.

     18              BUT THAT'S FOR -- THAT IS FOR, I BELIEVE, ANOTHER

     19   DAY TO ARGUE THAT POINT.

     20              THE COURT:    IT'S NOT FOR ME TO DECIDE, BUT IT IS

     21   INTERESTING BACKGROUND.

     22              MR. TOBEROFF:     RIGHT.   AND THE REASON I AM GIVING

     23   THAT BACKGROUND IS TO SAY THAT WE -- FIRST OF ALL, PLAINTIFFS

     24   HAVE -- THERE IS NO SETTLEMENT AGREEMENT.        AND DEFENDANTS

     25   HAVE NEVER ACTED AS IF THERE IS A SETTLEMENT AGREEMENT.




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      1   THESE DISCUSSIONS TOOK PLACE IN 19- -- 2001 AND 2002.

      2               IN 2002, AFTER PLAINTIFFS REJECTED WARNER BROS.'

      3   PROPOSAL, WARNER BROS. DIDN'T WRITE A LETTER SAYING, WE HAVE

      4   A BINDING AGREEMENT OR A TENDER PAYMENT UNDER THE AGREEMENT.

      5               THEY DID NOTHING UNTIL 2004 WHEN WE FILED FOR

      6   DECLARATORY RELIEF TO ESTABLISH THE RIGHTS OF THE PLAINTIFFS.

      7   ALL OF A SUDDEN THEY SAY, WELL, WE DON'T BELIEVE YOU HAVE ANY

      8   RIGHTS.    BUT TO THE EXTENT YOU DO, WE BOUGHT THEM IN A

      9   SETTLEMENT AGREEMENT.

     10               IT'S -- IT'S -- IN MY OPINION THAT CLAIM IS NOT

     11   GOING TO GO ANYWHERE IN COURT.

     12              THE COURT:    WELL, WE'LL SEE.

     13              MR. TOBEROFF:     WE'LL SEE.

     14              THE COURT:    THE DEFENDANTS HAVE A DIFFERENT

     15   OPINION.

     16              MR. TOBEROFF:     I--

     17              THE COURT:    AND AS I SAID, I'M NOT GOING TO MAKE

     18   THE DECISION.    SO, WHY DON'T WE GO TO --

     19              MR. TOBEROFF:     I UNDERSTAND.

     20              THE COURT:        THE MEAT OF THIS MOTION.

     21              MR. TOBEROFF:     OKAY.   SO, AGAINST THAT BACKDROP, WE

     22   HAVE NOT PUT IT -- WE HAVE NOT -- PLAINTIFFS HAVE NOT SAID

     23   THAT KEVIN MARKS WAS NOT AUTHORIZED TO SEND THAT LETTER.            IN

     24   MY PAPERS I SAY WE'VE NEVER SAID          WE DO NOT NOW SAY -- AND

     25   IT'S RIDICULOUS TO SAY THAT YOUR OWN ATTORNEY DOES NOT HAVE




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                                  EXHIBIT 40
                                     636
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      1   AUTHORITY TO NEGOTIATE ON YOUR BEHALF.

(     2                  KEVIN MARKS HAD ABSOLUTE AUTHORITY.      AND WE'VE SAID

      3   THAT ALL ALONG.       RECENTLY, THE SIEGELS HAD A DEPOSITION

      4   TAKEN.       THEY SAID THE EXACT SAME THING.

c     5                  I BELIEVE THIS CLAIM IS MERELY A STRAWMAN IN ORDER

      6   TO INVADE THE PRIVILEGE.       KEVIN MARKS HAD AUTHORITY TO ENTER

      7   INTO THOSE NEGOTIATIONS.
c     8                 WHEN ASKED ORIGINALLY ABOUT THE LETTER, THEY GOT

      9   THE LETTER AT THE SAME TIME WARNER BROS. GOT THE LETTER.              SO,

     10   THEY NEVER APPROVED THE ACTUAL WORDING OF THAT LETTER.            AND,

     11   SO, ORIGINALLY WHEN THEY DIDN'T GIVE AN UNQUALIFIED ADMISSION

     12   TO THE REQUEST FOR ADMISSION THAT THEY APPROVE THE LETTER,

     13   THAT'S WHAT THEY WERE REFERRING TO.        AND THEN WHEN -- IN
(

     14   THEIR SUPPLEMENTAL RESPONSE THEY SUPPLEMENTED BY TRYING TO

     15   DESCRIBE THAT.

(    16                 THE SUPPLEMENTAL RESPONSE, AGAIN, DOES NOT PUT

     17   KEVIN MARKS' AUTHORITY AT ISSUE, YOUR HONOR.           IT SAYS, "WE

     18   CONDITIONALLY APPROVED THE TERMS IN THE KEVIN MARKS'

(    19   LETTER ...

     20                 AND THEN IT RECITES PROBABLY IN TOO -- MAYBE TOO

     21   VERBOSE A FASHION, IT RECITES THE CONDITIONS, WHICH ARE THE

     22   OBVIOUS CONDITIONS.

     23                 ONE, THAT THOSE TERMS GET ARTICULATED IN AN

     24   ACCEPTABLE LONG-FORM AGREEMENT.
L
     25                 TWO, THAT THE TERMS AREN'T CHANGED; AND




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      1                THREE, THAT THERE ARE NO NEW TERMS THAT AREN'T

(     2   ACCEPTABLE TO US.

      3                THAT DOES NOT PUT YOUR ATTORNEY'S AUTHORITY AT

      4   ISSUE BY SAYING THAT WE CONDITIONALLY APPROVE THE TERMS IN
(
      5   HIS LETTER BASED ON THOSE OBVIOUS OTHER APPROVALS THAT TAKE

      6   PLACE IN REACHING A FINAL SETTLEMENT AGREEMENT.

      7                SO, THAT ASIDE, SINCE THE AUTHORITY OF KEVIN MARKS
(
      8   IS AT ISSUE, THAT UNDERCUTS THEIR WHOLE THEORY THAT -- BY

      9   PUTTING AT ISSUE, WE'VE OPENED UP THE ENTIRE ATTORNEY-CLIENT

     10   PRIVILEGE.

     11                THE COURT:   LET ME JUST ASK YOU, MR. TOBEROFF.          I

     12   BELIEVE I HAD MR. BERGMAN'S UNDERSTANDING OF THIS.          I JUST

     13   WANT TO MAKE SURE THAT YOU AGREE WITH HIM.

     14                WHEN YOU FILED YOUR PLEADING, YOUR REPLY TO THEIR

     15   COUNTERCLAIM       SOMETIMES IT'S CALLED AN ANSWER; TECHNICALLY

(    16   IT'S A REPLY       BUT WHEN YOU FILED THAT, DID YOU ASSERT AS A

     17   DEFENSE TO THE COUNTERCLAIM THAT MR. MARKS DID NOT HAVE

     18   AUTHORITY TO ACT ON YOUR BEHALF?

     19                MR. TOBEROFF:   NO, WE DID NOT, YOUR HONOR.

     20                THE COURT:   ALL RIGHT.   THERE'S NO PLEADING WHICH

     21   SETS THAT FORTH?
(
     22                MR. TOBEROFF:   THAT'S CORRECT, YOUR HONOR.

     23                THE COURT:   ALL RIGHT.   GO AHEAD.

     24                MR. TOBEROFF:   SO, THAT TAKES -- I BELIEVE THIS

     25   WHOLE AUTHORITY ISSUE IS REALLY A STRAW-MAN ARGUMENT.




c
                                    EXHIBIT 40
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        1   THERE'S NO INTENTION ON OUR PART TO SAY THAT KEVIN MARKS DID

(       2   NOT HAVE AUTHORITY.

        3               THE SECOND PART OF THEIR MOTION DEALS WITH THE

        4   SEPTEMBER 21ST, 2002 LETTER.      AND WHAT HAPPENED AT THIS STAGE

        5   WAS THAT THE SIEGELS WERE TERMINATING THEIR CURRENT COUNSEL

        6   AND THEY WERE IN BETWEEN COUNSEL.       AND THEY HAD A

        7   LONG-STANDING RELATIONSHIP OR FRIENDSHIP WITH AN EXECUTIVE
(
        8   THE PRESIDENT OF DC, WHO WAS PAUL LEVITZ, WHO THEY HAD CC'D

        9   THIS LETTER.

       10              SO, WHEN THEY SENT OUT A LETTER TERMINATING THEIR
(
       11   COUNSEL, SO THAT THERE WOULD BE NO MISUNDERSTANDING WITH THE

       12   OTHER SIDE OR CONFUSION, THEY CC'D PAUL LEVITZ.         THEY

       13   SHOULDN'T HAVE DONE SO.      IF THEY HAD BEEN REPRESENTED BY AN
( i

       14   ATTORNEY AT THE POINT, THEY WOULDN'T HAVE DONE SO.          BUT THEY

       15   DID IT.

(      16              IN THAT LETTER THEY MENTION A COUPLE OF THINGS.

       17   THEY MENTION THAT THEY'RE TERMINATING THEIR ATTORNEY.           BUT

       18   THEY DON'T MENTION WHY, AND THEY DON'T MENTION THE SUBSTANCE

      19    OF THAT TERMINATION.

       20              SO, THE MERE MENTION THAT YOU'RE TERMINATING YOUR

      21    ATTORNEYS DOES NOT OPEN UP THE REASONS WHY YOU'RE TERMINATING
(
      22    YOUR ATTORNEYS.

       23              WHAT THE CASE LAW SAYS -- AND, BY THE WAY, THEY'VE

      24    CITED NO CASE LAW FOR THEIR ARGUMENTS -- THAT THE MERE

      25    MENTION OF SOMETHING OPENS UP -- OPENS IT UP.         YOU HAVE TO GO




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      1    INTO GREAT DETAIL ABOUT THE SUBSTANCE OF IT IN ORDER TO OPEN

(     2   UP THE ATTORNEY-CLIENT PRIVILEGE.       THAT'S WHAT THE CASES SAY.

      3   AND EVEN WHEN YOU DO THAT, THE CASES SAY THAT THE COURT

      4   SHOULD DRAW A LINE WHEREVER IT CAN DRAW A LINE RATHER THAN
(     5   OPEN UP THE ENTIRE PRIVILEGE ON THE SUBJECT MATTER.

      6               THE COURT:   DO YOU READ THE IRRECONCILABLE

      7   DIFFERENCES AS APPLYING TO THE RELATIONSHIP BETWEEN THE

      8   PLAINTIFFS AND THEIR ATTORNEYS OR BETWEEN THE PLAINTIFFS AND

      9   THE DEFENDANTS?

     10               MR. TOBEROFF:    I READ IT ABSOLUTELY AS APPLYING TO
(
     11   IRRECONCILABLE DIFFERENCES WITH RESPECT TO THE NEGOTIATIONS,

     12   EVEN THOUGH THAT'S SORT OF A BUZZ WORD.

     13               THE COURT:   I DON'T THINK THAT ANSWERED MY

     14   QUESTION.

     15               MR. TOBEROFF:    YES, I -- OKAY.    I'M SORRY.

     16               THE COURT:   IRRECONCILABLE DIFFERENCES WITH RESPECT

     17   TO THE NEGOTIATIONS COULD BE WITH RESPECT TO THE WAY THE

     18   ATTORNEYS HAD CONDUCTED THE NEGOTIATIONS ON BEHALF OF THE

(    19   PLAINTIFFS.

     20               SO, I'M ASKING YOU WHETHER YOU READ IT AS

     21   IRRECONCILABLE DIFFERENCES BETWEEN THE PLAINTIFFS AND THEIR

     22   THEN COUNSEL IN HOW THOSE NEGOTIATIONS HAD BEEN CONDUCTED FOR

     23   EXAMPLE, OR BETWEEN THE PLAINTIFFS AND THE DEFENDANTS IN

     24   TERMS OF HOW THE NEGOTIATIONS WERE COMING INTO FRUITION?

    25                MR. TOBEROFF:    I BELIEVE IT HAS TO DO PURELY WITH




(
                                   EXHIBIT 40
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        1   THE NEGOTIATIONS NOT WITH IRRECONCILABLE DIFFERENCES WITH THE

        2   COUNSEL.

        3               THE COURT:   ALL RIGHT.

        4               MR. TOBEROFF:    BECAUSE IT SAYS WE -- IF IT'S,

        5   THEREFORE, DUE TO IRRECONCILABLE DIFFERENCES AFTER FOUR YEARS

        6   OF PAINFUL AND UNSATISFYING NEGOTIATIONS, THOSE NEGOTIATIONS

        7   WERE NOT WITH -- WITH THEIR ATTORNEYS, THEY WERE WITH WARNER

        8   BROS.   SO, THE IRRECONCILABLE DIFFERENCES I THINK REFERS TO

        9   THE NEGOTIATIONS WITH WARNER BROS.       AND THEN THEY ASKED TO

       10   END THOSE NEGOTIATIONS.

       11              ONE OF THE REASONS WHY THEY'RE ASKING TO END

       12   NEGOTIATIONS IS BECAUSE THEY HAD VARIOUS AGREEMENTS IN WHICH

       13   THEY NEED TO INFORM THE OTHER SIDE WHEN THEY'RE STOPPING

       14   NEGOTIATIONS.    THEY HAD A CONFIDENTIALITY AGREEMENT, FOR

       15   INSTANCE, AND THEY ALSO HAD A TOLLING AGREEMENT.

c      16              SO, THE FACT OF MENTIONING THEIR TERMINATION OF

       17   ATTORNEYS DOESN'T OPEN UP THE PRIVILEGE AS TO WHY THEY

       18   TERMINATED THEIR ATTORNEYS.
,-,
       19              THE SECOND THING THEY MENTION HERE IS A REDRAFT,

       20   WHICH WAS OBVIOUSLY REJECTED BECAUSE IT WAS NEVER SENT.           THAT

       21   REDRAFT IS PROTECTED BY -- THE REASONS WHY THEY REJECTED

       22   THEIR ATTORNEYS' REDRAFT COULD NOT BE -- YOU KNOW, IT'S A

       23   PERFECT EXAMPLE OF A COMMUNICATION THAT SHOULD BE PROTECTED

       24   BY THE ATTORNEY-CLIENT PRIVILEGE.       THEIR MENTAL IMPRESSIONS,
L
       25   THEIR REASONS, THEIR COMMUNICATIONS WITH THEIR ATTORNEY AS TO




(.
                                     EXHIBIT 40
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      1   WHETHER OR NOT A REDRAFT WOULD BE ACCEPTABLE TO THEM OR NOT,

      2   ALL OF THAT IS PROTECTED.       IT'S ALSO PROTECTED AS ATTORNEY

      3   WORK PRODUCT.

      4               AND SIMPLY BY MENTIONING THAT THERE WAS A REDRAFT,

      5   YOU DON'T OPEN UP THE ATTORNEY-CLIENT PRIVILEGE.           BECAUSE THE

      6   SUBSTANCE OF THAT REDRAFT, THE SUBSTANCE OF THEIR REJECTION,

      7   THE REASONS WHY THEY REJECTED IT, ALL OF THE PRIVILEGED
c     8   THINGS ATTENDANT TO THAT REDRAFT NONE OF THOSE ARE MENTIONED

      9   IN THIS LETTER.       AND THE CASE LAW SAYS THAT IF YOU JUST -- IF

     10   YOU DON'T MENTION THE SUBSTANCE, YOU DON'T WAIVE THE

     11   PRIVILEGE AS TO THAT SUBSTANCE.

     12               AS FAR AS THE ATTORNEY        AS FAR AS THE WORK

     13   PRODUCT DOCTRINE IS CONCERNED, IT'S INCORRECT TO SAY THE

     14   MENTAL IMPRESSIONS OF KEVIN MARKS IS AT ISSUE IN THIS CASE

     15   AND THAT WE'VE PLACED THAT AT ISSUE.        IT'S NEITHER AT ISSUE

     16   NOR HAVE WE PLACED IT AT ISSUE.        IT'S NOT THE -- IT'S UP TO

     17   THE CLIENT TO DECIDE WHETHER TO ACCEPT NEW AND DIFFERENT

     18   TERMS IN A SETTLEMENT AGREEMENT.        IT'S NOT UP TO THEIR

     19   ATTORNEY.

     20               SO, HOW ARE THE MENTAL IMPRESSIONS OF THEIR

     21   ATTORNEY AT ISSUE.      LET'S SAY THE ATTORNEY THINKS, WELL, YOU

     22   KNOW WHAT, THESE NEW CONDITIONS AREN'T SO BAD.          I THINK WE

     23   SHOULD ACCEPT SOME OF THEM AND REJECT OTHERS.

    24                DOES THAT MEAN THAT IT BINDS THE CLIENT.         I DON'T

     25   THINK SO.




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      1               SO, I CAN'T SEE -- ALTHOUGH A LOT OF THESE PHRASES

      2   ARE BEING LOOSELY THROWN AROUND BY THE DEFENDANTS, I REALLY

      3   DON'T SEE HOW THE MENTAL IMPRESSIONS OF KEVIN MARKS ARE AT

      4   ISSUE HERE.     AND IF THEY ARE, THIS SUBJECT MATTER IS STILL

(     5   PROTECTED BY THE ATTORNEY-CLIENT PRIVILEGE.

      6               LASTLY, AS FAR AS THE PRIVILEGE LOG ISSUE IS

      7   CONCERNED, IT'S INCORRECT THAT THE PRIVILEGE LOG DOES NOT
(
      8   CONNOTE OTHER PARTIES, LIKE CC'D PARTIES.         THEY MADE A COUPLE

      9   OF POINTS REGARDING THE PRIVILEGE LOGS, AND I WANT TO ADDRESS

     10   SOME OF THEM.
(
     11              THE PRIVILEGE LOG ACTUALLY DOES -- WHEN MORE THAN

     12   ONE PARTY RECEIVES A COPY OF THE DOCUMENT, THE PRIVILEGE LOG

     13   WILL NOTE THAT.       FOR EXAMPLE, THERE ARE SOME ENTRIES THERE

     14   THAT SAY LAURA SIEGEL LARSON, JOANNE SIEGEL AND DON BULSON.

     15   AND ALL THREE PARTIES ARE LISTED EVEN THOUGH DON BULSON, FOR

     16   INSTANCE, IS ONLY CC'D OR LAURA SIEGEL IS CC'D ON THE COPY.

     17   SO, WE DON'T LAY IT OUT --

     18              THE COURT:     ARE YOU REPRESENTING TO THE COURT THAT

     19   IN EVERY CASE WHERE THERE WERE MULTIPLE ADDRESSEES OR

     20   MULTIPLE PERSONS WHO RECEIVED THE DOCUMENT, YOU HAVE

     21   IDENTIFIED THOSE?

     22              MR. TOBEROFF:      I DON'T WANT TO -- I REPRESENT

     23   THAT'S THE INTENT.      I'LL GO BACK AND DOUBLE CHECK

     24   EVERYTHING.     TO THE EXTENT THERE IS A DOCUMENT WHERE THE CC'S

     25   WERE NOT -- ARE NOT IN THERE, I'LL GLADLY ADD IT TO THE




(
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      1   PRIVILEGE LOG.

      2               THE COURT:   WELL, THAT'S NOT AN ISSUE BETWEEN THE

      3   TWO OF YOU.

      4              MR. TOBEROFF:       ABSOLUTELY NOT AN ISSUE.

(     5               THE COURT:    SO

      6              MR. TOBEROFF:       NOR IS IT AN ISSUE --

      7              THE COURT:    SO, LET'S JUST FOCUS ON THIS FOR A
(
      8   MOMENT.

      9               SO, YOU'LL REVIEW THE PRIVILEGE LOG.         AND TO THE

     10   EXTENT THERE ARE ANY DOCUMENTS WHERE YOU HAVE NOT IDENTIFIED

     11   ALL THE PEOPLE WHO RECEIVED IT, YOU WILL SUPPLEMENT THAT AND

     12   INDICATE IT, CORRECT?

     13              MR. TOBEROFF:       ABSOLUTELY, YOUR HONOR.

     14              THE COURT:    ALL RIGHT.      SO, THE OTHER ISSUE WHICH

     15   THE DEFENDANTS IDENTIFIED WAS THE TIME PERIOD COVERED BY THE

(    16   PRIVILEGE LOG.    WHY DON'T YOU ADDRESS THAT.

     17              MR. TOBEROFF:       OKAY.   I INFORMED DEFENDANTS'

     18   COUNSEL THAT THIS PRIVILEGE LOG COVERS A CERTAIN PERIOD,

     19   NAMELY, THE PERIOD OF KEVIN MARKS' REPRESENTATION AND ALL OF

     20   THE LETTERS IN THAT FILE.        IT WAS A VERY LARGE FILE.      AND

     21   THAT WE WOULD BE SERVING ADDITIONAL PRIVILEGE LOGS BECAUSE

     22   THERE ARE A LOT OF DOCUMENTS AND A LOT OF FILES GOING -- IN

     23   THIS CASE, INCLUDING, YOU KNOW, TWO LITIGATIONS -- ONE IN

     24   1947 AND ONE IN 1974.

     25              AND WE'RE IN THE PROCESS --




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      1                THE COURT:    YES, I READ ABOUT THOSE.

(     2                MR. TOBEROFF:      WE'RE IN PROCESS OF ASSEMBLING

      3   THOSE PRIVILEGE LOGS.        AND, OF COURSE, WE'RE GOING TO

      4   WE'RE GOING TO PRODUCE THEM.            SO, THERE'S NO ISSUE
(
      5                THE COURT:   WHEN?

      6                MR. TOBEROFF:      I'D LIKE TO DO IT AFTER -- IN

      7   SEPTEMBER, IF I CAN, BECAUSE I'M GOING AWAY IN THE LAST TWO

      8   WEEKS IN AUGUST.

      9                THE COURT:   THE LAST TWO WEEKS IN AUGUST STARTS

     10   ABOUT NOW.

     11                MR. TOBEROFF:      NO, THE 18TH.     SO--

     12                THE COURT:   THAT'S SATURDAY.

     13                MR. TOBEROFF:      -- CAN WE SAY BY THE END OF

     14   SEPTEMBER?

     15                THE COURT:   DO YOU HAVE ANY OTHER DEADLINES COMING

     16   UP THAT THAT WOULD AFFECT?

     17                MR. TOBEROFF:      WELL, I'M SUPPOSED TO BE ON TRIAL IN

     18   -- WHAT DATE?

     19                (COUNSEL CONFERRING.)

     20                MR. TOBEROFF:      SEPTEMBER 15TH.     I HAVE A TRIAL

     21   SEPTEMBER 15TH.
(
     22                THE COURT:   NO.     NO.    NO.   DEADLINES IN THIS CASE?

     23                MR. TOBEROFF:      NO, I DON'T BELIEVE SO.

     24                THE COURT:   ALL RIGHT.       SO, YOU'RE PROPOSING BY THE

     25   END OF SEPTEMBER TO HAVE ALL PRIVILEGE LOGS TO THE PLAINTIFF




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      1

      2              MR. TOBEROFF:      YES.

      3               THE COURT:        TO THE DEFENDANT?

      4              MR. TOBEROFF:      YES.

      5               THE COURT:     ALL RIGHT.     I'LL SEE WHAT THE

      6   DEFENDANTS HAVE TO SAY ABOUT THAT IN A MOMENT.

      7              ALL RIGHT.      GO AHEAD.
(
      8              MR. TOBEROFF:      AS FAR AS THE SUBJECT MATTER IS

      9   CONCERNED, I DON'T BELIEVE THAT ON A PRIVILEGE LOG BY

     10   DISCLOSING THE SUBJECT MATTER YOU'RE DISCLOSING SOMETHING

     11   THAT'S PRIVILEGED.       AND I DON'T -- AND WE'VE NEVER DONE IT

     12   THAT WAY, WHERE WE PUT DOWN DOCUMENTS ARE ATTORNEY-CLIENT

     13   PRIVILEGED AND THEN WE DISCLOSE THE PRIVILEGED SUBJECT MATTER

     14   OF THE COMMUNICATION.

     15              SO, I WOULD BEG TO DIFFER ON THAT POINT AND SEEK

     16   YOUR HONOR'S GUIDANCE ON THAT.

     17              THE COURT:     THE WHOLE PURPOSE OF A LOG IS TO --

     18   WITHOUT DISCLOSING PRIVILEGED MATTERS GIVE THE OTHER SIDE

     19   AND, IF NECESSARY, THE COURT, SUFFICIENT INFORMATION SO THAT

     20   A DETERMINATION CAN BE MADE IF CHALLENGED AS TO WHETHER

     21   SOMETHING TRULY IS PRIVILEGED.          SO, THERE HAS -- IT'S KIND

     22   LIKE A GOLDILOCKS PRINCIPLE.         IT HAS TO BE JUST ENOUGH.

     23              MR. TOBEROFF:      SO, FOR INSTANCE, HERE THE DOCUMENTS

     24   -- FIRST OF ALL, THE DOCUMENTS THAT ARE CLAIMED ARE

     25   PRIVILEGED ON A LOG ARE NOT SOME SORT OF STRANGE SPECIES.




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      1   THEY'RE ESSENTIALLY, YOU KNOW, JOANNE AND LAURA SIEGEL TO

      2   KEVIN MARKS, LETTER, ATTORNEY-CLIENT PRIVILEGE, PLAINTIFF'S

      3   COUNSEL.    IT'S A LETTER FROM THE CLIENT TO HER ATTORNEY.

      4               WOULD YOU SAY IN THAT INSTANCE TO UNDER- -- WE
(
      5   WOULD NEED TO NOTE THE SUBJECT MATTER?         I--

      6               THE COURT:    IT'S SORT OF HARD TO TELL IN ANY

      7   PARTICULAR ITEM.      I MEAN, I CAN IMAGINE       I CAN IMAGINE A
(
      8   FEW COMMUNICATIONS BETWEEN ATTORNEY AND CLIENT THAT ARE NOT

      9   PRIVILEGED.    BUT I WOULD SAY PRESUMPTIVELY MOST OF THEM ARE.

     10               MR. TOBEROFF:    RIGHT.

     11               THE COURT:   OKAY.    THE SPECIFICS OF THE LOG ARE NOT

     12   BEFORE ME THIS MORNING.

     13               MR. TOBEROFF:    OKAY.     SO, WE WOULD CERTAINLY BE
(

     14   PREPARED      WELL, WE'RE IN THE PROCESS OF PREPARING THOSE

     15   OTHER LOGS.    AND I DON'T THINK THE LOGS ARE AN ISSUE.

     16               THE COURT:   YOU FOLKS HAVE ENOUGH TO FIGHT OVER

     17   WITHOUT FIGHTING OVER THINGS LIKE THAT.

     18               MR. TOBEROFF:    I AGREE.

     19               THE COURT:   ALL RIGHT.     ANYTHING ELSE, MR.

     20   TOBEROFF?

     21               MR. TOBEROFF:   NO.      THAT'S IT UNLESS YOU HAVE ANY

     22   QUESTIONS FOR ME.

     23               THE COURT:   NO, I DON'T HAVE ANYTHING FURTHER.

     24               ALL RIGHT.   THANK YOU.

     25               MR. TOBEROFF:   THANK YOU.




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      1               THE COURT:     MR. BERGMAN.

      2               MR. BERGMAN:        JUST A FEW POINTS, YOUR HONOR.

      3               THE COURT:     WELL, LET'S START WITH THE PRIVILEGE

      4   LOG.    IF THEY GET TO YOU PRIVILEGE LOGS COVERING ALL PERIODS,
(
      5   AND GET THOSE TO YOU BY THE END OF SEPTEMBER, IS THAT

      6   SUFFICIENT FOR YOU?

      7              MR. BERGMAN:         I WOULD, OF COURSE, PREFER THEM

      8              THE COURT:      YOU WANT THEM YESTERDAY, I KNOW.       BUT

      9

     10              MR. BERGMAN:         -- PREFER THEM EARLIER, BUT I DON'T

     11   WANT TO INTERFERE IN ANY WAY WITH MR. TOBEROFF'S VACATION.

     12   AND WE WILL ACCEPT THAT DATE.

     13              THE COURT:      ALL RIGHT.     SO, MR. TOBEROFF, YOU'LL DO

     14   THAT.   BY THE END OF SEPTEMBER, ALL PRIVILEGE LOGS DELIVERED

     15   TO THE DEFENDANTS, INCLUDING ANY REVISIONS OF THE CURRENT

(    16   PRIVILEGE LOG WHICH AFTER YOUR REVIEW YOU CONCLUDE ARE

     17   APPROPRIATE.    ALL RIGHT.

     18              MR. BERGMAN:         AND

     19              THE COURT:      SO, THAT -- AND THE ONLY THING THAT

     20   LEAVES ME TO DECIDE ON THE PRIVILEGE LOG ISSUE IS WHETHER THE

     21   DESCRIPTION IS SUFFICIENT; IS THAT CORRECT?
(
     22              MR. BERGMAN:         THAT'S CORRECT, YOUR HONOR.   AND IF

     23   YOU'LL -- IF YOU'LL NOTICE, IT'S EXHIBIT M TO MR. TOBEROFF'S

     24   DECLARATION.

     25              THE COURT:      N?




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          1               MR. BERGMAN:     M, AS IN MICHAEL, YOUR HONOR.

    (     2               THE COURT:     ALL RIGHT.

          3               MR. BERGMAN:     AND IF YOU'LL NOTICE, UNDER THE

          4   COLUMN "DOCUMENT DESCRIPTION," IT SIMPLY SAYS, "NOTES,
(
          5   LETTER, DRAFT, NOTES, LETTER."          I MEAN, THERE IS NO WAY GIVEN

          6   THOSE GENERIC DESCRIPTIONS THAT WE COULD ASSESS WHETHER THE

          7   PARTICULAR DOCUMENT IS PRIVILEGED OR NOT.          THERE ARE LETTERS
(
          8   THAT AREN'T PRIVILEGED.       THERE ARE NOTES THAT AREN'T

          9   PRIVILEGED.

         10               WHAT IF ONE OF THE ATTORNEYS TOOK NOTES OF

         11   SOMETHING THAT MR. SCHULMAN SAID TO HIM AND WROTE DOWN

         12   VERBATIM WHAT WAS SAID TO HIM.          THOSE NOTES WOULDN'T

         13   BE PRIVILEGED.    WE, AT LEAST, HAVE THE --
,
(




         14               THE COURT:     I'M NOT SO SURE ABOUT THAT.

         15               MR. BERGMAN:    WELL, ALL HE WOULD BE DOING IN THAT

(        16   INSTANCE IS TRANSMITTING SOMETHING THAT HIS OPPONENT HAD TO

         17   SAY WITHOUT INDICATING HIS OWN MENTAL IMPRESSIONS OR

         18   OPINIONS.

(        19               BUT IN ANY EVENT, YOUR HONOR

         20               THE COURT:     OH, I THINK, MR. BERGMAN, THAT IF YOU

         21   TOOK NOTES OF THE MEETING YOU HAD WITH MR. TOBEROFF, THAT YOU

         22   WOULD NOT BE ACTING SIMPLY AS A STENOGRAPHER.

         23               MR. BERGMAN:    THAT'S CORRECT, YOUR HONOR.        EXCEPT

         24   IF MR. TOBEROFF HAD A PARTICULAR STATEMENT THAT HE WANTED TO

         25   CONVEY TO ME, AND I WROTE DOWN THAT STATEMENT VERBATIM, I




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          1   DON'T THINK THAT WOULD BE PRIVILEGED.             BUT THAT'S -- IT'S A

    (     2   NICE ACADEMIC QUESTION.

          3               THE COURT:    THEN YOU BECOME A WITNESS AS TO WHAT

          4   MR. TOBEROFF SAID?
    (
          5              MR. BERGMAN:     YES.

          6              THE COURT:     I'M NOT SO SURE, MR. BERGMAN.

          7              MR. BERGMAN:     BUT MY POINT IS, YOUR HONOR, THERE'S
c         8   JUST NO WAY TO TELL FROM LETTER, NOTES, DRAFT WHAT WE'RE

          9   TALKING ABOUT.    SO, I BELIEVE THAT -- THAT IT IS INADEQUATE.

         10   AND WITH ALL RESPECT, WE HAVE PLACED THAT ISSUE BEFORE YOUR
(
         11   HONOR.

         12              THE COURT:     SO, IF IT SAID NOTES OF CONVERSATIONS

         13   WITH CLIENT, YOU THINK THAT WOULD BE SUFFICIENT TO IDENTIFY

         14   IT AS WORK PRODUCT?

         15              MR. BERGMAN:     I BELIEVE IT WOULD BE, YOUR HONOR.

(        16              THE COURT:     IF IT SAID NOTES FROM RESEARCH -- OR

         17   RESEARCH NOTES?

         18              MR. BERGMAN:     I BELIEVE THAT THAT WOULD BE
(        19   SUFFICIENT.

         20              THE COURT:     AND IF IT SAID NOTES RECITING WHAT MR.

         21   BERGMAN SAID TO ME?

         22              MR. BERGMAN:     THAT WOULD BE SUFFICIENT, YOUR HONOR.

         23              THE COURT:     ALL RIGHT.     GO AHEAD.

         24              MR. BERGMAN:     AND IF I CAN ADDRESS THE OTHER POINT,
(
         25   YOUR HONOR.




(
                                       EXHIBIT 40
                                          650        ---   "-----_. - - - - - -
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      1                WITH ALL DUE RESPECT TO MR. TOBEROFF, HE'S BEATING

      2   AROUND THE BUSH.      THIS LETTER FROM MR. MARKS DATED SEPTEMBER

      3   19 SAYS THAT THE FAMILY, QUOTE, HAS ACCEPTED, CLOSE QUOTE,

      4   THE OCTOBER 16 OFFER.
(
      5                THE COURT:     OKAY.   WAIT A SECOND.    YOU SAID,

      6    "SEPTEMBER 19TH."    YOU MEAN OCTOBER 19TH.

      7                MR. BERGMAN:     I'M SORRY, YOUR HONOR.     I DID MEAN

      8   OCTOBER 19TH.

      9                THE COURT:     OKAY.

     10                MR. BERGMAN:     EXHIBIT A TO THE WEINBERG
(
     11   DECLARATION.

     12                THE COURT:     OKAY.

     13                MR. BERGMAN:     AND IF YOU'LL NOTICE IT SAYS, "HAS
(

     14   ACCEPTED."

     15                THE COURT:     YES, I SEE THAT.

(    16                MR. BERGMAN:     MR. TOBEROFF'S PAPERS MERELY TALK

     17   ABOUT, WELL, OF COURSE, OUR ATTORNEY WAS AUTHORIZED TO

     18   NEGOTIATE.     AND, OF COURSE, HE HAD THE POWER TO NEGOTIATE ON

(    19   OUR BEHALF.     NO WHERE DOES HE SAY THAT HE HAD THE POWER TO

     20   ACCEPT THE OFFER ON THEIR BEHALF.         THAT'S THE POINT THAT IS

     21   BEING OBFUSCATED BY THIS DENIAL OF DISCOVERY.          WE ARE
(
     22   ENTITLED TO KNOW WHETHER THAT LETTER WAS AUTHORIZED OR NOT.

     23                AND, FRANKLY, IN THE SUPPLEMENTAL RESPONSE THAT MR.

     24   TOBEROFF MADE TO NUMBER 69, HE JUST RAISES MORE AND MORE
(
     25   QUESTIONS.     HE TALKS ABOUT MR. MARKS HAVING APPROVAL TO




                                    EXHIBIT 40
                                       651
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      1   COMMUNICATE PLAINTIFF'S CONDITIONAL INTERIM APPROVAL OF THE

(     2   BASIC DEAL POINTS.       WELL, THAT'S A LOT DIFFERENT FROM A

      3   LETTER THAT'S SAYING THE FAMILY ACCEPTS.

      4              AND THEN HE GOES FORWARD TO CITE CERTAIN
(     5   CONDITIONS, INCLUDING THE CONDITION THAT THERE BE NOTHING IN

      6   THE FINAL SETTLEMENT AGREEMENT WHICH IS ADDITIONAL OR REVISED

      7   FROM THE BASIC CONTRACT.      THAT'S QUITE A CONDITION.
(
      8               THE COURT:    WELL, WOULDN'T THAT BE -- I MEAN, IF

      9   YOU ADD IN THE WORD "MATERIAL," WOULDN'T THAT SIMPLY BE A

     10   STATEMENT OF THE LAW, THAT IF THE -- IF THE ULTIMATE DOCUMENT
(
     11   CONTAINS NEW MATERIALLY DIFFERENT TERMS THAT IT IS NOT THE

     12   CONTRACT THE PARTIES HAD AGREED TO?

     13              MR. BERGMAN:     BUT IT -- BUT I BELIEVE IT WOULD.

     14   BUT THAT DOES NOT ENTITLE THE PARTY TO REPUDIATE THE CONTRACT

     15   THAT HAD BEEN ENTERED INTO.      WHAT IT ENTITLES A PARTY TO DO

(    16   IS TO HAVE MR. MARKS AND MR. RAMER DO A REDRAFT, WHICH IS

     17   PRECISELY WHAT THEY DID, AND SEND IT TO THE DEFENDANTS.

     18              THE COURT:     WELL, NOW YOU'RE INTO AN ISSUE OF

(    19   CONTRACT LAW.    AND YOU MAY BE RIGHT ON THAT BUT YOU MAY NOT

     20   BE.

     21              MR. BERGMAN:     WELL, BUT WE -- WE HAVE TO START THE
(
     22   LONGEST JOURNEY WITH A SINGLE STEP, YOUR HONOR.         AND THE

     23   SINGLE STEP IN OUR INSTANCE AT THIS POINT IS TO FIND OUT

     24   WHETHER IT WAS -- THAT LETTER WAS AUTHORIZED OR NOT.           AND WE
(
     25   HAVE A DENIAL THAT IT WAS AUTHORIZED.




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                                   EXHIBIT 40
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      1               AND THERE ARE SEVERAL CASES -- NOT IN CALIFORNIA, I

(     2   MIGHT NOTE, YOUR HONOR.       BUT THERE ARE SEVERAL CASES THAT WE

      3   CITED FROM OTHER JURISDICTIONS, INCLUDING THE NORTHERN

      4   DISTRICT OF ILLINOIS, WHERE THE COURTS HAVE CLEARLY HELD THAT
(     5   THE QUESTION -- THAT WHEN YOU SAY THAT YOUR ATTORNEY WAS NOT

      6   AUTHORIZED TO ENTER INTO A SETTLEMENT AGREEMENT, THAT PLACES

      7   HIS AUTHORITY IN ISSUE AND YOU CANNOT DECLINE DISCOVERY WHICH
(
      8   IS DESIGNED TO REACH THAT.

      9               THE COURT:     OKAY.    NOW, JUST A MOMENT.    LET'S GO

     10   BACK TO -- AS I UNDERSTOOD YOUR ORIGINAL ARGUMENT, YOU SAID
(
     11   THAT THEY PLACED THE AUTHORITY IN ISSUE BY VIRTUE OF THEIR

     12   RESPONSES TO THE REQUEST TO ADMIT.           THAT WAS ONE WAY.   AND

     13   ALSO BY VIRTUE OF DISCLOSING THE SEPTEMBER 21, 2002 LETTER.

     14   THAT'S THE OTHER WAY.

     15               MR. BERGMAN:     NO, THE OTHER WAY, YOUR HONOR, IS BY

(    16   VIRTUE OF THEIR SUPPLEMENTAL RESPONSES TO --

     17               THE COURT:     TO THE REQUEST TO ADMIT.

    18                MR. BERGMAN:     -- TO THE REQUEST TO ADMIT.

(   19                THE COURT:     RIGHT.   RIGHT.    SO, THAT'S THE ONLY WAY

     20   THEY PLACED IT IN ISSUE IS BY THEIR RESPONSES TO THE REQUEST

     21   TO ADMIT?

     22               MR. BERGMAN:     THEIR INITIAL DENIAL --

     23               THE COURT:     RIGHT.

     24               MR. BERGMAN:     -- AND THEN THEIR FURTHER RESPONSES

     25   WHICH PRECEDED THE SPECIFIED CONDITIONS.




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       1               THE COURT:     OKAY.   THAT'S THE ONLY WAY THESE

(      2   PLAINTIFFS, THEMSELVES, PLACED THE ISSUE -- PLACED THE MATTER

       3   IN ISSUE.

       4               MR. BERGMAN:     THAT IS CORRECT, YOUR HONOR.
(
       5               THE COURT:     OKAY.   ALL RIGHT.

       6               NOW, THE OCTOBER 19TH, 2001 LETTER, EXHIBIT A, AND

       7   THE SEPTEMBER 21, 2002 LETTER, EXHIBIT B TO MR. WEINBERGER'S
c      8   DECLARATION, EXHIBIT B, THE SEPTEMBER 21, 2002 LETTER REFERS

       9   TO A DOCUMENT SENT ON FEBRUARY 4TH, 2002, RIGHT?

      10               MR. BERGMAN:     THAT'S THE DEFENDANTS' LONG-FORM
(
      11   MEMORIAL OF THE SETTLEMENT AGREEMENT, YOUR HONOR.

      12               THE COURT:     ALL RIGHT.   IT DOES NOT REFER TO THIS

      13   OCTOBER 19TH, 2001 LETTER?
(
      14               MR. BERGMAN:     NO, IT DOES NOT.

      15               THE COURT:     ALL RIGHT.   OKAY.   GO AHEAD NOW.

(     16               SO -- WELL, WAIT.      LET ME JUST PURSUE THAT FOR A

      17   MOMENT.

      18               IS IT YOUR VIEW THAT THE FEBRUARY 4TH, 2002

(     19   LONG-FORM LETTER IS IN ALL MATERIAL RESPECTS THE SAME AS THE

      20   OCTOBER 19TH, 2001 LETTER?

      21               MR. BERGMAN:     YES, THAT IS OUR POSITION, YOUR

      22   HONOR.    AND OUR POSITION IS THAT THE OCTOBER 26TH LETTER IS

      23   ALSO IN COMPLETE CONFORMITY WITH THE OCTOBER 19 LETTER.

      24               THE COURT:     ALL RIGHT.   LET'S ASSUME -- LET'S TAKE
(
      25   THAT AS A STARTING POINT.




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                                    EXHIBIT 40
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       1               IS THAT A -- IS THE LEGAL DETERMINATION ON WHETHER

(      2   THAT IS SO AN OBJECTIVE ONE OR ONE THAT PERTAINS TO THE

       3   SUBJECTIVE VIEWS OF THE PARTIES INVOLVED?

       4               MR. BERGMAN:     I BELIEVE IT'S OBJECTIVE, YOUR HONOR.

       5   BUT THE POINT IS WE HAVE A DIFFERENT PERCEPTION OF WHAT THE

       6   CONTRACTUAL THEORY IS.       MR. TOBEROFF IS TALKING ABOUT THE

       7   OCTOBER 19 LETTER AS BEING AN OFFER.         THE OCTOBER 26TH LETTER

       8   BEING A COUNTEROFFER.

       9               I'M SAYING, THE DEFENDANTS ARE SAYING, THAT THE

      10   OCTOBER 19 LETTER IS AN AGREEMENT.        IT IS AN ACCEPTANCE OF A

      11   SPECIFIC OFFER.       IT RECITES ALL OF THE TERMS.     AND AT THE

      12   CONCLUSION OF IT, MR. MARKS TELLS MR. SCHULMAN MANY THANKS

      13   FOR HELP AND PATIENCE IN REACHING THIS MONUMENTAL ACCORD.                I

      14   SAY THAT THAT'S A CONTRACT THEN AND THERE.

      15              THE COURT:      AND YOU SAY THAT FURTHERMORE THEY WERE

      16   SIMPLY DOCUMENTING IT -- DOTTING THE I'S AND CROSSING THE T'S

      17   WHEN THEY SENT THE FEBRUARY 4TH REDRAFT, RIGHT?

      18              MR. BERGMAN:      PRECISELY.
,
\,    19              THE COURT:      SO, WHAT DOES THE SUBJECTIVE VIEW OF

      20   ANYBODY HAVE TO DO WITH IT AT THAT POINT?         IF THAT'S TRUE,

      21   IF, IN FACT, THE FEBRUARY 4TH LONG-FORM LETTER MERELY FILLED
(
      22   OUT THE -- FILLED IT OUT, FLUSHED IT OUT, ISN'T THAT EITHER

      23   TRUE OBJECTIVELY OR NOT TRUE OBJECTIVELY?

      24              MR. BERGMAN:     WELL, I BELIEVE THAT THAT'S -- THAT'S

      25   SO, YOUR HONOR.       BUT YOU HAVE TO BEAR IN MIND THAT WE'VE GOT




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        1   TO START FROM A FOUNDATION.          WAS THERE A CONTRACT ON OCTOBER

(       2   19?

        3               THEY'RE ARGUING THAT THIS FEBRUARY 2002 LONG FORM

        4   PREPARED BY DEFENDANTS WAS SO BEYOND WHAT HAD BEEN AGREED TO

        5   THAT IT ENTITLED THEM UNDER SOME UNKNOWN LEGAL THEORY TO

        6   REPUDIATE THE UNDERLYING AGREEMENT.

        7               THE COURT:     ALL RIGHT.    THAT'S

        8               MR. BERGMAN:     WHAT WE'RE --

        9               THE COURT:     SO, THAT'S -- LET'S ASSUME THAT'S THEIR

       10   ARGUMENT.

       11               MR. BERGMAN:     OKAY.    WHAT WE'RE TRYING TO --

       12               THE COURT:     THERE'S A MATERIAL CHANGE WHICH FREED

       13   THEM FROM ANY OBLIGATION THEY HAD THERETOFORE UNDERTAKEN.
l
       14               MR. BERGMAN:     OKAY.    ASSUMING THAT SUCH A THEORY

       15   EXISTS, AND I KNOW OF NONE, WE STILL HAVE TO START OFF

       16   WITH THE PREMISE, WAS THEIR A CONTRACT ON OCTOBER 19 OR

       17   WASN'T THERE.    AND THAT DEPENDS UPON WHETHER MR. MARKS HAD

       18   THE AUTHORITY TO WRITE IN HIS OCTOBER 19 LETTER THAT THE

( :    19   FAMILY HAS, PAST TENSE, ACCEPTED DC COMICS' OFFER OF OCTOBER

       20   16TH.

       21               THE COURT:     ALL RIGHT.    BUT -- AND I UNDERSTAND

       22   THAT POINT.

       23               AND IF THAT'S THE CASE, THEN THE REFERENCE IN THE

       24   SEPTEMBER 21, 2002 LETTER, NOT TO THE OCTOBER 19TH LETTER BUT
l
       25   TO THE FEBRUARY 4TH LONG-FORM LETTER, HOW DOES THAT IN ANY




(
                                     EXHIBIT 40
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       1   WAY WAIVE ANY PRIVILEGE THAT WOULD BE INVOLVED?

(      2               MR. BERGMAN:     THAT DOESN'T, YOUR HONOR.

       3               THE COURT:     ALL RIGHT.

       4              MR. BERGMAN:      BUT THE REFERENCE

       5               THE COURT:     -- GET BACK TO THE REQUEST FOR

       6   ADMISSIONS.

       7              MR. BERGMAN:      THE REFERENCE -- WE'RE TALKING REALLY
(
       8   ABOUT TWO SEPARATE ISSUES.          ON THE ONE HAND, THERE'S THE

       9   AUTHORITY OF MR. MARKS.       ON THE OTHER HAND, WE HAVE THE WHOLE

      10   QUESTION OF WHETHER THERE'S BEEN A WAIVER AS A RESULT OF THE

      11   SEPTEMBER 21 LETTER OF THE CIRCUMSTANCES CONCERNING THE GANG

      12   TYRE TERMINATION AND

      13              THE COURT:      OKAY.    ANYTHING REFERRED TO IN THAT
l
      14   LETTER.

      15              MR. BERGMAN:      -- AND IN PARTICULAR --

(     16              THE COURT:      RIGHT.

      17              MR. BERGMAN:      -- THAT JUNE -- THAT 2000- -- THAT

      18   REDRAFT THAT GANG TYRE DID.

(.    19              AND THE IMPORTANCE OF THAT IS THAT GANG TYRE, THEY

      20   WERE THE NEGOTIATORS OF THE AGREEMENT.         THEY KNOW WHAT THEY

      21   DISCUSSED, AND WHAT THEY ACCEPTED, AND WHAT THEY AGREED TO ON
(
      22   OCTOBER 19TH.    IT'S THEIR MENTAL IMPRESSIONS, AS REFLECTED IN

      23   THEIR REDRAFT OF THE 2002 LONG FORM PREPARED BY DEFENDANTS,

      24   THAT HAS CONSIDERABLE BEARING UPON THE PURPORTED ARGUMENT OF

      25   THE PLAINTIFFS THAT THAT LONG FORM PREPARED BY DEFENDANTS WAS




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        1   SO -- SO BEYOND THE AGREEMENT, THAT THEY HAD A RIGHT TO

(       2   REPUDIATE.

        3                THE COURT:     NOW, YOU OBVIOUSLY HAVE THE LONG-FORM

        4   AGREEMENT.     YOU PREPARED IT, RIGHT?

        5                MR. BERGMAN:     INDEED, YOUR HONOR.

        6                THE COURT:     NOT YOU, YOURSELF, BUT SOMEBODY --

        7                MR. BERGMAN:     YES.

        8                THE COURT:     -- MR. SCHULMAN, SOMEBODY ON YOUR

        9   BEHALF.

       10                SO, IF I UNDERSTAND YOUR ARGUMENT, YOU THINK

       11   THE LONG-FORM AGREEMENT IS CONSISTENT WITH THE OCTOBER LETTER

       12

       13                MR. BERGMAN:     RIGHT.
l
       14                THE COURT:        THE OCTOBER 19TH LETTER.    AND YOU

       15   THINK THAT THE GANG TYRE ATTORNEYS MAY HAVE THOUGHT SO AS

\      16   WELL?

       17                MR. BERGMAN:     CORRECT, YOUR HONOR.

       18                THE COURT:     HOW WOULD WHAT THEY THOUGHT BE RELEVANT

( .    19   IF THIS IS AN OBJECTIVE DETERMINATION AS TO WHETHER THE

       20   FEBRUARY 4TH LETTER ADDED MATERIAL NEW TERMS OR NOT?

       21                MR. BERGMAN:    WELL, USING THE TERM "OBJECTIVE
(
       22   DETERMINATION" IS SOMEWHAT MISLEADING, YOUR HONOR.          THERE ARE

       23   ALWAYS THE QUESTIONS OF WHAT DID THE PARTIES INTEND BY THE

       24   WORDS THAT THEY USED.       AND THAT IF WE HAVE THE GANG TYRE
(
       25   UNDERSTANDING AND WE HAVE THE DEFENDANTS' UNDERSTANDING, THAT




(
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      1   MAY SHED LIGHT ON THAT SUBJECT.          IT GOES --

(     2               THE COURT:     ALL RIGHT.

      3               MR. BERGMAN:     -- BEYOND A SIMPLE COMPARISON OF THE

      4   AGREEMENT AND THEN THE LONG -- THE FIRST LONG FORM AND THE

\     5   REDRAFT.    BUT CERTAINLY THE IMPRESSION OF THE GANG TYRE

      6   ATTORNEYS AS TO HOW FAR AFIELD, IF AT ALL, THE DEFENDANTS'

      7   LONG FORM WENT, I BELIEVE IT IS HIGHLY RELEVANT, CERTAINLY
(
      8   DISCOVERABLE, YOUR HONOR.          WHETHER IT'S ADMISSIBLE AT TRIAL

      9   OR NOT MAY BE ANOTHER QUESTION.

     10              THE COURT:      IT SEEMS LIKE IT WOULD ALMOST MAKE

     11   THE ATTORNEYS EXPERT WITNESSES AS TO WHAT A MATERIAL CHANGE

     12   WAS.

     13              MR. BERGMAN:      WELL, YOUR HONOR, IN MANY OF THESE

     14   CASES THE ATTORNEYS ARE CALLED UPON TO TESTIFY AS TO WHAT WAS

     15   DISCUSSED AND WHAT WAS THEIR UNDERSTANDING.

     16              THE COURT:      ALL RIGHT.

     17              MR. BERGMAN:      AND I'VE ALREADY TOUCHED UPON THE

     18   PRIVILEGE LOG, YOUR HONOR.          I DO BELIEVE THAT IF WE'RE GOING

     19   TO GET TO THE POINT OF BEING ABLE TO TEST ANY OF THESE

     20   PRIVILEGES WE NEED MORE INFORMATION.

     21              THANK YOU, YOUR HONOR.         YOU'VE BEEN VERY PATIENT.
(
     22              MR. TOBEROFF:      THANK YOU, YOUR HONOR.

     23              THE COURT:      OKAY.     THANK YOU VERY MUCH.

     24              I'M GOING TO TAKE THIS ONE UNDER SUBMISSION.          I

     25   HOPE TO GET A RESPONSE OUT OR A RULING OUT SHORTLY.




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       1              MR. BERGMAN:     THANK YOU, SIR.

       2              THE COURT:     THANK YOU VERY MUCH.

       3               (PROCEEDINGS COMPLETED.)

       4
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        1                          C E R T I F I CAT E

(       2

        3               I CERTIFY THAT THE FOREGOING IS A CORRECT

        4   TRANSCRIPT FROM THE ELECTRONIC SOUND RECORDING OF THE

        5   PROCEEDINGS IN THE ABOVE-ENTITLED MATTER.

        6

        7




            F'DERALL~4&i~                                         ~!tdo~
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        9                                                    DATED
            DOROTHY BABYKIN
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        5   Attorneys for Melvin H. Banchek
     6                          UNITED STATES DISTRICT COURT
        7                     CENTRAL DISTRICT OF CALIFORNIA
        8

     9
            JOANNE SIEGEL, an individual; and Civil Case No. 04-8400 RSWL (RZx)
            LAURA SIEGEL LARSON, an
    10      individual,                                      04-8776 RSWL (RZx)
    11
                         Plaintiff,                   MELVIN H. BANCHEK'S
    12                                                OBJECTIONS TO DEFENDANTS'
                  VS.                                 SUBPOENA
    13
            WARNER BROS.
    14      ENTERTAINMENT INC., a
    15      corporation; TIME WARNER INC., a
            corporation; DC COMICS, a general
    16
            partnership; and DOES 1-10,
    17
                        Defendants
    18

    19

    20
            DC COMICS,
   21

   22                   Plaintiff

   23           V S.

   24
            JOANNE SIEGEL, an individual; and
   25       LAURA SIEGEL LARSON, an
   26       individual,
   27
                        Counterclaim Defendants
   28

                                                  1

                                OBJECTIONS TO DEFENDANTS' SUBPOENA


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        1   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
     2             Melvin H. Banchek ("Banchek"), pursuant to the provisions of Rule
     3      45(c)(2)(B) of the Federal Rules of Civil Procedure, makes the following
     4      objections to the subpoena duces tecum (the "Subpoena") that was served on
     5      him on August 10, 2006:
     6                                                I.
     7                      OBJECTIONS TO THE ENTIRE SUBPOENA
     8             Banchek objects to the entire Subpoena on each of the following grounds
     9      and incorporates by reference each of the following objections into his response
    10      to each individual request within it:
    11             1.    Banchek objects to the entire Subpoena to the extent
    12      that it seeks the production or identification of any item, or portion thereof,
    13      comprising or reflecting information transmitted and maintained in confidence
    14      between Banchek and any person or entity on whose behalf he is acting as
    15      counsel for the purpose of obtaining legal advice or representation, on the
    16      ground that such information is protected from disclosure by the attorney-client
    17      privilege and the attorney work product doctrine. Banchek will serve a log
    18      identifying each item, or portion thereof, withheld from production in response
    19      to the Subpoena under claim of attorney-client privilege which was created
    20      before the inception of this action.
    21            2.     Banchek objects to the entire Subpoena to the extent that it seeks
    22      the production or identification of any item, or portion thereof, comprising or
    23      reflecting information with any confidential impression, conclusion, opinion,
    24      legal research, or legal theory of Banchek or any other person or entity working
    25      on his behalf, on the ground that such information is protected from disclosure
    26      by the attorney work product privilege and the attorney work product doctrine.
   27       Banchek will serve a log identifying each item, or portion thereof, withheld
   28

                                                     2

                                 OBJECTIONS TO DEFENDANTS' SUBPOENA


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     1   from production in response to the Subpoena under claim of attorney work
     2   product privilege which was created before the inception of this action.
     3          3.    Banchek objects to the entire Subpoena to the extent that it seeks
     4   the production or identification of any item, or portion thereof, which is not
     5   reasonably calculated to lead to the discovery of relevant and admissible
     6   evidence, on the ground that it exceeds the permissible scope of discovery
     7   delimited by Rule 26(b)(1) of the Federal Rules of Civil Procedure.
     8         4.     Banchek objects to the entire Subpoena to the extent that it seeks
         the production or identification of any item, or portion thereof, comprising or
    10   reflecting any trade secret or other confidential or proprietary information of
    11   Banchek or any other person or entity.
    12         5.     Banchek objects to the entire Subpoena to the extent that it seeks
    13   the production or identification of any item, or portion thereof, which is
    14   protected from disclosure by any privacy or similar rights of Banchek or any
    15   other person or entity.
    16         6.     Banchek objects to the entire Subpoena to the extent
    17   that it seeks the production of original documents, on the ground that such
    18   production would be burdensome, oppressive, and unnecessary. Banchek
    19   reserves the right to comply with the Subpoena, subject to this response, by
    20   producing a true copy of any item or by permitting inspection of any item.
    21         7.     Banchek objects to the entire Subpoena to the extent that it seeks
   22    the production of duplicative identical items, on the ground that such production
   23    would be burdensome, oppressive, and unnecessary.
   24          8.     Banchek objects to the entire Subpoena to the extent that it seeks
   25    the production of any item which has been served, filed, or transmitted in the
   26    course of this action, on the ground that such production would be burdensome,
   27    oppressive, and unnecessary.
   28          9.    Banchek objects to the definition of "Siegel" set forth in the

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                              OBJECTIONS TO DEFENDANTS' SUBPOENA


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     1   Subpoena on the grounds that it is vague, ambiguous, overbroad, burdensome
     2   and oppressive. Banchek will treat the term "Siegel" as used in the Subpoena to
     3   mean the individual Jerome Siegel only.
     4          10.   Banchek objects to the definition of "Shuster" set forth in the
     5   Subpoena on the grounds that it is vague, ambiguous, overbroad, burdensome
     6   and oppressive. Banchek will treat the term "Shuster" as used in the Subpoena
     7   to mean the individual Joseph Shuster only.
     8          11.   Banchek objects to the definition "Shuster Representatives" as set
     9   forth in the Subpoena on the grounds that it is vague, ambiguous, overbroad,
    10   burdensome and oppressive. Banchek will treat the term "Shuster
    11   Representatives" as used in the Subpoena to mean the individuals Warren Peary
    12   and Jean Adele Peavey only.
    13          12.   Banchek objects to the definition of "Plaintiffs" set forth in the
    14   Subpoena on the grounds that it is vague, ambiguous, overbroad, burdensome
    15   and oppressive. Banchek will treat the term "Plaintiffs" as used in the
    16   Subpoena to mean the individuals Joanne Siegel and Laura Siegel only.
    17         13.    Banchek objects to the definition of "Michael Siegel" set forth in
    18   the Subpoena on the grounds that it is vague, ambiguous, overbroad,
    19   burdensome and oppressive. Banchek will treat the term "Michael Siegel" as
    20   used in the Subpoena to mean the individual Michael Siegel only.
    21                                           II.
    22                 RESPONSES TO INDIVIDUAL CATEGORIES
    23         Subject to and without waiving the foregoing objections, Banchek
    24   responds to each individual request within the Subpoena as follows:
   25    Document Category No. 1:
   26          All Documents Concerning Superman and/or Superboy.
   27    Response to Document Category No. 1:
   28          Banchek objects to this request on the grounds that it is vague and

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                             OBJECTIONS TO DEFENDANTS' SUBPOENA


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     1   ambiguous. Banchek further objects to this request on the grounds that it is
     2   overbroad, burdensome and oppressive. Banchek further objects to this request
     3   to the extent it seeks documents or communications protected by the
     4   attorney/client privilege and the attorney work product doctrine. Subject to and
     5   without waiving the foregoing objections, Banchek will produce all non-
     6   privileged documents he is able to determine are responsive to this request.
     7   Document Category No. 2:
     8          All Documents Concerning any negotiations Concerning Superman
     9   and/or Superboy including but not limited to, negotiations by or with
    10   Defendants, Plaintiffs, Dennis Larson, Toberoff, and/or the Shuster
    11   Represenatives.
    12   Response to Document Category No. 2:
    13         Banchek objects to this request on the grounds that it is vague and
    14   ambiguous, including without limitation, the phrase "any negotiations
    15   Concerning Superman and/or Superboy." Banchek further objects to this
    16   request on the grounds that it is overbroad, burdensome and oppressive.
    17   Banchek further objects to this request to the extent it seeks documents or
    18   communications protected by the attorney/client privilege and the attorney work
    19   product doctrine. Subject to and without waiving the foregoing objections,
    20   Banchek will produce all non-privileged documents he is able to determine are
    21   responsive to this request.
    22   Document Category No. 3:
    23         All Documents Concerning any agreements with Plaintiffs, Michael
   24    Siegel, Dennis Larson, Toberoff, and/or the Shuster Representatives Concerning
   25    Superman and/or Superboy, including but not limited to, any agreements
   26    Concerning any ownership interest in and/or revenue from Superman and/or
   27    Superboy.
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                              OBJECTIONS TO DEFENDANTS' SUBPOENA


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     1   Response to Document Category No. 3:
     2          Banchek objects to this request on the grounds that it is vague and
     3   ambiguous, including without limitation, the phrase "any agreements
     4   Concerning any ownership interest in and/or revenue from Superman and/or
     5   Superboy." Banchek further objects to this request on the grounds that it is
     6   overbroad, burdensome and oppressive. Banchek further objects to this request
     7   to the extent it seeks documents or communications protected by the
     8   attorney/client privilege and the attorney work product doctrine. Subject to and
     9   without waiving the foregoing objections, Banchek will produce all non-
    10 privileged documents he is able to determine are responsive to this request.
    11 Document Category No. 4:
    12          All Documents Concerning any valuation of any current or potential
    13   ownership interest in Superman and/or Superboy.
    14   Response to Document Category No. 4:
    15          Banchek objects to this request on the grounds that it is vague and
    16   ambiguous, including without limitation, the phrase "any valuation of any
    17   current or potential ownership interest." Banchek further objects to this request
    18   on the grounds that it is overbroad, burdensome and oppressive. Banchek
    19 further objects to this request to the extent it seeks documents or
    20   communications protected by the attorney/client privilege and the attorney work
    21   product doctrine. Subject to and without waiving the foregoing objections,
    22   Banchek will produce all non-privileged documents he is able to determine are
    23   responsive to this request.
   24    Document Category No. 5:
   25          All Documents evidencing any correspondence with any third person
   26    Concerning Superman and/or Superboy, including but not limited to, Plaintiffs,
   27    Dennis Larson, Toberoff, and/or the Shuster Represenatives.
   28

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                              OBJECTIONS TO DEFENDANTS' SUBPOENA


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     1   Response to Document Category No. 5:
     2             Banchek objects to this request on the grounds that it is vague and
     3   ambiguous. Banchek further objects to this request on the grounds that it is
     4   overbroad, burdensome and oppressive. Banchek further objects to this request
     5   to the extent it seeks documents or communications protected by the
     6   attorney/client privilege and the attorney work product doctrine. Subject to and
     7   without waiving the foregoing objections, Banchek will produce all non-
     8   privileged documents he is able to determine are responsive to this request.
     9   Document Category No. 6:
    10             All Documents Concerning Michael Siegel's estate, including but not
    11   limited to, any wills, draft wills, and any communications expressing Michael
    12   Siegel's wishes with respect to any assets.
    13   Response to Document Category No. 6:
    14             Banchek objects to this request on the grounds that it is vague and
    15   ambiguous as to the phrase "Michael Siegel's wishes." Banchek further objects
    16   to this request on the grounds that it is overbroad, burdensome and oppressive.
    17   Banchek further objects to this request to the extent it seeks documents or
    18   communications protected by the attorney/client privilege and the attorney work
    19   product doctrine. Subject to and without waiving the foregoing objections,
    20   Banchek will produce all non-privileged documents he is able to determine are
    21   responsive to this request.
    22   Document Category No. 7:
    23             All Documents Concerning any litigation relating to Michael Siegel's
    24   estate.
    25   Response to Document Category No. 7:
   26              Banchek objects to this request on the grounds that it is duplicative.
   27    Banchek objects to this request on the grounds that it is vague and ambiguous as
   28    to the phrase "any litigation relating to Michael Siegel's estate." Banchek

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                                 OBJECTIONS TO DEFENDANTS' SUBPOENA


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        1 further objects to this request on the grounds that it is overbroad, burdensome
     2    and oppressive. Banchek further objects to this request to the extent it seeks
     3    documents or communications protected by the attorney/client privilege and the
     4    attorney work product doctrine. Subject to and without waiving the foregoing
     5    objections, Banchek will produce all non-privileged documents he is able to
     6    determine are responsive to this request.
     7
     8    Dated: August 23, 2006            LAW OFFICES OF MARC TOBEROFF, PLC
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                                                        .0?
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    11                                                   Marc Toberoff
                                           Attorneys for MELVIN H. BANCHEK
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     1                                             PROOF OF SERVICE
 2                              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3               I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
         years and not a party to the within action; my business address is: 2049 Century Park East, Suite 2720,
 4       Los Angeles, California 90067.
 5                 On August 23, 2006, I served the attached document described as MELVIN H.
         BANCHEK'S OBJECTIONS TO DEFENDANTS' SUBPOENA on all interested parties in this
 6       action by placing     the original X a true copy thereof enclosed in sealed envelope(s) addressed as
         follows:
 7
                 James D. Weinberger
 8               FROSS ZELNICK LEHRMAN & ZISSU, P.C.
                 866 United Nations Plaza
 9               New York, NY 10017
                 Facsimile No. 212-813-5901
10
                 Patrick T. Perkins
11               PERKINS LAW OFFICE, P.C.
                 1711 Route 9D
12               Cold Spring, NY 10516
                 Facsimile No. 845-265-2819
13
                 Michael Bergman
14               WEISSMAN WOLFF BERGMAN COLEMAN GRODIN & EVALL LLP
                 9665 Wilshire Boulevard, Ninth Floor
15               Beverly Hills, CA 90212
                 Facsimile No. 310-550-7191
16
           [X]   :BY MAIL:
17
                 As follows: I am "readily familiar" with the firm's practice of collection and processing
18       correspondence for mailing. Under that practice it would be deposited with the U.S. postal service on
         that same day with postage thereon fully prepaid at Los Angeles California in the ordinary course of
19       business. I am aware that on motion of the party served, service is presumed invalid if postal
         cancellation date or postage meter date is more than one day after date of deposit for mailing in
20       affidavit.
21         [X] :(FEDERAL) — I declare that I am employed in the office of a member of the bar of this court
         at whose direction the service was made.
22
                 I declare under penalty of perjury that the foregoing is true and correct.
23
24               EXECUTED on August 23, 2006, in Los Angeles, C ifornia.
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26                                                                   A x Merino
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        1 Marc Toberoff (CA State Bar No. 188547)
          Nicholas C. Williamson (CA State Bar No. 231124)
        2 LAW OFFICES OF MARC TOBEROFF, PLC
          2049 Century Park East, Suite 2720
        3 Los Angeles CA 90067
          Telephone: (310) 246-3333
        4 Facsimile: ( 10) 246-3101
        5   Attorneys for Don W. Bulson
        6                        UNITED STATES DISTRICT COURT
        7                     CENTRAL DISTRICT OF CALIFORNIA
        8   JOANNE SIEGEL, an individual; and Civil Case No. 04-8400 RSWL (RZx)
        9   LAURA SIEGEL LARSON, an
            individual,                                      04-8776 RSWL (RZx)
    10
    11                    Plaintiff,                   DON W. BULSON'S OBJECTIONS
                                                       TO DEFENDANTS' SUBPOENA
                  V S.
    12
    13      WARNER BROS.
    14
            ENTERTAINMENT INC., a
            corporation; TIME WARNER INC., a
    15      corporation; DC COMICS, a general
    16      partnership; and DOES 1-10,

    17                   Defendants
    18
    19
   20       DC COMICS,
   21
                         Plaintiff
   22
                V S.
   23
   24       JOANNE SIEGEL, an individual; and
   25
            LAURA SIEGEL LARSON, an
            individual,
   26
   27                    Counterclaim Defendants

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                                 OBJECTIONS TO DEFENDANTS' SUBPOENA


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     1   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
     2          Don W. Bulson ("Bulson"), pursuant to the provisions of Rule
     3   45(c)(2)(B) of the Federal Rules of Civil Procedure, makes the following
     4   objections to the subpoena duces tecum (the "Subpoena") that was served on
     5   him on August 11, 2006:
     6                                             I.
     7                   OBJECTIONS TO THE ENTIRE SUBPOENA
     8          Bulson objects to the entire Subpoena on each of the following grounds
     9   and incorporates by reference each of the following objections into his response
    10   to each individual request within it:
    11          1.    Bulson objects to the entire Subpoena to the extent
    12   that it seeks the production or identification of any item, or portion thereof,
    13   comprising or reflecting information transmitted and maintained in confidence
    14   between Bulson and any person or entity on whose behalf he is acting as
    15   counsel for the purpose of obtaining legal advice or representation, on the
    16   ground that such information is protected from disclosure by the attorney-client
    17   privilege and the attorney work product doctrine. Bulson will serve a log
    18   identifying each item, or portion thereof, withheld from production in response
    19   to the Subpoena under claim of attorney-client privilege which was created
    20   before the inception of this action.
    21         2.     Bulson objects to the entire Subpoena to the extent that it seeks
   22    the production or identification of any item, or portion thereof, comprising or
   23    reflecting information with any confidential impression, conclusion, opinion,
   24    legal research, or legal theory of Bulson or any other person or entity working
   25    on his behalf, on the ground that such information is protected from disclosure
   26    by the attorney work product privilege and the attorney work product doctrine.
   27    Bulson will serve a log identifying each item, or portion thereof, withheld from
   28

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                              OBJECTIONS TO DEFENDANTS' SUBPOENA


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        1   production in response to the Subpoena under claim of attorney work product
     2 privilege which was created before the inception of this action.
     3            3.     Bulson objects to the entire Subpoena to the extent that it seeks
     4 the production or identification of any item, or portion thereof, which is not
     5 reasonably calculated to lead to the discovery of relevant and admissible
     6 evidence, on the ground that it exceeds the permissible scope of discovery
     7 delimited by Rule 26(b)(1) of the Federal Rules of Civil Procedure.
     8            4.     Bulson objects to the entire Subpoena to the extent that it seeks
     9 the production or identification of any item, or portion thereof, comprising or
    10 reflecting any trade secret or other confidential or proprietary information of
    11      Bulson or any other person or entity.
    12            5.     Bulson objects to the entire Subpoena to the extent that it seeks
    13 the production or identification of any item, or portion thereof, which is
    14 protected from disclosure by any privacy or similar rights of Bulson or any other
    15 person or entity.
    16            6.    Bulson objects to the entire Subpoena to the extent
    17 that it seeks the production of original documents, on the ground that such
    18 production would be burdensome, oppressive, and unnecessary. Bulson
    19 reserves the right to comply with the Subpoena, subject to this response, by
    20 producing a true copy of any item or by permitting inspection of any item.
    21            7.    Bulson objects to the entire Subpoena to the extent that it seeks
   22 the production of duplicative identical items, on the ground that such production
   23 would be burdensome, oppressive, and unnecessary.
   24             8.    Bulson objects to the entire Subpoena to the extent that it seeks
   25 the production of any item which has been served, filed, or transmitted in the
   26 course of this action, on the ground that such production would be burdensome
   27 oppressive, and unnecessary.
   28            9.     Bulson objects to the definition of "Siegel" set forth in the

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                                OBJECTIONS TO DEFENDANTS' SUBPOENA


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        1 Subpoena on the grounds that it is vague, ambiguous, overbroad, burdensome
     2    and oppressive. Bulson will treat the term "Siegel" as used in the Subpoena to
     3    mean the individual Jerome Siegel only.
     4           10. Bulson objects to the definition of "Shuster" set forth in the
     5    Subpoena on the grounds that it is vague, ambiguous, overbroad, burdensome
     6    and oppressive. Bulson will treat the term "Shuster" as used in the Subpoena to
     7    mean the individual Joseph Shuster only.
     8           11. Bulson objects to the definition "Shuster Representatives" as set
     9    forth in the Subpoena on the grounds that it is vague, ambiguous, overbroad,
    10    burdensome and oppressive. Bulson will treat the term "Shuster
    11 Representatives" as used in the Subpoena to mean the individuals Warren Peary
    12    and Jean Adele Peavey only.
    13           12. Bulson objects to the definition of "Plaintiffs" set forth in the
    14    Subpoena on the grounds that it is vague, ambiguous, overbroad, burdensome
    is    and oppressive. Bulson will treat the term "Plaintiffs" as used in the Subpoena
    16    to mean the individuals Joanne Siegel and Laura Siegel only.
    17           13. Bulson objects to the definition of "Michael Siegel" set forth in the
    18    Subpoena on the grounds that it is vague, ambiguous, overbroad, burdensome
    19    and oppressive. Bulson will treat the term "Michael Siegel" as used in the
    20    Subpoena to mean the individual Michael Siegel only.
   21

   22                   RESPONSES TO INDIVIDUAL CATEGORIES
   23           Subject to and without waiving the foregoing objections, Bulson responds
   24     to each individual request within the Subpoena as follows:
   25     Document Category No. 1:
   26           All Documents Concerning Superman and/or Superboy.
   27    Response to Document Category No. 1:
   28           Bulson objects to this request on the grounds that it is vague and

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                              OBJECTIONS TO DEFENDANTS' SUBPOENA


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        1   ambiguous. Bulson further objects to this request on the grounds that it is
     2      overbroad, burdensome and oppressive. Bulson further objects to this request to
     3      the extent it seeks documents or communications protected by the
     4      attorney/client privilege and the attorney work product doctrine. Subject to and
     5      without waiving the foregoing objections, Bulson will produce all non-
     6      privileged documents he is able to determine are responsive to this request.
     7      Document Category No. 2:
     8             All Documents Concerning any negotiations Concerning Superman
     9      and/or Superboy including but not limited to, negotiations by or with
    10      Defendants, Plaintiffs, Michael Siegel, Dennis Larson, Toberoff, and/or the
    11      Shuster Represenatives.
    12      Response to Document Category No. 2:
    13             Bulson objects to this request on the grounds that it is vague and
    14      ambiguous, including without limitation, the phrase "any negotiations
    15      Concerning Superman and/or Superboy." Bulson further objects to this request
    16      on the grounds that it is overbroad, burdensome and oppressive. Bulson further
    17      objects to this request to the extent it seeks documents or communications
    18      protected by the attorney/client privilege and the attorney work product
    19      doctrine. Subject to and without waiving the foregoing objections, Bulson will
    20      produce all non-privileged documents he is able to determine are responsive to
   21       this request.
   22       Document Category No. 3:
   23             All Documents Concerning any agreements with Plaintiffs, Michael
   24       Siegel, Dennis Larson, Toberoff, and/or the Shuster Representatives Concerning
   25       Superman and/or Superboy, including but not limited to, any agreements
   26       Concerning any ownership interest in and/or revenue from Superman and/or
   27       Superboy.
   28       Response to Document Category No. 3:

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                                OBJECTIONS TO DEFENDANTS' SUBPOENA


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        1          Bulson objects to this request on the grounds that it is vague and
     2      ambiguous, including without limitation, the phrase "any agreements
     3      Concerning any ownership interest in and/or revenue from Superman and/or
     4      Superboy." Bulson further objects to this request on the grounds that it is
     5      overbroad, burdensome and oppressive. Bulson further objects to this request to
     6      the extent it seeks documents or communications protected by the
     7      attorney/client privilege and the attorney work product doctrine. Subject to and
     8      without waiving the foregoing objections, Bulson will produce all non-
     9      privileged documents he is able to determine are responsive to this request.
    10      Document Category No. 4:
    11             All Documents Concerning any valuation of any current or potential
    12      ownership interest in Supeiiiian and/or Superboy.
    13      Response to Document Category No. 4:
    14             Bulson objects to this request on the grounds that it is vague and
    15      ambiguous, including without limitation, the phrase "any valuation of any
    16      current or potential ownership interest." Bulson further objects to this request
    17      on the grounds that it is overbroad, burdensome and oppressive. Bulson further
    18      objects to this request to the extent it seeks documents or communications
    19      protected by the attorney/client privilege and the attorney work product
    20      doctrine. Subject to and without waiving the foregoing objections, Bulson will
   21       produce all non-privileged documents he is able to determine are responsive to
   22       this request.
   23       Document Category No. 5:
   24             All Documents evidencing any correspondence with any third person
   25       Concerning Superman and/or Superboy, including but not limited to, Plaintiffs,
   26       Dennis Larson, Toberoff, and/or the Shuster Representatives.
   27       Response to Document Category No. 5:
   28             Bulson objects to this request on the grounds that it is vague and

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                                OBJECTIONS TO DEFENDANTS' SUBPOENA


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        1    ambiguous, including without limitation, the phrase "correspondence with any
     2       third person Concerning Superman and/or Superboy." Bulson further objects to
        3    this request on the grounds that it is overbroad, burdensome and oppressive.
     4       Bulson further objects to this request to the extent it seeks documents or
        5    communications protected by the attorney/client privilege and the attorney work
     6      product doctrine. Subject to and without waiving the foregoing objections,
     7       Bulson will produce all non-privileged documents he is able to determine are
        8   responsive to this request.
     9      Document Category No. 6:
    10                All Documents Concerning Michael Siegel's estate, including but not
    11      limited to, any wills, draft wills, and any communications expressing Michael
    12      Siegel's wishes with respect to any assets.
    13      Response to Document Category No. 6:
    14                Bulson objects to this request on the grounds that it is vague and
    15      ambiguous, including without limitation, the phrase "Michael Siegel's wishes."
    16      Bulson further objects to this request on the grounds that it is overbroad,
    17      burdensome and oppressive. Bulson further objects to this request to the extent
    18      it seeks documents or communications protected by the attorney/client privilege
    19      and the attorney work product doctrine. Subject to and without waiving the
   20       foregoing objections, Bulson will produce all non-privileged documents he is
   21       able to determine are responsive to this request.
   22       Document Category No. 7:
   23                 All Documents Concerning any litigation relating to Michael Siegel's
   24       estate.
   25       Response to Document Category No. 7:
   26                 Bulson objects to this request on the grounds that it is duplicative. Bulson
   27       objects to this request on the grounds that it is vague and ambiguous, including
   28       without limitation, the phrase "any litigation relating to Michael Siegel's

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                                    OBJECTIONS TO DEFENDANTS' SUBPOENA


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     1   estate." Bulson further objects to this request on the grounds that it is
     2   overbroad, burdensome and oppressive. Bulson further objects to this request to
     3   the extent it seeks documents or communications protected by the
     4   attorney/client privilege and the attorney work product doctrine. Subject to and
     5   without waiving the foregoing objections, Bulson will produce all non-
     6   privileged documents he is able to determine are responsive to this request.
     7

     8   Dated: August 23, 2006            LAW OFFICES OF MARC TOBEROFF, PLC
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    11
                                                        Marc Toberoff
                                          Attorneys for DON W. BULSON
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                             OBJECTIONS TO DEFENDANTS' SUBPOENA


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 1                                            PROOF OF SERVICE
 2                          STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3          I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
     years and not a party to the within action; my business address is: 2049 Century Park East, Suite 2720,
 4   Los Angeles, California 90067.
 5           On August 23, 2006, I served the attached document described as DON W. BULSON'S
     OBJECTIONS TO DEFENDANTS' SUBPOENA on all interested parties in this action by placing
 6       the original X a true copy thereof enclosed in sealed envelope(s) addressed as follows:
 7           James D. Weinberger
             FROSS ZELNICK LEHRMAN & ZISSU, P.C.
 8           866 United Nations Plaza
             New York, NY 10017
 9           Facsimile No. 212-813-5901
10           Patrick T. Perkins
             PERKINS LAW OFFICE, P.C.
11           1711 Route 9D
             Cold Spring, NY 10516
12           Facsimile No. 845-265-2819
13           Michael Bergman
             WEISSMAN WOLFF BERGMAN COLEMAN GRODIN & EVALL LLP
14           9665 Wilshire Boulevard, Ninth Floor
             Beverly Hills, CA 90212
15           Facsimile No. 310-550-7191
16     [X]   :BY MAIL:
17           As follows: I am "readily familiar" with the firm's practice of collection and processing
     correspondence for mailing. Under that practice it would be deposited with the U.S. postal service on
18   that same day with postage thereon fully prepaid at Los Angeles California in the ordinary course of
     business. I am aware that on motion of the party served, service is presumed invalid if postal
19   cancellation date or postage meter date is more than one day after date of deposit for mailing in
     affidavit.
20
       [X] :(FEDERAL) — I declare that I am employed in the office of a member of the bar of this court
21   at whose direction the service was made.
22           I declare under penalty of perjury that the foregoing is true and correct.
23
             EXECUTED on August 23, 2006, in Los Angeles, Califo a.
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                                                                         enno
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                                               EXHIBIT 43
                                                  685
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                             Page ID #:32252




               EXHIBIT 44
Case 2:10-cv-03633-ODW-RZ            Document 500-7 Filed 10/10/12   Page 257 of 276
                                      Page ID #:32253
      1Marc Toberoff (CA State Bar No. 188547)
       'Nicholas C. Williamson (CA State Bar No. 231124)
     2 LAW OFFICES OF MARC TOBEROFF, PLC
       2049 Century Park East Suite 2720
     3 Los Angeles CA 90067
       Telephone: c310) 246-3333
     4 Facsimile: (310) 246-3101

     5    Attorneys for Marc Toberoff, Esq.
     6                            UNITED STATES DISTRICT COURT
     7                      CENTRAL DISTRICT OF CALIFORNIA
     8    JOANNE SIEGEL, an individual; and Civil Case No. 04-8400 DDP (RZx)
     9    LAURA SIEGEL LARSON, an
          individual,                                      04-8776 DDP (RZx)
 10

 11                    Plaintiff,                   MARC TOBEROFF, ESQ._'S
                                                    OBJECTIONS TO DEFENDANTS'
                VS.                                 SUBPOENA
 12

 13       WARNER BROS.
 14
          ENTERTAINMENT INC., a
          corporation; TIME WARNER INC., a
 15       corporation; DC COMICS, a general
 16       partnership; and DOES 1-10,

 17                    Defendants
 18

 19

20        DC COMICS,
21
                      Plaintiff
22
              VS.
23

24        JOANNE SIEGEL, an individual; and
25
          LAURA SIEGEL LARSON, an
          individual,
26

27                    Counterclaim Defendants

28

                                                1
                              OBJECTIONS TO DEFENDANTS' SUBPOENA
                                       EXHIBIT 44
                                          686
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                                       Page ID #:32254
     1   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  2                Marc Toberoff, Esq., ("Toberoff'), pursuant to the provisions of Rule
  3      45(c)(2)(B) of the Federal Rules of Civil Procedure, makes the following
  4      objections to the subpoena duces tecum (the "Subpoena") that was served on
  5      him on August 10, 2006:
  6                                                  I.
  7                        OBJECTIONS TO THE ENTIRE SUBPOENA
  8                Toberoff objects to the entire Subpoena on each of the following grounds
  9      and incorporates by reference each of the following objections into his response
 10      to each individual request within it:
 11                1.    Toberoff objects to the entire Subpoena to the extent
 12      that it seeks the production or identification of any item, or portion thereof,
 13      comprising or reflecting information transmitted and maintained in confidence
 14      between Toberoff or any person or entity on whose behalf he is acting as
 15      counsel for the purpose of obtaining legal advice or representation, on the
 16      ground that such information is protected from disclosure by the attorney-client
 17      privilege. Toberoff will serve a log identifying each item, or portion thereof,
 18      withheld from production in response to the Subpoena under claim of attorney-
 19      client privilege which was created before the inception of this action.
 20                2.    Toberoff objects to the entire Subpoena to the extent that it seeks
 21      the production or identification of any item, or portion thereof, comprising or
22       reflecting information with any confidential impression, conclusion, opinion,
23       legal research, or legal theory of Toberoff or any other person or entity, on the
24       ground that such information is protected from disclosure by the attorney work
25       product privilege. Toberoff will serve a log identifying each item, or portion
26       thereof, withheld from production in response to the Subpoena under claim of
27       attorney work product privilege which was created before the inception of this
28       action.

                                                    2

                                OBJECTIONS TO DEFENDANTS' SUBPOENA
                                          EXHIBIT 44
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     1          3.    Toberoff objects to the entire Subpoena to the extent that it seeks
  2      the production or identification of any item, or portion thereof, which is not
  3      reasonably calculated to lead to the discovery of relevant and admissible
  4      evidence, on the ground that it exceeds the permissible scope of discovery
  5      delimited by Rule 26(b)(1) of the Federal Rules of Civil Procedure.
  6             4.    Toberoff objects to the entire Subpoena to the extent that it seeks
  7      the production or identification of any item, or portion thereof, comprising or
  8      reflecting any trade secret or other confidential or proprietary information of
  9      Toberoff or any other person or entity.
 10             5.    Toberoff objects to the entire Subpoena to the extent that it seeks
 11      the production or identification of any item, or portion thereof, which is
 12      protected from disclosure by any privacy or similar rights of Toberoff or any
 13      other person or entity.
 14            6.     Toberoff objects to the entire Subpoena to the extent
 15      that it seeks the production of original documents, on the ground that such
 16      production would be burdensome, oppressive, and unnecessary. Toberoff
 17 reserves the right to comply with the Subpoena, subject to this response, by
 18      producing a true copy of any item or by permitting inspection of any item.
 19            7.     Toberoff objects to the entire Subpoena to the extent that it seeks
20       the production of duplicative identical items, on the ground that such production
21       would be burdensome, oppressive, and unnecessary.
22             8.     Toberoff objects to the entire Subpoena to the extent that it seeks
23       the production of any item which has been served, filed, or transmitted in the
24       course of this action, on the ground that such production would be burdensome,
25       oppressive, and unnecessary.
26

27                       RESPONSES TO INDIVIDUAL REQUESTS
28             Subject to and without waiving the foregoing objections, Toberoff

                                                   3

                                      EXHIBIT
                              OBJECTIONS        44
                                         TO DEFENDANTS' SUBPOENA
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 1   responds to each individual request within the Subpoena as follows:
 2   Document Category No. 1:
 3         All Writings referenced in the July 5, 2006 letter from John J. Quinn, Esq.
 4   to among others, Marc Toberoff, Esq. (a copy of which is attached hereto as
 5   Exhibit A), and which were attached to or enclosed with the July 18, 2006 letter
 6   from John J. Quinn, Esq. to Marc Toberoff, Esq. (a copy of which is attached
 7   hereto as Exhibit B).
 8   Response to Document Category No. 1:
 9         Toberoff objects to this Subpoena on the grounds that it is vague and
10   ambiguous as to the phrase "all writings referenced." Toberoff further objects
11   to this Subpoena on the grounds that it is overbroad, burdensome and
12   oppressive. Toberoff further objects to this Subpoena because it seeks
13   documents or communications clearly protected by the attorney/client privilege
14   and the attorney work product doctrine. Toberoff further objects on the ground
     that Defendants are seeking to impermissibly capitalize on their receipt of
16   clearly confidential and privileged documents stolen from Toberoff's law
17   offices, which Defendants improperly reviewed before notifying Toberoff of the
18   issue. But for the receipt of these stolen documents, Defendants would not have
19   issued this subpoena.
20

21   Dated: August 23, 2006           LAW OFFICES OF MARC TOBEROFF, PLC
22

23

24                                                 Marc Toberoff
                                     Attorneys for Marc Toberoff, Esq.
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                                  EXHIBIT
                         OBJECTIONS        44
                                    TO DEFENDANTS' SUBPOENA
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 1                                             PROOF OF SERVICE

 2                          STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3          I am employed in the County of Los Angeles, State of California. I am over the age of eighteen
     years and not a party to the within action; my business address is: 2049 Century Park East, Suite 2720,
 4 Los Angeles, California 90067.
 5           On August 23, 2006, I served the attached document described as MARC TOBEROFF,
     ESQ.'S OBJECTIONS TO DEFENDANTS' SUBPOENA on all interested parties in this action by
 6 placing      the original X a true copy thereof enclosed in sealed envelope(s) addressed as follows:
 7           James D. Weinberger
             FROSS ZELNICK LEHRMAN & ZISSU, P.C.
 8           866 United Nations Plaza
             New York, NY 10017
 9           Facsimile No. 212-813-5901
10           Patrick T. Perkins
             PERKINS LAW OFFICE, P.C.
11           1711 Route 9D
             Cold Spring, NY 10516
12           Facsimile No. 845-265-2819
13           Michael Bergman
             WEISSMAN WOLFF BERGMAN COLEMAN GRODIN & EVALL LLP
14           9665 Wilshire Boulevard, Ninth Floor
             Beverly Hills, CA 90212
15           Facsimile No. 310-550-7191
16     [X] :BY MAIL:
17            As follows: I am "readily familiar" with the firm's practice of collection and processing
      correspondence for mailing. Under that practice it would be deposited with the U.S. postal service on
18 that same day with postage thereon fully prepaid at Los Angeles California in the ordinary course of
      business. I am aware that on motion of the party served, service is presumed invalid if postal
19 cancellation date or postage meter date is more than one day after date of deposit for mailing in
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20
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21 at whose direction the service was made.
22           I declare under penalty of perjury that the foregoing is true and correct.
23
             EXECUTED on August 23, 2006, in Los Angeles, Cali
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                                                EXHIBIT 44
                                                   690
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                              EXHIBIT 45
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                              EXHIBIT 45
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                              EXHIBIT 45
                                 693
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                              EXHIBIT 45
                                 694
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                              EXHIBIT 45
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                              EXHIBIT 45
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                              EXHIBIT 45
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                              EXHIBIT 45
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                              EXHIBIT 45
                                 703
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                              EXHIBIT 45
                                 704
